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 9
                                   UNITED STATES DISTRICT COURT
10
                                         DISTRICT OF NEVADA
11
12   UNITED STATES OF AMERICA,                               Case No. 3:20-CR-00026-MMD-WGC

13                    Plaintiff,                             Motion to Dismiss Because
14          v.                                               § 1326 Violates Equal Protection
                                                             Under Arlington Heights 1
15   GUSTAVO CARRILLO-LOPEZ,

16                    Defendant.

17
18   I.               INTRODUCTION
19
            In April 2020, the Supreme Court relied on historical evidence of a state legislature’s
20
     racial motives to strike down a criminal law enacted a century earlier. See Ramos v. Louisiana,
21
     140 S. Ct. 1390 (2020). Although the law was later reenacted with no evidence of animus, the
22
     Court refused to ignore the “racially discriminatory reasons that [the state] adopted [its]
23
     peculiar rules in the first place.” Id. at 1401 (emphasis in original). Even the justices’ “shared
24
     respect for rational and civil discourse” could not “supply an excuse for leaving an
25
     uncomfortable past unexamined.” Id. at 1401 n.44.
26



            1
                This motion is timely filed.
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 1          Like the law in Ramos, the law criminalizing illegal reentry into the United States at 8
 2   U.S.C. § 1326 has an “uncomfortable past” that must be examined. Id. Enacted at the height of
 3   the eugenics movement, the “Undesirable Aliens Act of 1929” was conceived, drafted, and
 4   enacted by white supremacists out of a belief that the “Mexican race” 2 would destroy the racial
 5   purity of the United States. Legislators referred to Mexicans as “mongrels” and “peons.” 3 They
 6   claimed Mexicans were “poisoning the American citizen.” 4 They sought to keep the country’s
 7   blood “white and purely Caucasian.” 5 They solicited reports and testimony from a eugenicist
 8   who likened immigration policy to the “breed[ing] of thoroughbred horses.” 6 Not only did this
 9   racism underlie the original version of § 1326, the law has disparately impacted Mexicans and
10   other Latinx individuals in the century since.
11          Because the facts and historical evidence presented here show that the original illegal
12   reentry law was enacted with a discriminatory purpose and still has a disparate impact, § 1326
13   is presumptively unconstitutional under Village of Arlington Heights v. Metropolitan Housing
14   Development Corp., 429 U.S. 252 (1977). The burden thus shifts to the government to show
15   that Congress would have passed the 1929 law in the absence of any discriminatory purpose. If
16   the government cannot make this showing, the law is invalid, and the Court must dismiss Mr.
17   Carrillo-Lopez’s criminal charge.
18          At a minimum, if the Court believes Mr. Carrillo-Lopez has not shown a discriminatory
19   purpose and a disparate impact, it should hold an evidentiary hearing. At this hearing,
20
21          2
               In the early 20th century, “Mexican” was conceptualized as a race rather than a
22   nationality. For instance, the 1930 census listed “Mexican” as a “Color or Race.” United States
     Census                 Bureau, History:               1930,                https://www.census.
23   gov/history/www/through_the_decades/index_of_questions/1930_1.html. And “[f]rom at least
     1846 until as recently as 2001 courts throughout the United States have utilized the term
24   ‘Mexican race’ to describe Latinos.” Lupe S. Salinas, Immigration and Language Rights: The
25   Evolution of Private Racist Attitudes into American Public Law and Policy, 7 Nev. L.J. 895,
     913 (2007).
            3
26            See infra at 8, 10, 11, 12, 13, 17.
            4
              See infra at 15, 17.
            5
              See infra at 13.
            6
              See infra at 13–14.
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 1   Mr. Carrillo will present expert testimony as further evidence of the law’s discriminatory
 2   origins. The Court should also schedule an evidentiary hearing if the government submits
 3   evidence that the Court believes may be sufficient to rebut Mr. Carrillo-Lopez’s evidence. But
 4   if the government does not attempt to rebut his evidence, or cannot do so, the law is
 5   unconstitutional, and the Court must dismiss the complaint.
 6   II.    ARGUMENT

 7          A.       Legal framework

 8          The Fifth Amendment of the Constitution provides that no person shall be “deprived of
 9   life, liberty, or property, without due process of law.” U.S. Const. amend. V. This clause
10   contains an implicit guarantee of equal protection in federal laws identical to what the
11   Fourteenth Amendment guarantees in state laws. See Sessions v. Morales-Santana, 137 S. Ct.
12   1678, 1686 n.1 (2017).
13          A law may violate equal protection in three ways. First, a law may discriminate on its
14   face. See, e.g., Loving v. Virginia, 388 U.S. 1 (1967). Second, authorities may apply a facially
15   neutral law in a discriminatory way. See, e.g., Yick Wo v. Hopkins, 118 U.S. 356 (1886). Third,
16   a legislature may enact a facially neutral law with a discriminatory purpose, which disparately
17   impacts a disfavored group. See, e.g., Arlington Heights, 429 U.S. at 265–68.
18          Here, Mr. Carrillo-Lopez challenges § 1326 only under the third rationale, so the legal
19   framework of Arlington Heights applies. Arlington Heights clarified that the effect of a racially
20   discriminatory law does not alone make it unconstitutional—challengers must also show
21   “[p]roof of racially discriminatory intent or purpose” at the time of the law’s passage. Id. at 265
22   (emphasis added). Determining whether a purpose was discriminatory requires “a sensitive
23   inquiry into such circumstantial and direct evidence of intent as may be available.” Id. at 266.
24   Arlington Heights gave a non-exhaustive list of relevant factors to consider in this
25   determination, including:
26          1)       the impact of the official action and whether it bears more heavily on one race
     than another;

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 1          2)      the historical background of the decision;
 2          3)      the specific sequence of events leading to the challenged action;
 3          4)      the [legislature’s] departures from normal procedures or substantive
 4   conclusions; and
 5          5)      the relevant legislative or administrative history.
 6          Arce v. Douglas, 793 F.3d 968, 977 (9th Cir. 2015) (citing Arlington Heights, 429 U.S.
 7   at 266–68).
 8          The threshold for satisfying these factors is low. Since legislatures are rarely “motivated
 9   solely by a single concern,” a challenger need not show that the legislature’s actions “rested
10   solely on racially discriminatory purposes.” Arlington Heights, 429 U.S. at 265–66. Instead, the
11   challenger need only show “proof that a discriminatory purpose has been a motivating factor in
12   the decision.” Id. at 265–66 (emphasis added). See also Arce, 793 F.3d at 977 (quoting
13   Arlington Heights to hold that a challenger need not prove discrimination was the “sole
14   purpose” of the challenged action—only that it was a “‘motivating factor’”).
15          Once the challenger shows that discriminatory purpose was a “motivating factor,” the
16   burden shifts to the law’s defender to show that “the same decision would have resulted even
17   had the impermissible purpose not been considered.” Arlington Heights, 429 U.S. at 270 n.21.
18   See also Hunter v. Underwood, 471 U.S. 222, 228 (1985) (if racial discrimination was a
19   motivating factor, “the burden shifts to the law’s defenders to demonstrate that the law would
20   have been enacted without this factor.”). If the government cannot show that the legislature
21   would have enacted the offending law in the “absence of the racially discriminatory
22   motivation,” the law violates the Fifth Amendment and must be invalidated. Id. at 225.
23          Courts have applied Arlington Heights to a variety of laws and government actions. One
24   of the first involved a provision in the Alabama constitution that barred voting for any person
25   convicted of a “crime involving moral turpitude.” Hunter, 471 U.S. at 222. Though neutral on
26   its face, the provision disenfranchised ten times as many Blacks as whites. Id. at 227. To prove
     discriminatory intent in its passage, challengers submitted transcripts of the 1901 Alabama

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 1   constitutional convention where lawmakers had originally enacted the provision, as well as
 2   several historical studies and the testimony of two expert historians. See id. at 229. This
 3   evidence showed that “zeal for white supremacy ran rampant” at the 1901 convention and was
 4   a “motivating factor” underlying the voting provision. Id. at 229–31. And because the provision
 5   “would not have been adopted by the convention or ratified by the electorate in the absence of
 6   the racially discriminatory motivation,” the Supreme Court held that it violated equal
 7   protection. Id. at 231.
 8           Similarly, this Court applied Arlington Heights in a challenge to an Arizona law shutting
 9   down a Mexican American Studies program in the Tucson school district. See Arce v. Douglas,
10   793 F.3d at 981. During the law’s passage, legislators had accused the program of inciting
11   “racial warfare” and supporting a group purportedly claiming that “North America is a land for
12   the bronze peoples.” Id. at 978. Finding that such comments created a genuine issue of material
13   fact as to whether the law was “motivated, at least in part, by an intent to discriminate against
14   [Mexican-American Studies] students,” the Court reversed the district court’s grant of summary
15   judgment and remanded for a full trial. Id. at 981.
16           Most recently, an en banc panel of this Court applied Arlington Heights in the context
17   of the Voting Rights Act to strike down a state law criminalizing third-party ballot collection.
18   See Democratic Nat'l Comm. v. Hobbs, 948 F.3d 989 (9th Cir. 2020) (en banc). The Court
19   looked to the law’s legislative history and the events leading up to its passage, including a
20   “racially tinged” video made by the chairman of the county’s Republican party that was widely
21   distributed on social media. Id. at 1009. It also considered “unfounded and often farfetched
22   allegations” of ballot collection fraud by a state senator who was “one of the major proponents”
23   of the law and “influential in” its passage. Id. at 1009, 1039 (quotations omitted). While the
24   Court found that some lawmakers had voted in favor of the law due to a “sincere, though
25   mistaken, non-race-based belief” in voting misconduct, it concluded that this belief was
26   “fraudulently created” by the senator’s misrepresentations and the “racially tinged” video. Id.



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 1   at 1040. Citing the “‘cat’s paw’ doctrine,” 7—which holds that even the votes of “well meaning
 2   legislators” can contain a discriminatory intent if based on “false and race-based allegations”
 3   of other legislators—the Court invalidated the law. Id. at 1041.
 4           These cases show that courts have used Arlington Heights for decades to invalidate
 5   facially neutral laws enacted with a discriminatory intent that have disparately impacted racial
 6   groups. 8 As Mr. Carrillo-Lopez will show, the same animus infected § 1326 to an equal (or
 7   even greater) degree.
 8           B.     Congress enacted illegal reentry with a discriminatory purpose.

 9           While not “purporting to be exhaustive,” the five Arlington Heights factors constitute
10   the “proper inquiry in determining whether racially discriminatory intent existed.” Arlington
11   Heights, 429 U.S. at 268. And as recent Supreme Court precedent confirms, courts must
12   consider this historical evidence in determining the statute’s constitutionality.
13           C.     Under the Arlington Heights factors, racism and eugenics were a
                    “motivating factor” in the passage of illegal reentry laws.
14
             A close examination of the political context underlying the criminalization of illegal
15
     entry in 1929 reveals a disturbing truth: that racism and eugenics were not only a “motivating
16
     factor” in the legislature’s passage of this law. Arlington Heights, 429 U.S. at 265. They were
17
     the primary factor.
18
             D.     “The historical background of the decision.”
19
             Historians often refer to the 1920s as the “Tribal Twenties”—a time when “the Ku Klux
20
     Klan was reborn, Jim Crow came of age, and public intellectuals preached the science of
21
     eugenics.” Exhibit A, Declaration of Dr. Kelly Lytle Hernández, Professor of History at the
22
     University of California, Los Angeles, at 2. World War I had produced “a feverish sentiment
23
24
     7
25     The “cat’s paw” doctrine is “based on the fable, often attributed to Aesop, in which a clever
     monkey induces a cat to use its paws to take chestnuts off of hot coals for the benefit of the
26   monkey.” Id. at 1040.
             8
               Courts apply strict scrutiny to the question of whether a law was “motivated by a racial
     purpose or object” under Arlington Heights. See Hunt v. Cromartie, 526 U.S. 541, 546 (1999)
     (quotations omitted).
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 1   against presumably disloyal ‘hyphenated Americans,’” and “few could resist the combination
 2   of nativism, job scarcity, and anti-Bolshevism that fueled the politics of restriction.” 9 Prominent
 3   restrictionists “spoke increasingly of ‘racial indigestion,’” 10 and “the ‘contamination’ of Anglo-
 4   American society.” 11
 5           The decade also brought a flood of immigration legislation fueled by fears of “non-
 6   white” immigration. 12 Many politicians, especially those popularly known as “nativists,” hoped
 7   to “restrict and even end immigration to the United States from every region of the world other
 8   than western Europe.” Exh. A, Hernández declaration, at 2. At the start of the decade, Congress
 9   passed the first numerical restriction on immigration in the United States. 13 During the
10   remainder of the decade, legislators aimed for “‘America [to] cease to be the “melting pot.”’” 14
11   Although the arrival of southern and eastern Europeans in the early 1900s “fueled the rise of
12   American manufacturing,” nativists saw these groups as “‘undesirable immigrants’” who were
13   “socially inferior, culturally alien, and politically suspect.” 15
14           These fears of non-white immigration were bolstered by the growing acceptance of
15   eugenics—a theory that “captured the imagination of many of America’s leading
16   intellectuals.” 16 The popular magazine The Saturday Evening Post ran articles warning that new
17   immigrants were racially inferior, impossible to assimilate, and a threat to stability and
18   democracy. 17 The leader of a major scientific institution contended that neither education nor
19
20           9
               Mae M. Ngai, Impossible Subjects, 19, 20 (2004 William Chafe, et al.).
             10
21              Id. at 23.
             11
                Kelly Lytle Hernández, Migra!: A History of the U.S. Border Patrol, 28 (2010).
22
             12
                See generally Daniel Okrent, The Guarded Gate: Bigotry, Eugenics, and the Law
23   That Kept Two Generations of Jews, Italians, and Other European Immigrants Out of America
     (2019).
24           13
                Emergency Immigration Act of 1921, Pub.L. 67-5, 42 Stat. 5 (1921).
             14
25              Jia Lynn Yang, One Mighty and Irresistible Tide: The Epic Struggle Over American
     Immigration, 2020, 3 (2020) (quoting Senator David A. Reed).
26           15
                Hernández, supra, at 28.
             16
                Yang, supra, at 35.
             17
                Id. at 8.
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 1   environment could alter the “‘profound and inborn racial differences’ that rendered certain
 2   people inferior.” 18 And states throughout the country were drafting laws “based on this
 3   burgeoning race science, including aggressive sterilization programs.” 19
 4          At the center of the eugenics movement was Dr. Harry H. Laughlin, the director of the
 5   Eugenics Record Office. 20 Dr. Laughlin was well known for his model sterilization law that
 6   many states and countries, including the Third Reich of Nazi Germany, used as a template. 21
 7   During the 1920s, Dr. Laughlin testified before Congress multiple times and produced four
 8   reports that discussed topics such as “race crossing,” “mate selection,” “fecundity,” “racial
 9   composition,” and the “individual quality of future population.” Exhibit B, The Eugenical
10   Aspects of Deportation: Hearings before the Committee on Immigration and Naturalization
11   House of Representative, 70th Cong. 70.1.4 , pp. 2, 3 (1928). Relying heavily on these theories,
12   Congress would anchor its immigration legislation in eugenics and racial inferiority for the
13   remainder of the decade. 22
14          E.      “The specific sequence of events leading to the challenged action.”

15           In the early 1920s, Congress began to focus its legislation around the exclusion of
16   “undesirable” immigrants—which was often code for non-white. See Ave. 6E Investments, LLC
17   v. City of Yuma, Ariz., 818 F.3d 493, 505–06 (9th Cir. 2016) (holding that “the use of
18   ‘code words’ may demonstrate discriminatory intent”). The first such law was the National
19   Origins Act of 1924, which established quotas based on the national origins of U.S. citizens as
20   reflected in the 1920 census.
21
22
23          18
                 Okrent, supra, at 3.
            19
24               Id. at 38. Those sterilization laws were affirmed in the now infamous decision Buck
     v. Bell, 274 U.S. 200, 207 (1927).
25            20
                 Ngai, supra, at 24.
              21
26                 Harry Laughlin and Eugenics, Truman State University. Accessible at
     https://historyofeugenics.truman.edu/altering-lives/sterilization/model-law/.
              22
                 See E.P. Hutchinson, Legislative History of American Immigration Law, 1798-1965,
     212-13 (1981).
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 1           The quotas created by the National Origins Act were skewed to keep the nation’s “racial
 2   strains” predominantly Anglo-Saxon. 23 The law on its face did not count “nonwhite people
 3   residing in the United States” toward the quotas it established. Indeed, its newly-created “Quota
 4   Board” interpreted this provision to exclude all Black people; all East and South Asians
 5   (including those who had American citizenship by birth); and all citizens in Hawai‘i, Puerto
 6   Rico, and Alaska. 24 Congress and the president accepted these exclusions under pressure to
 7   “stand firm against the efforts of ‘hyphenates’ who would ‘play politics with the nation’s blood
 8   stream.’” 25
 9           Yet there was a wrinkle in the National Origins Act—it did not set quotas on immigrants
10   from countries in the Western Hemisphere. This was due to the influence of large agricultural
11   businesses that relied heavily on labor from just over the border. 26 These agri-businesses
12   pressured legislators from western states to vote against the law, forcing nativists in Congress
13   to “choose between accepting a Mexican quota exemption or passing no immigration law at
14   all.” Exh. A, Hernández declaration, at 3. As one representative complained, there was no
15   chance of capping the number of Mexican immigrants because too many growers were
16   “interested in the importation of these poor peons.” Exhibit C, Representative Box (TX).
17   “Deportation of Aliens.” Congressional Record, (Feb. 16, 1929) p. H3619.
18           So, despite passing the most sweeping immigration law in years, legislators were not
19   happy. Representative Madden grumbled that the bill “leaves open the doors for perhaps the
20   worst element that comes into the United States—the Mexican peon.” 27 Representative Patrick
21   O’Sullivan criticized the restrictions on Italian immigrants, stating that “the average Italian is
22   as much superior to the average Mexican as a full-blooded Airedale is to a mongrel.” Exhibit
23
24
             23
                Ngai, supra, at 24–25.
25
             24
                Id. at 26.
26           25
                Id. at 35.
             26
                See Hans P. Vought, The Bully Pulpit, 179 (2004)..
             27
                Benjamin Gonzalez O’Brien, Chap. 1, Handcuffs and Chain Link (2018).
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 1   D, Representative O’Sullivan, “Administration of the Law.” Congressional Record 65:6 (1924)
 2   p. H5900. Legislators “proposed bill after bill” restricting Mexican immigration but none could
 3   survive opposition from southwestern growers. Exh. A, Hernández declaration, at 5. To solve
 4   this problem, a group of key figures began to strategize a new type of immigration bill that
 5   would approach immigration from a criminal—rather than a civil—angle.
 6          3.      “The relevant legislative or administrative history.”
 7          After passage of the National Origins Act of 1924, the Department of Labor (which
 8   governed the Bureau of Immigration) began implementing Congress’s new quota system.28
 9   Then-Secretary of Labor James Davis was a strong advocate of Dr. Laughlin and his eugenics
10   theories—even using them as the basis for policies he had developed and published under the
11   title “Selective Immigration or None.” 29 Davis warned that the “rat type” was coming to the
12   United States, and that these “rat men” would jeopardize the American gene pool. 30
13          Secretary Davis was nevertheless torn between his belief in eugenics and his
14   responsibility to maintain a large labor supply for the railroad and agriculture industries. 31 So
15   together with devout racist (and suspected Ku Klux Klan member) Senator Coleman Blease,32
16   Davis developed a compromise—Congress would criminalize border crossing after the fact,
17   rather than prevent it in the first place. 33 That way, they reasoned, authorities could expel
18   Mexicans through a criminal prosecution after the growing season was over, thereby avoiding
19
20
21
            28
                See Vought, supra, at 174–79.
22          29
                Id.
             30
23              Id. at 174–75.
             31
24              Id. at 216.
             32
                For biographical and historical context about Senator Blease, see B. Simon, The
25   appeal of Cole Blease of South Carolina: Race, Class, and Sex in the New South, The Journal
     of     Southern      History,    62:1,   pp.    57–86     (Feb.    1996),    available   at
26   http://www.jstor.com/stable/2211206.
             33
                 Ian MacDougall,, Behind the Criminal Immigration Law: Eugenics and White
     Supremacy, ProPublica (June 19, 2020), https://www.propublica.org/article/behind-the-
     criminal-immigration-law-eugenics-and-white-supremacy.
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 1   resistance from businesses that depended on Mexican labor. 34 The southwest growers were in
 2   agreement—as one put it, “We, in California, would greatly prefer some set up in which our
 3   peak labor demands might be met and upon the completion of our harvest these laborers
 4   returned to their country.” Exh. A, Hernández declaration, at 7.
 5          Secretary Davis and Senator Blease found two eager collaborators in the House of
 6   Representatives, both of whom were on the powerful Immigration and Naturalization
 7   Committee. Representative John C. Box from Texas had long characterized the goal of
 8   immigration law as “the protection of American racial stock from further degradation or change
 9   through mongrelization.” Exhibit E, Representative Box (TX). “Restriction of Mexican
10   Immigration,” Congressional Record, (Feb. 9, 1928) pp. H2817–18. In one speech at an
11   immigration conference, Rep. Box had explained that
12                          [t]he Mexican peon is a mixture of Mediterranean-
                    blooded Spanish peasant with low-grade Indians who did not
13                  fight to extinction but submitted and multiplied as serfs. Into that
14                  was fused much negro slave blood….The prevention of such
                    mongrelization and the degradation it causes is one of the
15                  purposes of our [immigration] laws.
16          Id. Box believed this importation was “raising a serious race question” because
17   Mexicans were “essentially different from us in character, in social position.” Exh. C at H3619.
18          Box was joined by the influential Chairman of the House Immigration and
19   Naturalization Committee, Representative Albert Johnson of Washington. Chairman
20   Johnson—for whom the 1924 “Johnson-Reed” National Origins Act was named—was an
21   “energetic and vehement racist and nativist.” 35 He headed the Eugenics Research Association,
22   a group that opposed interracial marriage and supported forced sterilizations. 36 He also proudly
23   described his 1924 law as a “bulwark against ‘a stream of alien blood, with all its inherited
24
25
            34
26              Id.
            35
                Dennis Wepman, Immigration: From the Founding of Virginia to the Closing of Ellis
     Island, p. 242–43 (2002).
             36
                Id.
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 1   misconceptions respecting the relationships of the governing power to the governed.” 37 Within
 2   two years of the 1924 Act, Chairman Johnson turned to legislation that would exclude the
 3   “Mexican race,” explaining that while the argument for immigration restriction had previously
 4   been economic, now “‘the fundamental reason for it is biological.’” 38
 5          Following the lead of these legislators, other lawmakers soon “turned to narratives of
 6   racial threat to justify restriction.” 39 In 1928, for instance, Representative Robert A. Green of
 7   Florida delivered a radio speech (later read into the congressional record by Representative
 8   Lankford) that advocated for Western Hemisphere quotas. He asserted that countries south of
 9   the United States are “composed of mixture blood of White, Indian, and negro.” Exhibit F,
10   Representative Lankford. “Across the Borders.” Congressional Record (Feb. 3, 1928) p.
11   H2462. Immigration from these countries, he believed, created a “very great penalty upon the
12   society which assimilates,” and put it at a disadvantage to countries that have “kept their blood
13   white and purely Caucasian.” Exh. F, at H2462.
14          Chairman Johnson soon convened hearings on new immigration legislation. See Exhibit
15   G, Hearings Before the Committee on Immigration and Naturalization, 69th Cong. 69.1.3
16   (1926). At the first hearing, Chairman Johnson admitted into the record a letter from a
17   constituent in El Paso who urged the legislators to keep out “the scoff and scum, the mongrel,
18   the bootlegger element, from Mexico.” Exh. G, at 30. In response to this letter, Commissioner
19   General of Immigration Harry Hull, stated, “I think he is right.” Exh. G, at 30. Rep. Box added,
20   “I have some letters, Mr. Chairman, just like that.” Exh. G, at 30
21          The following month, the same House committee held a hearing on “The Eugenical
22   Aspects of Deportation,” where the principal witness was the well-known eugenicist Dr.
23   Laughlin. Exh. B, at 1. Early in the hearing, Chairman Johnson praised Dr. Laughlin’s prior
24
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26          37
               Roger Daniels, Guarding the Golden Door, p. 55 (Hill and Wang, 2004).
            38
               Okrent, supra, at 3.
            39
               Gonzalez O’Brien, supra, at Chap. 1 (Kindle edition).
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 1   reports to Congress on race crossing, mate selection, and fecundity, describing one as a
 2   “priceless” resource that would “bear intimately on immigration policy.” Exh. B, at 3.
 3          Dr. Laughlin testified about his latest eugenics report, the goal of which was to “protect
 4   American blood from alien contamination.” Exh. B, at 3. When Dr. Laughlin encouraged the
 5   committee to conduct future research on the effect of “race crossing within the United States,”
 6   Chairman Johnson replied that such a study would “be of great use to the committee in its
 7   deliberations.” Exh. B, at 11.
 8          Dr. Laughlin discussed the need for further research into “mate selection,” because
 9   “whenever two races come in contact there is always race mixture” even though the “upper
10   levels tend to maintain themselves because of the purity of the women of the upper classes.”
11   Exh. B, at 19. The job of any government, Dr. Laughlin explained, was to “demand fit mating
12   and high fertility from the classes who are better endowed physically, mentally, and morally by
13   heredity.” Exh. B, at 19. By deporting or excluding the “lower races” from the country, Dr.
14   Laughlin contended, “[i]mmigration control is the greatest instrument which the Federal
15   Government can use in promoting race conservation of the Nation.” Exh. B, at 19.
16          In response, Chairman Johnson advocated for Congress’s use of the “principle of
17   applied eugenics” to “do everything possible” to reduce crime by “debarring and deporting”
18   more people. Exh. B, at 25. Rep. Box agreed, stating, “we will have to control immigration to
19   suit our own needs or we will lose our national character,” which would “spell destruction for
20   the future of America.” Exh. B, at 25.
21          Dr. Laughlin even compared the drafters of deportation laws to “successful breeders of
22   thoroughbred horses,” who would never consider “acquiring a mare or a stallion not of the top
23   level” for their “stud farm.” Exh. B, at 44. One such successful breeder he knew “weeds out
24   from the lower levels and recruits by purchase”—a process that is “analogous to immigration
25   in man.” Exh. B, at 44–45. “Man is an animal,” Dr. Laughlin explained, “and so far as heredity
26   and future generations are concerned, there is considerable real basis for [this] comparison.”
     Exh. B, at 45.

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 1          When such racial engineering is not possible, Dr. Laughlin warned, deportation of the
 2   “undesirable individual” becomes even more critical; otherwise, “we cannot get rid of his blood
 3   no matter how inferior it may be, because we cannot deport his offspring born here.” Exh. B, at
 4   45. Dr. Laughlin predicted that so long as the nation’s borders remained open to immigrants,
 5   “there will always be need for deportation, or the ‘final selection.’” Exh. B, at 44. In response
 6   to this testimony, Chairman Johnson agreed that “[i]mmigration looks more and more like a
 7   biological problem, and if the work of this committee results in establishing this principle in
 8   our immigration policy we will be well repaid for our efforts.” Exh. B, at 46.
 9           Though Chairman Johnson’s initial legislation failed, the compromise with the
10   agricultural industry brokered by Secretary Davis and Senator Blease soon made a
11   breakthrough. On January 18, 1929, Senator Blease, on behalf of the Senate Committee on
12   Immigration, submitted a report to the full Senate recommending passage of a law that would
13   penalize “aliens who have been expelled from the United States and who reenter the country
14   unlawfully.” Exhibit H, S. Rep. No. 1456, at 1 (1929). This report was accompanied by a letter
15   from Secretary Davis on behalf of the Department of Labor advocating for passage of the law.
16   Exh. H, at 2.
17          The following week, Senator Blease presented this bill on the Senate floor, where he
18   reported that Chairman Johnson had “asked me to get the measures over to the House [within
19   two days] if I possibly could.” Exhibit I, Senator Blease (SC). Congressional Record (Jan. 23,
20   1929) p. S2092. The full Senate passed the bill with almost no discussion or debate. Exh. I, at
21   S2092. Two weeks later, Chairman Johnson submitted a report from the Committee of
22   Immigration and Naturalization to the full House recommending passage of the illegal reentry
23   law. Exhibit J, S. Rep. No. 2397 (1929).
24          During debate on the bill, Rep. Thomas L. Blanton complained that Mexicans “come
25   into Texas by hordes” and that “my friend Judge Box has been making a just fight against this
26   situation for years.” Exh. C, Cong. Rec. 1929. Rep. Blanton urged the House to “apprehend the
     thousands of these Mexicans who are in Texas now unlawfully and put them back across the

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 1   Rio Grande and keep them there.” Exh. C, Representative Blanton, “Deportation of Aliens.”
 2   Congressional Record (1929) p. H3619. Rep. Schafer added that “[t]hese Mexicans also come
 3   into Wisconsin in droves,” and Rep. Blanton challenged others to visit the international ports
 4   of entry in Texas to see the “hordes that come across the bridges with no intention of ever going
 5   back.” Exh. C, at H3619. Rep. Fitzgerald then added that from a “moral standpoint,” Mexicans
 6   were “poisoning the American citizen” because they are “of a class” that is “very undesirable.”
 7   Exh. C, Representative FitzGerald, “Deportation of Aliens.” Congressional Record (1929) p.
 8   H3620.
 9            Minutes later, the bill passed the House of Representatives. Exh. C, H3621. The
10   president signed it into law three days later. Exhibit K, 70th Cong., Sess. II, Chap. 690, Mar. 4,
11   1929.
12            This legislative history easily clears the low threshold of showing that racism and
13   eugenics were a “motivating factor” under the first three factors. Like other Arlington Heights
14   cases, passage of the racially-motivated law followed a predictable pattern. A broad social
15   movement founded on principles of white supremacy and eugenics gained popular support in
16   the 1920s. Compare Hunter, 471 U.S. at 229 (discussing “a movement that swept the post-
17   Reconstruction South to disenfranchise blacks”). Dr. Laughlin, a notorious eugenics “expert,”
18   promoted theories of racial inferiority through multiple reports and testimony to Congress.
19   Compare Democratic National Committee, 948 F.3d at 1009 (local Republican chair widely
20   shared a “racially tinged” video suggesting Hispanics were involved in ballot fraud). Key
21   lawmakers like Chairman Johnson, Senator Blease, and Representative Box (along with
22   Secretary of Labor Davis) promoted these theories and repeatedly endorsed them during
23   legislative sessions. Compare id. (state senator repeated “unfounded and often farfetched
24   allegations” of ballot fraud); Arce, 793 F.3d at 978–79 (legislators accused ethnic studies
25   program of inciting “racial warfare”). Other legislators expressed similar sentiments. See id.
26   And even Congressmen who might not have otherwise endorsed racially motivated legislation
     were consistently advised of the “inferiority” of the “Mexican race” during legislative sessions

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 1   in the five years leading up to the law’s passage. Compare Democratic National Committee,
 2   948 F.3d at 1041 (invoking the “cat’s paw doctrine). In other words, the evidence of racial
 3   discrimination in the legislative history and events leading up to the passage of the 1929 law
 4   easily meets—if not exceeds—the evidence in other Arlington Heights cases where race was
 5   found to be a “motivating factor.”
 6           F.      “The legislature’s departures from normal procedures or substantive
                     conclusions.”
 7
             Examining the fourth Arlington Heights factor—whether a decisionmaker departs from
 8
     “normal procedures or substantive conclusions”—requires courts to consider any “procedural
 9
     irregularities” leading up to the enactment of a law that could signal a discriminatory intent.
10
     Pac. Shores Properties, LLC v. City of Newport Beach, 730 F.3d 1142, 1164 (9th Cir. 2013).
11
     Courts may also consider illogical or counter-intuitive conclusions in the decision-making
12
     process. See, e.g., Ave. 6E Investments, LLC v. City of Yuma, 818 F.3d 493, 507 (9th Cir. 2016)
13
     (citing the city’s decision to “disregard the zoning advice of its own experts”). Here, not only
14
     do the overtly racist statements of legislators during the law’s passage show its discriminatory
15
     purpose, several irregularities and illogical conclusions in the passage of the 1929 law also
16
     implicate this factor.
17
             First, the 1920s was the first and only era in which Congress openly relied on the now-
18
     discredited theory of eugenics to enact immigration legislation. Both the 1924 and 1929
19
     immigration laws drew heavily on Dr. Laughlin’s debunked beliefs that immigration control
20
     was a matter of racial engineering, akin to horse breeding. And while Congress ultimately
21
     acknowledged the discriminatory origins of the National Origins Act of 1924 and repealed it in
22
     1965, illegal reentry remains one of the few laws still in effect from that era.
23
             Second, the racial vitriol expressed during the debates was directed almost exclusively
24
     at Mexicans—even though Canadians were also entering the United States in record numbers.
25
     See Exh. C, at H3621 (stating that 81,506 Canadians entered the United States in 1928). If the
26
     1929 Act were motivated by generalized xenophobia or economic anxiety, rather than racism,
     one would expect legislators to criticize foreigners across the board. But no legislator referred
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 1   to Canadians as “mongrels”; none complained of “hordes” of Canadians crossing the border;
 2   none objected that Canadians were “poisoning the American citizen.” And a representative
 3   from Wisconsin complained only about Mexicans taking jobs, not Canadians. See Exh. C, at
 4   H3619. These irregularities show that not only was Congress’s passage of the Undesirable
 5   Aliens Act based on eugenics and racism, it also departed from typical substantive conclusions
 6   underlying immigration law.
 7          G.      “The impact of the official action and whether it bears more heavily
                    on one race than another.”
 8
            Within a year of the 1929 law’s passage, the government had prosecuted 7,001 border
 9
     crossing crimes; by 1939, that number rose to over 44,000. 40 In each of these years, individuals
10
     from Mexico comprised no fewer than 84% of those convicted, and often made up as many as
11
     99% of defendants. 41 And the number of prosecutions has soared—in the last three years, the
12
     number of § 1326 cases has risen by nearly 40% to 22,077, 42 making illegal reentry one of the
13
     most common federal felonies today.
14
            In sum, applying the five Arlington Heights factors shows that racism and eugenics
15
     were, at minimum, a “motivating factor” in the passage of the Undesirable Aliens Act. And as
16
     new Supreme Court precedent confirms, courts must consider this historical evidence in
17
     determining whether a statute is constitutional.
18
            H.      New Supreme Court precedent confirms that discriminatory purpose
19                  is relevant to a law’s constitutionality.

20          Two recent Supreme Court cases confirm that a discriminatory purpose that fueled a
21   law’s original enactment remains relevant in determining its constitutionality. In Ramos v.
22
23
            40
24              Annual Report of the Attorney General of the United States for the Fiscal Year 1939, 37;
     Kelly Lytle Hernández, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los
25   Angeles, 1771-1965, n.6 at 138–39 (UNC Press, 2017).
             41
                Hernández, supra n. 6, at 138–39 (citing U.S. Bureau of Prisons, Federal Offenders,
26   Fiscal Years, 1931–36.
             42
                See United States Sentencing Commission, Quick Facts: Illegal Reentry Offenses,
     Fiscal Year 2019, available at: https://www.ussc.gov/sites/default/files/pdf/research-and-
     publications/quick-facts/Illegal_Reentry_FY19.pdf.
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 1   Louisiana, the Court struck down a state law permitting convictions by non-unanimous juries,
 2   citing the “racially discriminatory reasons that Louisiana and Oregon adopted their peculiar
 3   rules in the first place.” 140 S. Ct. at 1401 (emphasis in Ramos). Although Justice Alito argued
 4   in his dissent that both states later recodified their non-unanimity rules with no mention of race,
 5   the majority rejected the notion that this cured the laws’ original animus, holding that if courts
 6   must “assess the functional benefits” of a law, they cannot “ignore the very functions those
 7   rules were adopted to serve.” Id. at 1401 n.44. Nor could the justices’ “shared respect for
 8   rational and civil discourse . . . supply an excuse for leaving an uncomfortable past
 9   unexamined.” Id. (citation and quotations omitted).
10          Two months later, the Supreme Court struck down a Montana law prohibiting families
11   from using state-sponsored scholarships at religious schools. See Espinoza v. Montana Dep't of
12   Revenue, 140 S. Ct. 2246 (2020). The majority relied on the law’s “checkered tradition” of
13   underlying religious discrimination, even though it was reenacted in the 1970s “for reasons
14   unrelated to anti-Catholic bigotry.” Id. at 2259.
15          Concurring, Justice Alito invoked his Ramos dissent, noting its argument that courts
16   cannot examine impermissible motives underlying the original version of a law where states
17   have “readopted their rules under different circumstances in later years.” Id. at 2268 (quotations
18   omitted). Justice Alito then stated, “But I lost, and Ramos is now precedent.” Id. Justice Alito
19   then provided an extensive history of the anti-Catholic and anti-immigrant motives underlying
20   Montana’s law, concluding that “[u]nder Ramos, it emphatically does not matter whether
21   Montana readopted the no-aid provision for benign reasons. The provision’s ‘uncomfortable
22   past’ must still be ‘examined.’” Id. at 2273 (quoting Ramos, 140 S. Ct., at 1396, n.44).
23          Here, the original illegal reentry law codified in the Undesirable Aliens Act of 1929 has
24   been reenacted several times, most notably in the Immigration and Nationality Act of 1952.43
25
            43
26             See June 27, 1952, c. 477, Title II, ch. 8, § 276, 66 Stat. 229; Pub.L. 100-690, Title
     VII, § 7345(a), Nov. 18, 1988, 102 Stat. 4471; Pub.L. 101-649, Title V, § 543(b)(3), Nov. 29,
     1990, 104 Stat. 5059; Pub.L. 103-322, Title XIII, § 130001(b), Sept. 13, 1994, 108 Stat. 2023;

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 1   But Ramos and Espinoza both confirm that not only do courts examine the racial motivations
 2   of a law at the time of its passage, later reenactments do not cleanse the law of its original taint.
 3           The government may also argue that even if racism and eugenics were a “motivating
 4   factor” in § 1326’s original passage, the law currently serves other legitimate purposes. But
 5   laws enacted with a discriminatory purpose cannot be “cured” merely because they later satisfy
 6   a non-discriminatory purpose. See Hunter, 471 U.S. at 233 (rejecting Alabama’s argument that
 7   “events occurring in the succeeding 80 years had legitimated” a racially motivated
 8   disenfranchisement provision). Rather, when a court determines that a law’s “original
 9   enactment was motivated by a desire to discriminate . . . on account of race and the section
10   continues to this day to have that effect,” the court must conclude that the law “violates equal
11   protection under Arlington Heights.” Id. See also United States v. Fordice, 505 U.S. 717, 718
12   (1992) (“If the State perpetuates policies and practices traceable to its prior de jure dual system
13   that continue to have segregative effects-whether by influencing student enrollment decisions
14   or by fostering segregation in other facets of the university system-and such policies are without
15   sound educational justification and can be practicably eliminated, the policies violate the
16   Clause, even though the State has abolished the legal requirement that the races be educated
17   separately and has established racially neutral policies not animated by a discriminatory
18   purpose.”)
19           I.      Section 1326 continues to disparately impact Mexican and other
                     Latinx defendants.
20
             Arlington Heights requires challengers to show that a law was enacted with a
21
     discriminatory purpose and disparately impacts a particular group. See 429 U.S. at 265. Here,
22
     not only were racism and eugenics a discriminatory purpose motivating the enactment of the
23
24
25
     Pub.L. 104-132, Title IV, §§ 401(c), 438(b), 441(a), Apr. 24, 1996, 110 Stat. 1267, 1276, 1279;
26
     Pub.L. 104-208, Div. C, Title III, §§ 305(b), 308(d)(4)(J), (e)(1)(K), (14)(A), 324(a), (b), Sept.
     30, 1996, 110 Stat. 3009-606, 3009-618 to 3009-620, 3009-629.

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 1   first border crossing laws, such laws continue to disparately impact Mexican and other Latinx
 2   defendants.
 3          Though no publicly available statistics exist concerning the national origin of persons
 4   prosecuted for § 1326 today, the overwhelming number of Border Patrol arrests along the
 5   southern border are of Mexicans or people of Latinx origin. In 2000, over 97% of persons
 6   apprehended at the border were Mexican. In 2005, Mexicans made up 86% of apprehensions,
 7   and in 2010, 87%. 44 In the last decade, Mexicans have made up a smaller percentage of arrestees
 8   due to increased migration from Central America, but combined, the two groups easily
 9   constitute the overwhelming majority of border crossers. 45 See The Committee Concerning
10   Community Improvement v. City of Modesto, 583 F.3d 690, 704 (9th Cir. 2009) (recognizing a
11   disparate impact on Latinx people where the neighborhoods were “trending” Latinx during the
12   relevant period).
13          Overall, these disparities are comparable to disparities that have supported other
14   successful Arlington Heights challenges. See, e.g., Ave. 6E Investments, 818 F.3d at 497
15   (concentrating most low-income housing in neighborhoods that are 75% Hispanic); Arce, 793
16   F.3d at 978 (targeting a program, 90% of whose enrollees were of Mexican or other Hispanic
17   origin); Community Improvement, 583 F.3d at 704 (excluding 71% Latino areas from benefits,
18   while extending those benefits to other areas that were only 48% Latino).
19          The executive branch continues to wield § 1326 as a tool of mass prosecution that
20   disproportionately affects Mexicans and Latin Americans. In April 2018, then-Attorney
21
22
23          44
               Border Patrol Total Apprehensions by Mexico and Other Than Mexico, 2000–2019,
24   https://www.cbp.gov/sites/default/files/assets/documents/2020-
     Jan/U.S.%20Border%20Patrol%20Total%20Monthly%20Family%20Unit%20Apprehensions
25   %20by%20Sector%20%28FY%202013%20-%20FY%202019%29_0.pdf.
            45
26            U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector, 2007 –
     2019,                       https://www.cbp.gov/sites/default/files/assets/documents/2020-
     Jan/U.S.%20Border%20Patrol%20Nationwide%20Apprehensions%20by%20Citizenship%20
     and%20Sector%20%28FY2007%20-%20FY%202019%29_1.pdf.
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 1   General Jeff Sessions announced a “zero tolerance” policy targeting illegal entry. 46 The
 2   following month, Sessions made clear at an address delivered in San Diego that “the
 3   Department of Homeland Security is now referring 100 percent of illegal Southwest Border
 4   crossings to the Department of Justice for prosecution. And the Department of Justice will take
 5   up those cases.” 47
 6          Both Sessions and Stephen Miller, a senior policy advisor to President Trump and the
 7   architect of the zero-tolerance policy, 48 have drawn inspiration from the discriminatory
 8   immigration laws of the 1920s. In a series of leaked emails, Miller lauded the immigration
 9   policies of this era, suggesting to a journalist, “This would seem a good opportunity to remind
10   people about the heritage established by Calvin Coolidge, which covers four decades of the
11   20th century”—i.e., the decades between the 1924 Act and its repeal in 1965. 49 Likewise, in a
12   2015 interview with Breitbart, Sessions expressed alarm at the rising percentage of “non-native
13   born” Americans, noting that when immigration levels were “about this high in 1924,” the
14   President and Congress “changed the policy, and it slowed down immigration significantly.”50
15   He warned that repeal of those policies in 1965 had primed the country for a “surge fast past
16   what the situation was in 1924.” 51
17
     46
18      See “Attorney General Announces Zero-Tolerance Policy for Criminal Illegal Entry,” U.S.
     Dept. of Justice, Apr. 6, 2018, available at: https://www.justice.gov/opa/pr/attorney-general-
19   announces-zero-tolerance-policy-criminal-illegal-entry.
             47
20               “Attorney General Sessions Delivers Remarks Discussing the Immigration
     Enforcement Actions of the Trump Administration,” Dept. of Justice, May 7, 2018, San Diego,
21   California, https://www.justice.gov/opa/speech/attorney-general-sessions-delivers-remarks-
     discussing-immigration-enforcement-actions.
             48
22              See, e.g., Julie Hirschfeld Davis & Michael D. Shear, How Trump Came to Enforce
     a Practice of Separating Migrant Families, N.Y. Times (June 16, 2018),
23   https://www.nytimes.com/2018/06/16/us/politics/family-separation-
     trump.html?login=smartlock&auth=login-smartlock.
24           49
                Katie Rogers & Jason DeParle, The White Nationalist Websites Cited by Stephen
25   Miller, N.Y. Times (Nov. 18, 2019), https://www.nytimes.com/2019/11/18/us/politics/stephen-
     miller-white-nationalism.html.
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26               Adam Serwer, Jeff Sessions’ Unqualified Praise for a 1924 Immigration Law,
     Atlantic (Jan 10, 2017), https://www.theatlantic.com/politics/archive/2017/01/jeff-sessions-
     1924-immigration/512591/.
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 1          This evidence demonstrates that § 1326 has disparately impacted Mexican and Latinx
 2   immigrants and continues to do so today. Combined with Mr. Carrillo-Lopez’s showing that
 3   racial discrimination was a “motivating factor” in its passage, he has satisfied his initial burden
 4   under Arlington Heights to demonstrate that the law violates equal protection.
 5          J.      The burden of proof shifts to the government.

 6          Because Mr. Carrillo-Lopez has shown both a discriminatory purpose and a disparate
 7   impact underlying § 1326, the burden shifts to the government to show that the Undesirable
 8   Aliens Act of 1929 would have passed “even had the impermissible purpose not been
 9   considered.” Arlington Heights, 429 U.S. at 266–68, 270 n.21. See also Hunter, 471 U.S. at 228
10   (shifting the burden to the law’s defenders to “demonstrate that the law would have been
11   enacted without this factor”). The Court should thus provide the government an opportunity to
12   make this showing; if it declines to do so, the Court should dismiss the charge.
13          If, however, the government submits evidence showing that the 1929 law would have
14   been enacted without a discriminatory purpose (or if the Court believes that Mr. Carrillo-Lopez
15   has not yet shown a disparate impact and discriminatory purpose), the Court should schedule
16   an evidentiary hearing. Courts frequently hold evidentiary hearings and trials to hear evidence
17   on the Arlington Heights factors. See e.g., Hunter, 471 U.S. at 229 (relying on evidence at trial
18   of state legislative proceedings, “several historical studies, and the testimony of two expert
19   historians”); Democratic National Committee, 948 F.3d at 998 (referencing ten-day bench
20   trial); Arce, 793 F.3d at 991. Indeed, the Supreme Court has found error where a lower court
21   granted summary judgment “without an evidentiary hearing” on a legislature’s disputed
22   motives under Arlington Heights. Hunt, 526 U.S. at 545.
23          At this evidentiary hearing, Mr. Carrillo-Lopez will present testimony from expert
24   witnesses, including Dr. Kelly Lytle Hernández, Professor of History at the University of
25   California, Los Angeles, and Dr. Benjamin Gonzalez O’Brien, Associate Professor of Political
26   Science at San Diego State University. See Exhibit L, Curriculum Vitae of Prof. Lytle
     Hernández; Exhibit M, Curriculum Vitae of Prof. Gonzalez O’Brien. See Hunter, 471 U.S. at

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 1   228–29 (crediting the “testimony and opinions of historians” to determine a legislature’s
 2   discriminatory intent under Arlington Heights). Both experts have written extensively on the
 3   Undesirable Aliens Act of 1929 and can testify about the historical events surrounding its
 4   passage. At the end of this hearing, if the government has not carried its burden to show that
 5   the crime of illegal reentry would have been enacted without a racially discriminatory motive,
 6   § 1326 is unconstitutional, and the Court must dismiss the charge.
 7          K.      A final note

 8          We are beginning our process of national reckoning with the sordid history of § 1326.
 9   In 2009, Justice Sonia Sotomayor, the nation’s first Latino justice, wrote her first opinion as a
10   member of the high court. For the first time in the history of the Court, her opinion used the
11   term “undocumented immigrant” to refer to persons who are in the United States without
12   permission. Not alien. Not illegal immigrant. Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100,
13   100 (2009).
14          Congress has begun to join Justice Sotomayor in her recognition of the humanity of
15   migrants. On December 10, 2019, Representative Garcia of Illinois introduced a bill that, if
16   passed, will forever end the prosecution of 1325 and 1326 offenses. The bill now has 44 co-
17   sponsors. Representative Garcia’s introductory remarks eloquently recognize the racist origins
18   of the illegal reentry crime:
19                          Mr. GARCIA of Illinois. Madam Speaker, I rise today to
                    support the New Way Forward Act.
20                          For too long, unjust, anti-immigrant laws including
21                  racialized laws dating back to the 1920s criminalizing migration
                    and the 1996 laws that entangle our civil immigration system
22                  with our broken criminal legal system have led to overly harsh
                    punishments and the mass criminalization of immigrants.
23                            These laws have resulted in mass incarceration and
24                  deportations, separation of families, stripping people of due
                    process and exacerbating racial animus in both our immigration
25                  and criminal legal systems.
                              We must end the labels of the `good' versus `bad'
26                  immigrant used to dehumanize and divide communities.
                             At this moment in history, we are called to uphold our
                    values of compassion, common humanity, and racial justice.
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 1                          I am proud to introduce the New Way Forward Act to
                    disrupt the prison to deportation pipeline, give all immigrants the
 2                  dignity of due process, and ensure America remains a nation that
 3                  welcomes all.
                              The bill corrects racial and anti-immigrant injustices
 4                  embedded in our immigration laws, many of which have enabled
                    the Trump Administration's inhumane assault on non-citizens in
 5                  the United States and at our southern border.
 6                           Our communities deserve dignity, restoration and repair,
                    not further criminalization.
 7                            It's time for a new vision for the future and for our
                    immigration system. It's time for a New Way Forward.
 8                           I urge this body to support and pass this bill. [1]
 9
             The congressional record now openly acknowledges the racial animus that pervades
10
     section 1326. The same historical reckoning that prompted the bill’s introduction supports this
11
     Equal Protection challenge.
12
            Finally, the racist history of § 1326 is, at bottom, the history of millions of individual
13
     Latinx lives ruined, and degraded, by application of this unjust law. Thus, Mr. Carrillo-Lopez’s
14
     name and story must be made part of the record.
15
            Mr. Carrillo-Lopez is serving a life sentence for possessing drugs. He was sentenced to
16
     life in prison in March of 2020 for a non-violent drug offense – “Trafficking” of a controlled
17
     substance. This is what Mr. Carrillo-Lopez received a life sentence for: “possessing a zip-lock
18
     baggie located in a clothes basket in the bathroom, containing 28 grams or more of
19
     methamphetamine, a Schedule I Controlled substance. 52”
20
            Life in prison for a nonviolent drug crime is a steep penalty. But it remains life in prison.
21
     It is not supposed to be a death sentence. Yet, after he was sentenced to life in prison for
22
     possessing drugs, the United States Attorney elected to prosecute Mr. Carrillo-Lopez for being
23
     an “alien” who reentered this country without legal authorization. It is worth pausing on the
24
     circumstance that this choice was made in the midst of a global pandemic. The myriad hidden
25
26
            [1]
                https://www.congress.gov/congressional-record/volume-165/extensions-of-remarks-
     section/page/E1571-1572
             52
                Exhibit N (Documents of conviction).
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 1   but intimate acts necessary to effectuate Mr. Carrillo-Lopez’s transportation between state
 2   prison Court – shackling, body searches, moving him from vehicles to holding cells to
 3   courtrooms - threaten not just his own health and safety but the health and safety of those around
 4   him. Of course, the law does not compel the government to produce a rationale tethered to
 5   public safety for its prosecutorial decisions. Nor does the law compel the government to
 6   articulate why it chose to risk the safety of yet another Latinx body in the course of this
 7   prosecution.
 8           The law does, however, require this Court to examine closely the statute under which
 9   Mr. Carrillo-Lopez is prosecuted. If the evidence produced in connection with this motion is
10   insufficient to carry the day, Mr. Carrillo-Lopez, through his counsel requests that this Court
11   schedule an evidentiary hearing, so that Mr. Carrillo-Lopez receives a full and fair opportunity
12   to assert this challenge.
13
14           DATED October 19, 2020.
15                                                     RENE L. VALLADARES
                                                       Federal Public Defender
16
                                                 By: /s/ Lauren Gorman
17
                                                     LAUREN GORMAN
18                                                   Assistant Federal Public Defender
                                                     Counsel for CARRILLO-LOPEZ
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 1                           CERTIFICATE OF ELECTRONIC SERVICE

 2             The undersigned hereby certifies that she is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to serve
 4   papers.
 5             That on October 19, 2020, she served an electronic copy of the above and foregoing
 6   Motion to Dismiss Because § 1326 Violates Equal Protection Under Arlington Heights by
 7   electronic service (ECF) to the person named below:
 8                            NICHOLAS A. TRUTANICH
                              United States Attorney
 9                            PETER WALKINGSHAW
                              Assistant United States Attorney
10                            400 South Virginia Street, Suite 900
                              Reno, NV 89501
11
12
13                                                     /s/ Katrina Burden
14                                                     Employee of the Federal Public Defender

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Exhibit C - CR House 3614 Feb. 16 1929                                             100
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Exhibit G - Immigration Committee Report Jan 12 1926                               131
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                      Exhibit A

     Hernandez Declaration




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                         Declaration of Professor Kelly Lytle Hernandez
                               on the History of USC 1325/1326



        I have been asked to make this declaration to explain my understanding of the history of
USC 1326 and USC 1326. I am a professor of History, African American Studies, and Urban
Planning at UCLA where I hold The Thomas E. Lifka Endowed Chair in History. One of the
nation’s leading experts on race, immigration, and mass incarceration, I am the author of the
award-winning books, ​Migra! A History of the U.S. Border Patrol ​ (University of California
Press, 2010), and ​City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los
Angeles ​ (University of North Carolina Press, 2017). ​City of Inmates recently won the 2018 James
Rawley Prize from the Organization of American Historians, 2018 Athearn Prize from the
Western Historical Association, the 2018 John Hope Franklin Book Prize from the American
Studies Association, and the 2018 American Book Award. Both books, ​Migra! ​ And ​City
of Inmates​ , address the history of criminalizing undocumented immigration to the United States.
In 2019, I was named a ​MacArthur “Genius” Fellow​ for my historical and contemporary work.

        In 1929, the U.S. Congress first criminalized the act of entering the United States without
authorization, making entering the United States without authorization a misdemeanor and
re-entering the United States without authorization after deportation a felony. Although no
racial group was named in the 1929 legislation, racial animus motivated the bill’s author.
Moreover, the politics of white supremacy dominated the politics of immigration control at
the time. On these grounds, the individual racial animus of the original bill’s author and the
prevailing politics of immigration legislation leading into and during the 1920s, the
criminalization of unauthorized entry was a racially motivated act. Unsurprisingly, the new
law delivered racially disparate outcomes.

        The modern system of federal immigration control began during the 1870s. Before that,
states and cities largely set immigration policy. But the Panic of 1873 triggered a deep economic
recession across the United States that exacerbated what scholars call “anti-Chinese sentiment”
in the U.S. West, leading to the 1882 Chinese Exclusion Act, which prohibited Chinese
laborers from entering the United States for ten years. The act was a more restricted
measure than demanded by hardline westerners, but as one of the new law’s staunchest
advocates explained, “If this law is strictly enforced it will not be many years before the
[Chinese] race will, in all probability, be extinct in this country.” Ten years later, Congress
passed the Geary Act, which extended the ban on Chinese laborers and required all lawful
Chinese immigrants to register with federal authorities. Those who failed to do so would be
subject to arrest, imprisonment and then deportation. The 1892 Geary Act marked a sweeping
expansion of U.S. immigration control. Prior to the Geary Act, Congress had adopted
legislation to prohibit certain groups of persons from entering the United States. By 1891,
Chinese laborers and all prostitutes, convicts, “lunatics,” “idiots,” contract laborers, and
those “liable to become public charges” were categorically prohibited from entering the
United States. All such persons were to be stopped at immigration stations, interrogated, and
denied entry into the country. But after the Geary Act, immigrants who had already
established residence within the United States were subject to forced removal. Therefore, the


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broadened the basic framework of U.S. immigration control beyond the nation’s borders to
include deportation from within the United States.

       Since 1892, U.S. authorities have deported or otherwise forcibly removed more than fifty
million people from the United States. In the early years of deportation, many of the nation’s
deportees were Chinese immigrants. The Chinese Mounted Guard, which was established to
police unlawful Chinese immigration in border regions, apprehended and deported thousands.
But, by 1924, the focus of exclusion at U.S. borders and removal from within U.S. borders
changed, turning toward the rising number of Mexican immigrants entering the United States.

       Few Mexicans immigrated to the United States at the close of the nineteenth century. But
a period of land privatization in Mexico paired with agricultural development in the
southwestern United States soon triggered an unprecedented wave of mass labor migration
between Mexico and the United States. By the early 1900s, tens of thousands of Mexicans
entered the United States every year. Most arrived in search of work and engaged in seasonal
migrations between work in the United States and home in Mexico. By the 1920s, Mexicans
made more than 1 million border crossings every year and emerged as the majority low-wage
workforce in many southwestern industries. As the president of the Los Angeles Chamber of
Commerce explained, “We are totally dependent . . . upon Mexico for agricultural and industrial
common or casual labor. It is our only source of supply.”

        But Mexican immigrants were more than common and casual laborers. Living and
working in the United States, Mexicans formed communities and associations, built homes,
raised families, joined labor unions, and established everything from newspapers and businesses
to bands and baseball teams. Building what has been described as MexAmerica and raising the
first generation of Mexican Americans, Mexican immigrants made full and permanent lives for
themselves and their children—an increasing number of whom were U.S.-born citizens—in the
United States.

        The rise of MexAmerica made Mexican immigration a hot topic in the U.S.
Congress during the 1920s. In a decade now remembered as the “Tribal Twenties”—a time
when the Ku Klux Klan was reborn, Jim Crow came of age, and public intellectuals preached
the science of eugenics—many representatives, especially those popularly known as
“Nativists,” hoped to restrict and even end immigration to the United States from every region
of the world other than western Europe.​3 In the past, they argued, slaveholders had made a
terrible mistake by importing Africans to the country in the blind pursuit of profit. Nothing
could be done to undo the tragedy of slavery—the introduction of Africans to the country,
that is—but, they hoped, new immigration laws would limit the future peopling of the United
States.

        For them, the 1882 Chinese Exclusion Act had been just the beginning of an enduring
effort to restrict immigration to the United States. In the years that followed the 1882 law,
Congress further restricted who could legally enter the United States. By 1917, Congress had
banned all Asian immigration to the United States and also categorically prohibited all
prostitutes, convicts, anarchists, epileptics, “lunatics,” “idiots,” contract laborers, and those
        .


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“liable to become public charges” from entering the United States. Moreover, Congress adopted
a fee structure and literacy test designed to keep the poor and illiterate from entering the country.
Many Nativists still wanted more. In particular, they demanded a comprehensive whites-only
immigration system

        In 1924, the Nativists scored a major legislative victory with the passage of the National
Origins Act. The law affirmed all previous immigration restrictions, such as the total bans on
contract laborers, epileptics, anarchists, polygamists, criminals, and all Asian immigrants. The
1924 law also required all immigrants to submit to inspection at a U.S. immigration station,
where they would have to pass a literacy test and a health exam and pay $18 in head taxes
and visa fees before legally entering the country. Only western Europeans, they believed,
would be able to pass such exams and pay the fees required for legal entry into the United
States. Finally, the 1924 National Origins Act also established a system of national quotas that
limited the total number of immigrants allowed to enter the country each year. The quota system
constituted what historian John Higham has described as a “Nordic victory” by narrowing the
pathways of legal immigration to allow only a particular portion of the world’s population to
enter: 96 percent of all quota slots were reserved for European immigrants.

        However, to pass the National Origins Act, the Nativists in Congress made a
painful compromise. Employers across the southwestern United States vehemently opposed
the quota system. At a time when U.S. immigration authorities counted 100,000 Mexicans
crossing the border each year, the quota system would limit Mexican immigration to a few
hundred border crossers annually. The quota system threatened to cut the surge of Mexican
immigration to a trickle. But industries in the West had become “dependent” on Mexican
labor, explained employers, who voiced their opposition to the new law. Under pressure from
these employers, a bloc of congressmen from western states refused to vote for a
comprehensive quota system, forcing the Nativists in Congress to choose between accepting
a Mexican quota exemption or passing no immigration law at all. The westerners won.
Therefore, the 1924 National Origins Act exempted all immigrants from the Western
Hemisphere, including Mexican immigrants, from the quota system. So long as Mexican
immigrants complied with the administrative requirements for legal entry—submitted to
inspection at an official port of entry, passed the literacy test and health exam, and paid the
$18 head tax—an unlimited number of them could enter the United States each year.

        Nativists chafed at the Western Hemisphere exemption. As one congressmen complained
during the 1924 hearings, “what is the use of closing the front door to keep out undesirables
from Europe when you permit Mexicans to come in here by the back door by the
thousands and thousands?” After the passage of the 1924 National Origins Act, the nativists
campaigned to add Mexico’s migrant workers to the quota system. Mexico was a nation of
mongrels, they argued. As such, Mexicans were unassimilable racial inferiors and
unrestricted Mexican immigration jeopardized the core objective of the National Origins
Act. “The continuance of a desirable character of citizenship is the fundamental purpose of
our immigration laws. Incidental to this are the avoidance of social and racial problems, the
upholding of American standards of wages and living, and the maintenance of order. All of




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these purposes will be violated by increasing the Mexican population of the country,” explained
Congressmen John C. Box (Texas) who co-sponsored a 1926 bill to limit Mexican immigration
to the United States. The growers defeated the 1926 Box Bill but the nativists tried again in 1928
arguing that the exemption for Mexican workers needed to be terminated because, as they
forebodingly warned, “Our great Southwest is rapidly creating for itself a new racial problem, as
our old South did when it imported slave labor from Africa.”

        Throughout their debates with the nativists, southwestern growers fully agreed with the
notion that Mexico’s immigrant workers presented a “racial problem” and thereby conceded the
nativists’ point that Mexican immigration posed a threat to American society. As S. Parker
Frisselle of the California Farm Bureau Federation explained during the 1926 hearings, “with the
Mexican comes a social problem…It is a serious one. It comes into our schools, it comes into
our cities, and it comes into our whole civilization in California.” But after assuring the nativists
that “We, gentlemen, are just as anxious as you are not to build the civilization of California or
any other western district upon a Mexican foundation,” the growers countered the nativists’ call
to place a numerical limit upon Mexican immigration to the United States by arguing that
without unrestricted access to Mexican workers, the rising empire of agribusinesses in the
American southwest would turn to ruin. Instead of ending Mexican immigration, they offered the
nativists a promise. “We, in California,” vowed Friselle, “think we can handle that social
problem.” For, as another agribusinessman from Texas testified, “if we could not control
the Mexicans and they would take this country it would be better to keep them out, but we can
and do control them.”

        The pledge that “we can and do control them” referred to the social world of agribusiness
in the U.S.-Mexico borderlands. Agribusinessmen and the demands of their enterprises
dominated the political, social, and cultural life of borderland communities as the racialized
organization of work refracted throughout community life. Whites held land or managed workers
while Mexicanos harvested, plowed, picked, tended, reaped, and migrated. As Devra Weber,
Paul Schuster Taylor, and others have detailed, the racialized divisions in California were so
crude that “the owners and top managers were white: foremen, contractors and workers were
Mexican.”​[8] In Texas, one young white farmer explained that white landholders and tenants lived
a life of leisure because “we have the Mexicans here and don’t work.”​[9] The hierarchy
between Anglo-American landowners, white managers, and Mexicano workers reverberated
throughout the region where highly racialized practices of social segregation, political
repression, and community violence accompanied the patterns of economic exploitation that
locked the region’s large Mexicano population in low-wage work. From Texas to California,
white and Mexicano children attended separate and unequal schools.               Poll taxes and
political bosses effectively disenfranchised Mexicano voters.           Mexicans had limited
employment options outside of agriculture. Police violence against Mexicanos was common.
And, where it was most extensive, “No Negroes, Mexicans, or Dogs” signs were posted on
restaurant doors.

      While the quota system reduced immigration from most corners of the world Mexican
immigration soared. In fact, by the end of the 1920s Mexico became one of the leading sources




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of immigration to the United States. This unnerved the Nativists. Mexicans, they hollered, were
“peons,” “mongrels,” and “racially unfit for [U.S.] citizenship.” Mexican immigration, they
believed, threatened to degrade the nation’s “Aryan” stock. It needed to be stopped. But
according to the 1924 Immigration Act, an unlimited number of Mexicans would be allowed to
enter the United States every year. All Mexicans had to do was travel to an official port of entry
anywhere along the U.S.–Mexico border, submit to inspection, pass the literacy test and health
exam, and pay—or have paid by their employers—the $18 entrance fee. Mexicans did this one
million times during the 1920s. On top of this, many Mexicans crossed the border without
officially registering for legal entry. They evaded the expense and inconvenience of legal entry
and, instead, simply crossed the border along its many desolate stretches between ports of entry.
The U.S. Immigration Service estimated that Mexicans made an estimated half-million
unauthorized border crossings during the 1920s. With western industries continuing to expand,
every indicator suggested that Mexican immigration, both authorized and unauthorized, would
only increase in the years ahead. The continued threat of Mexico’s “mongrels” migrating into the
United States undermined the Nativists’ Nordic victory of 1924.

        But the Nativists in Congress never gave up their quest to end Mexican immigration to
the United States. After the passage of the 1924 Immigration Act, they proposed bill after bill
attempting to add Mexico to the quota system. Between 1926 and 1930, Congress repeatedly
debated the future of Mexican immigration into the United States. Each time,
employers—namely those in the business of industrial agriculture in the U.S. West—protested.
S. Parker Frisselle was the first person to testify before Congress when the Mexican quota
hearings began in January 1926. An influential farmer and lobbyist from California, Frisselle
was a leading voice among the dozens of agribusiness owners who journeyed to Congress to
support unrestricted Mexican immigration to the United States. Immigration control, Frisselle
conceded, was one of Congress’s most sacred duties. Immigrants, he explained, were permanent
residents who, in time, became U.S. citizens. Congress, therefore, rightly passed laws to restrict,
limit, and filter immigration to the United States. Thus Frisselle supported the Nativists’ pursuit
of immigration restriction. “We, gentlemen,” he testified, “are just as anxious as you are not
to build the civilization of California or any other western district upon a Mexican foundation.”

       However, argued Frisselle, Mexicans were not immigrants. “There is . . . in the minds of
many the thought that the Mexican is an immigrant,” explained Frisselle. That thought
was wrong, he assured. “The Mexican,” he testified, “does not remain.” “He always goes
back,” promised Frisselle. “The Mexican,” continued Frisselle, “is a ‘homer.’ Like the pigeon
he goes home to roost.” On this promise that Mexicans were “bird[s] of passage” who would,
at the end of each season, return to Mexico, never settling north of the border and never
becoming Mexican American, the western lobby defeated the 1926 bill to cap Mexican
immigration to the United States.

       Two years later, as Congress continued to debate Mexican immigration, George
C. Clements, a lobbyist from Los Angeles, emerged as a leader among the
western agribusinessmen. As the director of the Agricultural Bureau of the Los Angeles
Chamber of Commerce, Clements’s full-time occupation was the protection and advancement of




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the interests of agribusiness. An evangelist for unrestricted Mexican immigration, he traveled
around Los Angeles and throughout the southwest lecturing on the topic. He also provided
research to congressional committees, consulted with California’s governors, organized industry
wide meetings, and vigorously confronted all challenges to the organization of agriculture in the
West. When liberal academics challenged the inequities of agribusiness, Clements picked apart
their claims in counterstudies and editorials. Indefatigable, Clements was a driving force behind
the western lobby for unrestricted Mexican immigration.

        According to Clements, just one fact mattered in the Mexican immigration debate. The
fact, as Clements put it, was that Mexican immigrants were “swallows”: like migrating birds,
they would never permanently settle within the United States. Mexicans, he explained, “have no
intention of becoming citizens within the United States.” A Mexican would not settle in the
United States because “his homing instincts take him back to Mexico.” But if the homing instinct
of Mexico’s swallows were ever to falter, “we need not be burdened with his keep.” Estimating
that 80 percent of California’s Mexican working population had entered the country without
authorization, Clements assured worried Nativists that Mexicans could be forcibly removed from
the country. “He is deportable,” Clements wrote, lectured, and testified. Mexican deportability,
argued Clements, was a social fact that Congress could depend on when voting to leave Mexican
immigration unrestricted.

       Clements also asked the opponents of unrestricted Mexican immigration to carefully
consider one question before voting against it. That question, according to Clements, had
nothing to do with Mexicans. It had to do with blacks. “The one problem which should give us
pause is the negro problem,” explained Clements. “I warn you. American business has no
conscience. If the Mexican is denied us, the [Puerto Rican] negro will come,” he
cautioned. Knowing his adversary well, Clements baited the nervous Nativists of the Tribal
Twenties. “Which do you choose,” he asked, Mexico’s deportable birds of passage or
Puerto Rican Negroes who, as citizens, would leave the edge of U.S. empire to
settle within the final frontier of Anglo-America? “When once here always here,”
warned Clements; the Puerto Rican Negro would pose “a continual social problem and a
growing menace. You can not deport him.” The only real question, therefore, was whether
Congress would open the Anglo-American West to permanent black settlement or make its
peace with Mexico’s birds of passage. Itinerant, impermanent, and disposable Mexican
labor migration, he offered, was the only real solution for the development of the American
West.

       But by 1929, the western promises of Mexican impermanence had worn thin. Mexican
immigration was soaring. Ten percent of the Mexican population already lived north of the
border. How many more Mexicans would cross the border to settle in the United States?
Nativists in Congress pounded the western employers for answers, charging them with recklessly
courting the nation’s racial doom with unrestricted migration from Mexico. Western employers
refused to budge. At this moment, amid the escalating conflict between Anglo-American
employers in the West and anxious Nativists in Congress, a senator from Dixie proposed
a compromise.




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        A proud and unreconstructed white supremacist, Coleman Livingston Blease hailed
from the hills of South Carolina. When Blease was elected to the state assembly in
1889, his first legislative proposal was a bill to racially segregate all railroad cars in South
Carolina. The bill failed, but in the years ahead, Blease successfully rode a rising wave of rabid
antiblack racism to the South Carolina governorship and then, in 1925, to the U.S. Senate.
The self-appointed “political heir” to “Pitchfork” Ben Tillman, Senator Blease was,
according to one biographer, touched by a strain of “Negro-phobia that knew no bounds.”

        When Blease marched into Congress in 1925, he was prepared to battle any perceived
threat to white supremacy. He was against the idea of a world court because he opposed any
“court where we [Anglo-Americans] are to sit side by side with a full blooded ‘nigger.’” In
this case, Blease referred to the possibility of a Haitian judge being appointed to the world
court. In terms of immigration control, Blease campaigned on 100 percent Americanism, and
once in Congress, he feverishly opposed any attempt to roll back immigration restriction and
pushed Congress to prohibit the U.S. government from hiring noncitizens. The bill was rejected
three times. He also proposed limiting the voting rights of naturalized citizens. This, too,
Congress rejected. But in early 1929, as Congress was locked in an unending debate over the rise
of Mexican immigration to the United States, it was Senator Coleman Livingston Blease from
South Carolina who negotiated a settlement between the congressional Nativists and western
agribusinessmen during the Tribal Twenties.

        Blease shifted the conversation to controlling unauthorized Mexican migration rather
than capping authorized migration. Citing the large number of unauthorized border crossings
made by Mexicans each year, Senator Blease proposed criminalizing unlawful entry into
the United States. Mexicans regularly crossed the border without authorization, making
them particularly vulnerable to prosecution and incarceration according to Blease’s bill.
According to Senator        Blease’s    proposal,     “unlawfully     entering     the country”
would be a misdemeanor punishable by a $1,000 fine and/or up to one year in prison,
while unlawfully returning to the United States after deportation would be a felony
punishable by a $1,000 fine and/or up to two years in prison. As written, the new law
would affect any immigrant who unlawfully entered the United States, but it was
introduced into Congress as a measure to control and punish unlawful Mexican
immigrants, in particular. To this, the western agribusinessmen registered no protest.
Mexican deportability, after all, was an asset to agribusinessmen in search of a
temporary labor force. As Frisselle put it in 1926, “We, in California, would greatly prefer
some set up in which our peak labor demands might be met and upon the completion of our
harvest these laborers returned to their country.” Like deportation, the criminalization of
unauthorized entry only strengthened the position of agribusiness owners. On March 4, 1929,
Congress passed Blease's bill. Within one year, Blease's law was delivering results.

        With stunning precision, the criminalization of unlawful entry caged thousands
of Mexico’s proverbial birds of passage. Within one year of enforcement, U.S. attorneys
prosecuted 7,001 cases of unlawful entry. By 1939, they had prosecuted more than 44,000 cases.
In no year did the U.S. attorneys' conviction rate fall below 93 percent of all immigration cases.




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crimes, no other federal legislation—not prohibition, not drug laws, and neither laws
against prostitution nor the Mann Act—sent more Mexicans to federal prison during these
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Taking custody of individuals convicted on federal immigration charges, the U.S. Bureau of
Prisons reported that Mexicans never comprised less than 84.6 percent of all imprisoned
immigrants. Some years, Mexicans comprised 99 percent of immigration offenders. Therefore, by
the end of the 1930s, tens of thousands of Mexicans had been arrested, charged, prosecuted, and
imprisoned for unlawfully entering the United States. With 71 percent of all Mexican federal
prisoners charged with immigration crimes, no other federal legislation—not prohibition, not
drug laws, and neither laws against prostitution nor the Mann act—sent more Mexicans to federal
prison during those years.

       Clearly, the archival record marks the criminalization of unauthorized entry as a racially
motivated act that quickly delivered racially disparate outcomes.



DATED: August 2, 2020




Kelly Lytle Hernandez




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                      Exhibit C

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3614                                          CONGRESSIONAL RECORD-IOUSE                                                            FEBRUARY 16
     Mr. YON.           IMr.Speaker, will the gentleman yield?                    I am not interested at all in the packers; I am interested in the
     Mr. ('ONNEltY.             Yes.                                              farmers. I want to see tile farmers protected.
     Mr. 1YON.        'There is one question that I would like to asl:              Mr. JONES. I want to say in that connection that the
of the geitie
            (         iii;ii.   I   have been a    shoe man-inot   a   manufac-   farmer sells the whole animal to the packer. The packer in
turer. Init :1        alelar--:i.lnd I aun synmpathetic with the sinte indus-     turn sells to others. The packer is an intermediate agent. If
try. W\ile I          was inl IHoslon not long ago one of the big leather         he can get more for tlie hides, lie can pay more for tileanimal.
Iliien oitlined       the situation relative lo the supply of lhather.            That is elemental.
IH     said that:      lie suppldy had decrea:ed from 1920 from 13,000),-           Mr. CONNERY. And when the packers get the animal they
00l' down to less than 2,1)tX,100I of the available supply. The                   skin hinl and dispose of the hide.
urgent retluir•leiielt at that tiue was to use low-cut shoes.                       Mr. JONES.      I want to say to my friend that hides can be
'hl'y were bringi.ii. in substitutes for leather, and at the same                 brought in free from other places. These packers have big
lime they were asking protection on shoes, all the while know-                    plants in other countries-in South America and elsewhere-and
ing that \when they asked protection on shoes the producers                       they can bring hides in free of duty. The same is true of other
of hihles and leather are entitled to protection on hides.                        concerns which use hides.
    Mr. (C(ONNERY. If lie gentleman will examine the record,                       The SPEAKER pro tempore.            The time of the gentleman from
he will lind Iliat tlie l,.(0.0()00 pairs of shoes that came in last              Massachusetts has expired.
yiulr flro    ( 'zecho'slovakia paid no tariff at all. There was no                                     DEPOIhTATION    OF ALIENS
dilty nil ilhein at all.                                                             Mr. JOHNSON of Washington. Mr. Speaker, I move that
    .Mr. Y(N. I understandl         that those slhoes are made where a
                                                                                  tlie HIouse resolve itself into the Committee of thle Whole House
grl'eat leal of extra work is pillaced Iupon thelll. alld those shoes
                                                                                  on the state of the Union for the further consideration of the
so Inlde carry duily; and thle majority of thie shoes iuallnllac-
tedl'(l arif Ihi" tliat genleral ('charactel r of mnlanufacture. As I say,        bill (S. 5()94) making it a felony with penalty for certain
                                                                                  aliens to enter the United States of America under certain con-
I want to do thie     t,        ir thing and believe in doing the fair thing
                                                                                   litions in violation of law.
for tlie slh eilanullllilttI
                          i    erl'.
                                                                                     Thlielmotion was agreed to.
     AMr. ('(ONNEIRY.     I will say to the gentleman that I believe
                                                                                     Accordingly til    eouse resolved itself into tileCommittee of
  liimlty tlhat if Conllgres. does nlot put a tariff on boots and ;hoes
                                                                                  the W\\hiole House on tlie state of the Union for the further coin-
 lthe shoe industry in my city will be wiped out within the next
five ye•ris.     1 am not saying that for effect. I know what I am                sidei'ation of the bill S. 5094. with Mr. BAcoN in the chair.
                                                                                     The Clerk read the title of the bill.
talking hbout.
                                                                                    Mr. JOHNSON of Washington.             Mr. Chairman, before we
     Mr'. S('IAFEIt. Mr. Chairman, will the gentleman yield?                      proceed with the reading of the bill, I ask unanimous consent
     Mr. ('ONNERY. Yes.                                                           that I may be permitted to address the conmmittee for three
     Mr. St'IIAFEIt.        In the district tlit I have the honor to              minutes.
rep(resent we have a greatlman;y shoe manufacturers and tan-                        The CHAIRMAN. The            gentleman from Washington asks
neries. I want to have a tariff which will protect these indus-                   unaniimous consent to proceed for three minutes. Is there
tries and labor eimplloyed therein from unfair competition of                     objectiion?
foreign products. I will, however, oppose a tariff on shoes if                      There was no objection.
tile shoe manufatl'urers keep up their propaganda for a tariff on                   Mr. JOHNSON of Washington.            Mr. Chairman and gentle-
slioe,. allnd opposition to a tariff on hides and finished leathers.              men,  when the comnnittee was about to rise last night an agree-
   Mr. ('O NNEIIY. Every shoe manufacturer that I have talked                     ment was reached by which we agreed to proceed with Senate
with has hardly menltioned the question of hides. If you will                     bill 5004 to-day in accordance with the rule under which we
ask tihe about it, you will find they will say to the Committee                   were operating. As we were about to rise. it was apparent
on Ways and Means when they appear before it next week,                           that amendllents would le offered to provide for a paragraph
" If you see it to put a lduty on hides, all we ask is to have a                  which would include violators of certain parts of the liquor
compenlsatory tariff pl:ced oil shoes." I will say to the gentle-                 laws.   They would be alien violators, of course.       One or more
man t at thahe ]propmamandal   that lie mentions certainly does not               MJembers had sent to the Clerk's desk amendments to that
conle from my dist.lrict.                                                         effect, and your Committee on Immigration, after surveying the
  Mr. MORGAN. Mr. Speaker, will the gentleman yield?                              situation and feeling rather of the opinion that an amendment
  Mr. ('ONNERY. Yes.                                                              of some kind along that line would he voted, met this morning
  Mr. MOIG•IAN.       If we destroy the shoe factories and the                    and perfected an amendment. I think, in fairness to the gen-
tanneries, will not the hide market he wiped out ultimately?                      tleman froml Georgia [IMr. TARVEU], who w'as claiming recogli-
  Mr. ('ONN,EY. Yes; because there will be nobody to buy                          tion at the time we made the agreement, that his proposed
hides.                                                                            amendment might as well be read, after which the chairman
  Mr. Me('OIIMAACK.          Does the gentleman know where the                    of the committee w'ill offer the committee amendment as 'l
capital coines frotl that is piut into the manufacture of these                   substitute.
shoes in ('zechoslovakia ?                                                           Mr. EDWARDS. Will the gentleman yield?
  Mr. CONNEIY. I believe that the capital that is behind the                        Mr. JOHNSON of Washington.           Yes.
Czechoslovakia. shoe manufactures                   comes from     the United       Mr. EDWARDS. Is the proposition the committee has agreed
States. The mlllnalulturers here have put money into business                     on, in effect, the amendment as offered by the gentleman front
over there, hecause they say they can not compete here, and                       Georgia ?
with cheap labor costs over there they can, and thereby throw                      Mr. JOHNSON of Washington. I think it is rather more
thousands out of emtployment in the United States. That is                        embracing.
admlitted by business men in New York.                                             Mr. BRIGGS. It relates not only to violations of the prohi-
     Mr. LOZIElt.           Mr. Speaker, will the gentleman yield?                bition laws but to other violations?
     Mr. CONNERY.               Yes.                                                Mr. JOHNSON of Washington.             In order to save time I
   Mr. LOZIIEIt. Is it not a fact that in the last few years mil-                 will read the amendment. It will add one more classification,
lions of dollars
          oll
            of     American money have been loaned to cou'n-                      and it will be as follows:
tries in Europe in order that European industry may come in
competition with donlmestic products here?                                           (9) An alien who is convicted of manufacturing, selling, or trans-
     Mr. ('ONNERY.              I understand so.                                  porting intoxicating liquor, for which he is sentenced to imprisonment
   Mr. MORGAN. I)oes the gentleman stand oil the Democratic                       for a term of one year or more, or who is convicted of manufacturing,
                                                                                  selling, or transporting intoxicating liquor, for which he is sentenced
platform, where protection is demanded?
  Mr. ('ONNERY. I certainly stand on the Democratic plat-                         to imprisonment for a term which, when added to the term or terms
form, which deinands that our industries be protected.                            to which sentenced under one or more previous convictions of manu-
                                                                                  facturing, selling, or transporting intoxicating liquor, amounts to one
   Btut, of course, the Democratic platform says we should have
                                                                                  year or more. This subsection shall apply only in the case of offenses
protection.        I have no argument with my distinguished friend
                                                                                  committed after the enactment of this act.
from Texas on that point.
   Mr. JONES. Thle occasion for my question was this: I re-                         Mr. LOZIER. Will the gentleman yield?
ceived a printed letter-and I am sure all the Members received                      Mr. JOHNSON of Washington. Yes.
it-from the National Boot & Shoe Manufacturers' Association                         Mr. LOZIER. In other words, the language makes the terms
urging a tariff on boots and shoes and urging free hides.                         cumulative: that is, adds one to the other?
Now. it seems to me it is going pretty far to ask the ranchmen                      Mr. JOHNSON of Washington. Yes; cumulative for liquor
and farmers who produce hides to sell their products in a free                    violations and separating them from general violations. With
market and att the same til e copel them to buy their supplies                    that explanation, I will ask that the Clerk read the bill.
in a protected market. Does the gentleman think that is fair?                       Mr. TARVER. Mr. Chairman, I offer an amendment.
   Mr. ('ONNERY.      No: I do not. And, I repeat. I beiieve a                      The CHAIRMAN. The gentleman from Georgia offers an
tariff on hides will only inure to the benefit of the packers, and                amendment, which the Clerk will report.




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1929                                  CONGRESSIONAL RECORD--IOUSE                                                                 3615
  The Clerk read as follows:                                              deported even without trial or conviction, and the violators of
   Amendment offered by Mr. TARVER: Amend by adding a new para-           the prohibition laws of the country?
graph to be numbered " 2-A " after line 7, on page 3, as follows:           My amendment, as I have said. provides it shall apply only
   " 2-A. An alien who hereafter violates or conspires to violate any     to two classes of cases, those who manIufacture and those who
statute of the United States or of the several States by manufacturing    sell, and that it shall not apply to them unless there shall have
or selling intoxicating liquors for beverage purposes, and is convicted   been two convictions for the same offense.
of such offense in a court of record when such conviction is for a          I submit this presents to the committee the sole question of
second offense of the same character."                                    whether or not they believe aliens who have twice violated and
                                                                          been convicted of violating the prohibition laws of the country
   Mr. TARVER. Mr. Chairman and gentlemen of the commit-                  are desirable residents of the country and ought to be permitted
tee, the purpose of this amendment, of course, is to authorize            to remain here.
the deportation of those who have manufactured or sold intoxi-              Mr. SCHAFER. Will the gentleman now yield?
cating liquors in violation of the laws of the United States. It            Mr. TARVER. I yield to the gentleman.
does not affect any other class of violators of our prohibition             Mr. SCIIAFER. Why not also include those who are found
laws. It provides that conviction must be had in a court of               guilty of buying and transporting?
record and not only that but it must be a second conviction.                Mr. TARVER.      So far as I am concerned, I believe that vio-
It does not have anything to do with the length of the sentence     lators of the prohibition laws of the character indicated by the
that may be imposed, and I respectfully submit to you that an       gentleman should be included, but I have sought to put this
amendment such as was described by the chairman of the com-         amendment in such form as that any man who even pretends
mittee, the gentleman from Washington, will not have the effect     to believe in prohibition and in the enforcement of prohibition
of authorizing the deportation of a large majority of these alien   could give it:his support.
violators of our prohibition laws, for the reason that in those        I want to say to the House, in explanation of my own posi-
sections of the country where such violations are most rampant      tion, that I am sincerely an advocate of prohibition. I am
and where there are the largest number of alien violators of        offering this amendment as a friend of prohibition. I believe
the prohibition laws the judges who customarily pass upon such      that the eighteenth amendment to the Constitution of the Inited
cases do not impose sentences of the length of one year for the     States is the best legislation enacted by this Congress in the
offense of selling intoxicating liquors or for the offense of manu- last 50 years, and I do not believe that the wholesale violation
facturing intoxicating liquors, in the vast majority of cases.      of it in certain sections of this country any more calls for i!s
   The penalties imposed by the judges, range from a small fine     modification or repeal than that the wholesale machine-gun
to a few days in jail. The minimum punishment for a first of-       murders which we have been reading about, occurring in the
fense under the law may be as small as one (lay in jail or a        city of Chicago, require the repeal of the laws against murder,
penny fine. For a second offense, it may be as small as 30          and I believe that if you pass this amendment and write it into
days in jail or a fine, I believe, of $200.                         law, it will go a long way toward effectively enforcing the
   Now, I contend that an alien who has engaged in the business     prohibition statutes of this country, and it will rid the country
of manufacturing or selling intoxicating liquors to the extent      of some of the foreigners who have been carrying on this illegal
that he has been twice caught and twice convicted in a court        business in a wholesale way in certain sections of the count ry.
of record has no right to insist upon his being allowed to remain      If you adopt the amendment of the committee, adopted by
in this country.                                                    the committee since yesterday afternoon in order to prevent
   The bill as it is at present, without the amendment of the your adoption of a more vigorous amendment, you leave the
gentleman from Washington [Mr. JOHNsON], would require not matter almost where it is now, because there will be very few
merely one year's sentence but two years, and the amendment cases in which the aggregate penalties will be as much as 12
changes that condition to some extent, if it should be adopted, months in those sections of the country which stand most in
but only to the extent of requiring that the aggregate sentences need of legislation of this character. [Applause.]
shall be one year; and I submit to you that in those sections of       Mr. JOHNSON of Washington. Mr. Chairman, I desire to be
the country, the large cities, where these aliens ply their illegal recognized in opposition to the amendment.
trade, it would be a long, long time before you would find sen-        Gentlemen, this is quite a serious matter. The gentleman
tences in very many cases imposed by the judges in those juris- from Georgia has made a very earnest statement. We ought to
dictions aggregating 12 months.                                     analyze it. We are dealing with aliens, even though the words
   The question is, Do you consider an alien who engages in of his amendment have been reduced to two or three phases-
the business of violating the Constitution of the United States transporting and manufacturing-the facts remain that if an
and the laws enacted in pursuance of the Constitution of the alien should be fined once $5 for a violation in a court of record,
United States, a desirable citizen of the United States? If you and then again fined $5 you have provided that he must be
do not, then you ought to vote down the committee substitute deported provided the Secretary of Labor thinks him an unde-
and adopt this amendment.                                           sirable citizen.
   Mr. SCHAFER. Will the gentleman yield?                              Mr. TARVER. If the gentleman will yield, the police courts
   Mr. TARVER. No; I have not time to yield, I am sorry to are not courts of record.
say to the gentleman. I only have five minutes.                        Mr. JOHNSON of Washington. Is the gentleman sure? How
   The gentleman from Texas [Mr. Box] on yesterday made some about the State of California?
statement to the effect that the reason for not including a pro-       Mr. TARVER. I think there is no question but that police
vision of this kind was because it would result in placing in the courts are not courts of record in any State.
deportable class such a large number, in addition to those al-         Mr. JOHNSON of Washington. They have a different system
ready authorized to be deported, that they might not be properly in California.
handled under the appropriations which are now available. The          Mr. EVANS of California. If the gentleman will yield, I
same objection would apply to every other provisidn of this hill. want to say that the police court in California is not a court of
It is admitted that there are at least several hundred thousand record.
aliens in the United States subject to deportation under our           Mr. JOHNSON of Washington. Then I am mistaken. It is
laws who can not be deported for lack of sufficient appropria- agreed, however, that many of these offenses are punished by
tion. If the gentleman's argument is correct, then why should imprisonment for 30 days or 60 days, and with fines in propor-
we add any number to that class?                                    tion. You must understand that we are creating one or :,wo
   The CHAIRMAN. The time of the gentleman from Georgia additional classes of aliens who commit crimes of a serious
has expired.                                                        nature, and they must be proceeded against by the Secretary of
   Mr. TARVER. Mr. Chairman, I ask unanimous consent to Labor. This amendment which has been proposed would confer
proceed for five minutes.                                           so much possibility of a burden in the name of deportation that
   The CHAIRMAN. The gentleman from Georgia asks unani- the Department of Labor would be greatly interfered with and
mous consent to proceed for five additional minutes. Is there would have to have a third branch of the Government for this
objection?                                                          phase of prohibition enforcement.
   There was no objection.                                             Mr. CRAIL. Will the gentleman yield?
   Mr. TARVER. This bill, gentlemen of the committee, pro-             Mr. JOHNSON of Washington. Yes.
vides that an alien who is guilty-not convicted in a court of          Mr. CRAIL. As I understand the amendment, the alien would
record, but who is guilty of any sort of a violation of the laws first have to be determined to be an undesirable citizen-
of the United States against the handling of narcotics-shall be        Mr. JOHNSON of Washington. That would come after he
subject to immediate deportation upon order issued by the .was convicted.
Commissioner General    of  Immigration.                                Mr. CRAIL. If he is an undesirable citizen, would it not be
   Why should there be such a tremendous distinction between better to deport him on a minor offense than to wait until he
the violator, in a small way, of the narcotic laws, who may be has committed a felony?




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  Mr. JOH*NSON of Washington.         If you carried it out in that       I grant that there are not as many arrests made, but we
detail, Ilie D,epartnment of Labor would not be able to function        know, and it can not be denied, and, in fact, it has been demon-
 it all. 'lTh wiork ;and burden on the department would be ter-         stated and proven on the floor of this House, that the prohibition
rible. I will ask the House to vote 1down the amendment offered         law is not being enforced in the South, and that the same south-
by the gentlemanl   fromn (eorgia mi
                                   id vote up the substitute which      ern hospitality of old still prevails.
I shall offer as,a commnitte amendlment.                                  Mr. LAGUARDIA. Mr. Chairman, I move to strike out the
   Mr. GII 'FOID. Will the gentleman yield?                             last word. I can understand the attitude of the gentleman from
   Mr. JOIINSON of Washinlgton. I yield.                                Georgia [Mr. TARVER1 in presenting his amendment.           After all,
   Mr. (;GI'FORD. Considering the various paragraphs, when              in these days of tariff revision and protection of American in-
it comnes to d(leportation to Iussia, we not having recognized          dustry, it is natural and logical that America's greatest and
 lie (Goverrnment in that country, what is the attitude of the          most profitable industry should be reserved to citizens of the
depii rtmen•t in th:it respect?                                          United States. [Laughter.]     The gentleman states that there
   Mr. JOIINOS)N of Washington. We would be unable to                   are thousands of bootleggers. Of course, we have not had the
deport.                                                                  benefit of the Census Bureau in classifying these bootleggers as
  \Mr. SAI'T'II. Mr. Chairman, the gentleman from Georgia is            to citizens and noncitizens, but again I want to point out to the
a prIolhibitionist and believes in lthe enforcement of the law, but,    House and to repeat at the risk of becoming tiresome, that you
 nliortluiiiately, ie is under the impression that all the violations    would not have thousands of bootleggers if you did not have
of Ilh liaw are co(,: itted by aliens. Now, I will say that many        millions of drinkers. It is because of the great demand for
aliens are arrested; they have no one to intercede for them;             liquor that you have this large number of bootleggers.       Just
 ihey have no influence, and when they are arrested they are            how the gentleman from Georgia [Mr. TARIVER] is going to dif-
fined. On tlie other hand, the influential citizens, in the gentle-     ferentiate between the alien bootlegger and the native con-
   an'lis Stat'e of (Georgia, or any other State, do the same thing:    sumer, I do not know. There can be no serious objection to the
  hliey imake it; they sell it: hey consume it. to a much greater       gentleman's amendment. In fact, I rather welcome it, because
extent thlian man y of the ;liens, but they very seldom are con-        it will answer a great many of the charges based upon misinfor-
victed or even arre'sted.                                               nation, that the bootlegging industry is in the control of aliens.
   What I want to bring home to you is that we have very                I assure the gentleman from Georgia that in his State, and in
stringent provisions in lihe present deportation act which pro-          many of the States of the Union, business is too good to be left
vides lfor ile deportation of aliens commnitting any kind of an         in the hands of aliens.
  lofeTn::e, wheiher it is violation of the Volstead Act or whether        Mr. TARVER. Mr. Chairman, will the gentleman yield?
it is larceny, robbery, or any otlher offense or crime. Now, why           Mr. LAGUARDIA. Yes.
should we have a special provision in tlhe act applicable to               Mr. TARVER. The gentleman on previous occasions Ilas
those wiho happen to violate the Volstead Act. a thing which has        made statements of this character concerning my State upon
bleii imade illegal only a few years and which up to the time           the floor of the House, and I rise to inform the gentleman now
Ibefore hy-triia hail taken possession of our legislative bodies,       that in my district in Georgia the prohibition laws are enforced,
was reioglizei to   (ie    legal all over the United States. Lo and     and if the gentleman will take the trouble on some occasion to
hiliold. It-daiy we must haliive a spechial law which must be much      visit my district, as I hope lie will, he will discover that to be
siron•igr hlian the law which applies to a man guilty of robbery,       true.   He will find that his charges made against my State at
lar(ceny.,   or any kind of a real crime against the laws of the        least are not correct.
State,s. It is to be regretted that people go or are carried away          Mr. LAGUARDIA. I shall permit the records of the gentle-
by blind prejudice to such an extent and can( not see the situa-        man's own State to speak for themselves, and if the gentleman
tion as It really should lie seen by sane and sensible men.             will consult them he will find an alarming increase in violation
    I feel that the present-day hysteria and intolerance on the         of both the Federal and the State prohibition laws, and I be-
part of cetrlain organlizatiois and individuals should cease, and       lieve that the conditions in the State of Georgia as to violation
tliat we sihould legislate sanely as men and not be overlorded by       of the liquor law is such that this House can take judicial and
aii origanization siiimply because a few yearls ago it was powerful,    legislative notice of it.
hut which now is fast disintegrating. It is to be regretted that           Mr. McCORMACK. Mr. Chairman, will the gentleman yield?
its accrediled ofliei:ils still ctiomie down here or by a word in-         Mr. LAGUARDIA. Yes.
fluence Melmbers of ('Congress who are elected by the people to            Mr. McCORMACK. Might I also call to the gentleman's at-
helieve that they iliust do as this organization tells them, re-        tention the fact that in the report of the provost marshal general
gardless iihow vici,ius.      otherwise   ihe organization will bring   to the Secretary of War on the operations of the selected-service
aboul their defeat. We ought to he big enough to say to all such        system, to December 20, 1918, one of the States mentioned where
organiizatiols and their agents that we are men who are sworn to        forcible resistance to the draft existed was the State of Georgia.
uphold the Constitution of tile United States, and who at the              Mr. LAGUARDIA. That has nothing to do with this, but
   isaie time have tlie right and privilege to cast our votes accord-   I want to say this about the State of Georgia in all fairness,
ing to the dictates of our conscience and not according to the          that the State of Georgia in so far as liquor conditions are con-
dictates of these prohibition leaders or people who really do not       cerned is no worse than other States of the Union.
know what it is all about, and arc being misled and used by the            Mr. TARVER. May I ask the gentleman a question?
professi,onal prohibitionists on one hand, and, on the other, the         Mr. LAGUARDIA.        Certainly.
 'st rict ionists, wh-lo are about as narrow-minded and bigoted, and      Mr. TARVER.       The statement of the gentleman made with
whii are forcing the legislation now before us.                         reference to violation of the liquor laws in Georgia was based
  Unlike tllle gentleimn froin Georgia, Florida, Washington, or         upon the records, I presume, indicating the number of distilleries
 lMain(e i am frank enough to admit     lihat there are nany viola-     seized?
tiiis of tie prohibition law in my Slate and in my city.                   Mr. LAGUARDIA. And the number of arrests and convic-
   I exceedingly regret to say that there are many bootleggers,         tions.
and manity killings among these bootleg gangs, something that             Mr. TARVER.       The fact that the law is enforced and that
was unheard of before prohibition. and for which the prohibition        violators of the law are arrested is no evidence to sustain the
law is re:sponsible. Tils, however, the professional prohibition-       gentleman's charge. The fact that in some sections of the
ist, or lthe prohibitionists on the floor of this House, dislike to     country violators go unpunished and no arrests are made does
concede, notwithstanding that it is a fact, and is recognized by        not sustain the contention that the law is not violated there.
 lhose wlio are not blinded with prejudice or who are not crazed          Mr. LAGUARDIA. I refuse to yield further and say as to
on lihe question of prohibition.                                        the gentleman's very clumsy innuendo as to my State, that
   In a measure. I do not blame certain gentlemen in trying to          he will find that in comparison to population, the conditions in
secure ia sp:ecial provision in this act, applicable to aliens guilty   the State of New York are better than in his State.
of violating the Volstead Act. I take it they want that lucrative         Mr. JOHNSON of Washington. Mr. Chairman, I call for the
busiiess lo be solely conducted by ;and be in the hands of native-      reading of my amendment, which I offer as a substitute for the
horn Aimericans.                                                        amendment offered by the gentleman from Georgia.
  In view otf tlie trelmendous implortation of liquors, it does not       The CHAIRMAN. The Clerk will report the substitute.
affec tlhe price of tleir native manufactured white mule and              The Clerk read as follows:
mloonshine, blca.use the greater importation of these liquors the          Substitute offered by Mr. JOHNsON of Washington for the amendment
lesser the price of white mule and moonshine, but surely they           offered by Mr. TARVER: Page 4, after line 9, and after subsection (S)
(call not lmaintain tlitt aliens are guilty of violating the prohibi-   already inserted by the committee amendment, insert a new subsection.
tion law in their respective States, because there are no aliens        to read as follows:
there, and, notwithstanding that fact, the records will show, that         "(9) An alien who Is convicted of manufacturing, selling, or trans-
there are as many stills confiscated as there are in any other          porting intoxicating liquor, for which he is sentenced to imprisonment
section in the United States.                                           for a term of one years or more; or who is convicted of manufacturing.




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selling, or transporting intoxicating liquor, for which he is sentenced to     Who in this day and generation is going to say that the boot-
imprisonment for a term which, when added to the term or terms to            legger is undesirable? How are you going to get by colnuol n
which sentenced under one or more previous convictions of manufactur-        sense on this proposition? I a:m not surprised tlhatthe gentlc-
Ing, selling, or transporting intoxicating liquor, amounts to one year or    man from Georgia I[Mr. TA~vElt] should offer his amendment.
more. This subsection shall apply only in the case of offenses commit-       He speaks of violations of the Volstead Act as being on a par
ted after the enactment of this act."                                        with violation of the narcotic act. Quite evidently there is a
  Mr. TARVEL.      Mr. Chairman, I make the point of order                   great difference.      Narcotics poison the minds of American
against the amendment when it is offered as a substitute. The                people, and the bootleggers are      lltering to the ordinary aple-
amendment vwhich I prolpose is to page 3 of the bill after line 7,           tiles of Americans. This aimeltlueunt can not only afnect the
adding a new paragraph to follow subsection 2 of section 1. The              violators; it affects their families also. It affects tlhouands
amendment proposed by the committee through its chairman is                  of men because they happen to sell booze a couple of limes and
to page 4 of the bill, and an entirely different part of the bill,           get caught. Here is an Americanl citizen buying liquor from
and can not le properly considered as a substitute for my amend-             an alien bootlegger. The alien bootlegger goes into the business
ment. There ought to be a vote upon my amendment, and then a                 in order to support his family. You give three cheers for the
vote upon the gentleman's amendment.                                         American violator. I suppose this amendment will prevail,
  The CHAIRMAN. Both the amendment and the substitute                        although it is nonsense on the face of it. The House was off
are offered to the same section. and the Chair thinks the substi-            its feed when by its vote it turned down the $240,000,000 addi-
tute is clearly germane and overrules the point of order.                     tional applropriation for prohiition enforcement. I congratu-
  Mr. JOHNSON of Washington.             I think this nitter has been         late all tile dry gentlemen on once more answering "lpresent"
fully debated and the committee las looked as carefully as it                 when the captains of the drys demand it. [Applause.]
could and given consideration to this. I think we should now                     The CHAIRMAN. The question is on the substitute offered
have a vote and proceed with the reading of the bill.                         by the gentlenmnl   from Washington for tie amendment offered
  Mr. EIDWARDS. Mr. Chairman, ladies, and gentlemen of the                    by the gentlenan from Georgia.
con'mittee, it is unfortunate thali in the consideration of matters              The question was taken, and tie substitute was agreed to.
here we should at any time legislate with respect to what has                    The CHAIRMAN. The question now occurs on the amend-
happened in this State or that State. We should, at least, be                 mtent as amended.
broad enough to approach legislative matters in the interest of                  The question was taken, and the amendiment as amended was
the whole country. Every once in a while slurs are made at                    agreed to.
some State. The gentleman from Massachusetts, very unkindly,                     Mr. SABATH. Mr. Chairman, I offer ;a amendment.
so far as the statement that Georgia resisted the draft, put it                  The ('IAlRMAN. The Clerk will report the amendment
in the RECORD that Georgia resisted the draft. He read and                    offered by the gentleman from Illinois.
quoted from some War Department report. I do not care where                      The Clerk read as follows:
that statement emanates from, it does our great State an injus-                 Amendment offered by Mr. SAATII : Page :, line 18, after the word
tice. In the name of the great State I have the honor to, in                 " false," strike out the words "or misleading," so that paragraph 5 will
part, represent, I brand it as false. We just as well have this              read as follows:
thing out now as later. The statement is not true. There were,                  "(5) The alien who hereafter willfully enters the United States at
perhaps, men in Georgia, as there were men in Massachusetts,                 any time or place other than as designated by immigration officials, or
as well as other States, who objected to the draft, but the citi-            eludes examination or inspection by immigration officials, or obtains
zens of the great State of Georgia were as loyal to the Stars and            entry to the United States by the willfully false representation or the
Stripes as were those of the great State of Massachusetts.                   willful concealment of a material fact."
[Applause.]
  It is unbecoming a Menrber of this House to make these nasty                 Mr. SABATHI.       That is the amendment I submit.
digs and mean slurs at any of the States. As a Representative                  Mr. JOHNSON of Washington.           Mr. Chairman, I believe that
of the State that has thus been insulted, I resent the remarks,              the debate has closed onl all mendments to this section.
and whether they come from the War Department, or wherever                      The CHAIRMAN. The gentllman from Washington is cor-
they come from, I denounce them as unkind and unfounded.                     rect. The question is on the amendment of the gentleman from
[Applause.] The people of a whole State ought not be indicted                Illinois.
by tie War Department report because of the attitude of some                    The question was taken, and the amendment was rejected.
of its citizens. I claim no superior patriotism for Georgians                   The CIAIRMAN. The Clerk will read.
but they are patriotic, and the State of Georgia is one of the                  Mr. HUDSON. Mr. Chairman, a parliamentary inquiry.
great sovereign States of this Union, and is entitled to proper                 The CHAIRMAN. The gentleman will state it.
respect here and elsewhere.                                                     Mr. IIUISON. The House has adopted an amendment of the
  Mr. BLACK of New York. Mr. Chairman, I rise in opposition                  committee. Would it now be proper to offer an amendment to
to the amendment.                                                            that amendment adopted by the committee?
  Mr. JOHNSON of Washington. Mr. Chairman, I move that                          The CHAIRMAN. The Chair thinks not.
all debate on this section and all amendments thereto close in                  Mr. HUDSON. It is part of the section, is it not, and would
five minutes.                                                                it not he in order to amend it?
  The CHAIRMAN.           The gentleman from Washington moves                  The CIIAIIIMAN. Tie gentleman should have offered an
that all debate on this section and all amendments thereto close             amendment to the amendment when it was plnding. It Is too
in five minutes. The question is on agreeing to that motion.                 late now. The Clerk will read.
  The motion was agreed to.                                                     Mr. SABATH. Mr. Chairmnn. I offer the following amend-
   The CHAIRMAN. The gentleman from New York is recog-                       ment: On page 4 strike out thb "ten " and substitute "live"
nized.                                                                       for it.
  Mr. BLACK of New York. Mr. Chairman and gentlemen of                          Mr. JOHNSON of Washington. Mr. Chairman, that amend-
the committee, supplementing the remarks of the gentleman                    ment was offered yesterday and voted down.
from Georgia [Mr. EDWARDS], I want to say that we saw in                        Mr. EDWARDS. Mr. Chairman, I make the point of order
New York City a great number of men of alien blood march                     that there is no amendment pending. The gentleman has not
forth to the war and perform nobly, as did those living in other             sent it to the desk in writing.
cities and States. When the leaders of the immigration re-                      The CIAIRMAN. The point of order is sustained. The
strictionist movement and the drys get together they can fur-                Clerk will read.
nish a melting pot that would satisfy a witch burner. This                      The Clerk read as follows:
amendment is another tower to hypocrisy in America.                             SEc. 2. For the purposes of subsections (0) and (7) of section 1-
  I am surprised that the chairman of this Committee on Immi-                   (a) No conviction shall serve as a basis for deportation proceedings
gration and Naturalization has capitulated to the drys. This                 unless such conviction is in a court of record and the judgment on such
matter has nothing whatever to do with the immigration bill.                 conviction has become final;
The committee refused to have anything to do with it at first,                  (b) In the case of a sentence for an indeterminate term in which the
hut   they    are now panic-stricken      when the gentleman         from    minimum term under the sentence is less than one year, the term
Georgia [Mr. TARVER] offers his amendment, so that immigra-                  actually served shall be considered the term for which sentenced; and
tion is going to be tainted with the corruption of prohibition.                 (c) An offense of which an alien, after conviction, has been uncon-
But I am not much surprised. I think the Labor Department                    ditionally pardoned, shall not be considered an offense.
is one of the best departments in Washington; and if there is
any gravy in this thing, I think they ought to have some of it.                Mr. JOHNSON of Washington. Mr. Chairman, I offer a com-
That department will be as much corrupted as any other de-                   mittee amendment.
partment with which the prohibition fanatics have come in                      The CHAIRMAN. The gentleman from Washington offers an
contact.                                                                     amendment, which the Clerk will report.




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  The Clerk read as follows:                                                             Mr. BURTNESS. Will the gentleman yield?
                                                                                         Mr SABATH. Yes.
            i
   Coln nittee  aniin•llltlll'nt offered by Mr. JOHNSON of Washington: On                Mr. BURTNESS. What offense committed in the past does
page -. line 10, strike out "(0) and (7)" and insert in lieu thereof                  the gentleman claim is punishable by this section?
"(t;), (71, (S), .ndl 19)."                                                              Mr. SABATH. It provides for deportations which took place
  'The c,iotlnilttee anI ndment was agreed to.                                        before the enactment of this act.
  The( Clerk read as follows:                                                            Mr. BURTNESS. But the act which is punishable is the at-
                                                                                      tempt to come in again, is it not?
   S'i.:'. ;. ()      If any alien has Iben arrested and deported in pursuance           Mr. SABATH. No; that is not the fact. This is the provi-
of law, he shall be excluded from admission to the United States                      sion, that if at any time a man has been deported, for instance,
wlhether' such d(eportation took place before or after the enactment of               for overstaying his leave, we will say, three, four, or five years
this       Iat, and If li' enters or attempts to enter  the United States after
                                                                                      before this law was enacted, he should not be punished under
tin expiration of      00    days after the enactment of this act, he shall be        this act. I say that sucl a stringent provision should not apply
guilty ii, a f'lony and              conviction thereof shall, iunless a different
                                 )upon                                                to him in view of the fact that when he was ordered deported,
peInit:, is otherwise expr.'sly provided by law, lie punished by imprison-            years ago, this was not the law of the land. That is my posi-
lientl Ifr not more th:in two years or by a line of not more than $1,000,             tion.
or by 1o,l i siucll fin an;id lmprisolnment.                                             Mr. BLANTON. Will the gentleman yield?
    (blit lr       the purposes of this section any alien ordered deported               Mr. SABATH. Yes.
 (whether before or after tilt einactlinint of this act) who Ihas left the              Mr. BLANTON.        There are thousands of Mexicans who have
Ulitedl S:ltats shall be conssidered to haive been deported In pursuance              come across the line unlawfully and who are now within the
of law, irreslpective of tie source from whicl the expenses of his trans-             United States. Has not the Congress the right to pass a law to
portalion were deifrayed or of itheplace to which he departed.                        deport themn?
   (c) An alien subject to exclusion from admission to the United                       Mr. SABATH. There is no question about that.
States under this section who is employed upon a vessel arriving in the                 Mr. BLANTON. Is that ex poste facto?
United States shall not be entilled to any of the landing privileges                    Mr. SABATH. No.
aillowed by law to sematen.                                                             Mr. BLANTON. Can not Congress provide for the deportation
     (d) So much of section 3 of the immigration act of 1917 (U. S. C.                of any certain class of people?
lit le S. se. 13:1(.1)) as reads as follows: " persons who have been                    Mr. SABATH. Yes.
delported under any of tle provisions of this act, and who may again                    Mr. BLANTON. It is not ex poste facto if it applies to a
seck admission within one year from the date of such deportation unless               whole class.
prior to their reeihmarkation at a foreign port or their attempt to be                 Mr. SABATH. I agree with the gentleman that there are
admitted fromn foreign contiguous territory the Secretary of Labor shall              many of them here in violation of the law and that they should
have coisentid to to eir re;applylng for admission" is amended to read                be deported.   We have embodied such a provision in this act and
as follows : " pelrsons who have been excluded from admission and de-                 tlat is being taken care of. There is no question about that.
ported in pursuaiinc    of law, and who may again seek admission within                 Now, I am again going to appeal to the gentlemen of the
one year     fromi   tie date   of siuch   deportation,   unless   prior to   their   committee to grant my request for an amendment of paragraph
reemnlbarklution at a place outside the United States or their attempt                5 of section 2, which I believe should be eliminated.
to be admtitted from foreign contiguous territory the Secretary of Labor                The CHAIRMAN.         The question is on the amendment offered
hits consented o toheir reapplying for admission."                                    by the gentleman from Illinois.
    (et So muchl of section 18 of the immigration act of 1917 (U. S. C.                 The question was taken, and the amendment was rejected.
title S. (sec.154) its reads as follows: "or knowingly to bring to the                  The Clerk read as follows:
IUniteil States at any time within one year from the date of deportation
any alien rejected or arrested and deported under any provision of this
                                                                                        SFE. 6. Proceedings for the deportation of an alien made deportable by
                                                                                      this act may be begun at any time after the entry of such alien, with-
act, unless prior to reemibarkatlon the Secretary of Labor has consented
                                                                                      out regard to any of the periods prescribed in the immigration act of
that suth ali'en shall reaplply for admission, as required by section 3
hereof " is aniendetd to read tas follows: " or knowingly to bring to the             1917; but no proceedings based on subsection (6) or (7) of section 1
                                                                                      of this act shall be begun after the expiration of three years after the
United St:ates any alien excluded or arrested and deported under any
                                                                                      termination of the imprisonment.
provision of law until such time as snuch alien may be lawfully entitled
to reapply for admission to the United States." The amendment made                      Mr. JOHNSON of Washington.              Mr. Chairman,     I offer   a
by this subsection shall take effect on the expiration of 60 days after               committee amendment.
the en.atnrent of thills act, but the provision amended shall remaln in                  The CHAIRMAN. The gentleman from Washington offers
force for the collection of any line incurred before the effective date of            an amendment, which the Clerk will report.
sueli atmendnent.l                                                                       The Clerk read as follows:
   Mr. SAIIATII. Mr. Chlirmain I offer an aminendment.                                   Committee amendment offered by Mr. Johnson of Washington: Page 7,
   The ('IIAIRMAN. The gentleman from Illinois offers an                              line 20, strike out "(6) or (7)" and insert in lieu thereof "(6), (7),
iinmtemlienit. which lte Clerk will report.                                           (8), or (9)."
   Ti ('Clerk read as follows:                                                          The committee amendment was agreed to.
                                                                                        Mr. CROSSER.        Mr. Chairman, I ask unanimous consent to
  Amcndment offered by Mr. SA.iAI : Page 4. line 24, strike out all
                                                                                      return to section 5 to offer an amendment striking out the word
after Iit'  word " deported." on line 24, all of line 25, and up to and
                                                                                      " of," in line 14. and inserting the word " to."
including tlie word "or," in line 1, page 25, so that provision (a), sec-
                                                                                         The CHAIRMAN. The gentleman from Ohio asks unani-
tion ::. will read as follows:
                                                                                      mous consent to return to section 5, for the purpose of offering
   " Si:t. :1 (ia If any alien has been arrested and deported after tihe              an aunendment. Is there objection?
enniiclt'nt of tils act, and if ie enters or attempts to enter the United               Mr. JOHNSON of Washington. Mr. Chairman, I object, pend-
States after the expiration of 60 days after the enactment of this act, he            ing a statement as to what the amendment is.
shall le guilty of at felony, and upon conviction thereof shall, unless a
                                                                                        Mr. CROSSER. It is for the purpose of correcting the lan-
dliferenl penalty Is otherwise expressly provided by law, be punished by              guage, changing the word " of," in the last part of line 14, and
imprisonment for not more tlhan two years or by a fine of not more                    making it "to."  It is not good English as it stands.
than $1,001n, or by both siclh line and Imprisonment."                                  Mr. JOHNSON of Washington. I will have to object to that.
   Mr. SAIIAATII. MIr. Chairman, I hope the chairman and the                          Mr. Chairman. The last several bills contain that language.
memibers of the committee will agree to this amendment. I feel                          Mr. CROSSER. If they do contain such language in like
they are interested in drafting a law that will be upheld by                          connection, they were wrongly phrased, and I insist that the
the courts. As this section is now drafted there is no question                       English at least should be proper. There is no reason why we
Ihat it is a retroactive provision, because it provides for the                       should use wrong phraseology or bad grammar merely because
punislment of those who have committed offenses, long before                          there are other matters in dispute.
                                                                                        Mr. JOHNSON of Washington.              Let us avoid     diction and
the adoption of this act. My amendment provides for the same
deport'ation but for offenses conunitted by those who have been                       grammar in this connection.
depoirted since the adoption of this law or this act, so as to make                      Mr. CROSSER. But the diction in this case is important.
it lawful, and make it legal, and so the courts will uphold it.                          Mr. JOHNSON of Washington. I object, Mr. Chairman.
   I do not believe it should be the policy of this House to pass                        Mr. COOPER of Wisconsin. Mr. Chairman, I ask unanimous
laws that are retroactive or exposte facto, laws which the courts                     consent to return to subparagraph (6) of section 1, on page 3,
have frequently held are void. For that reason I am hopeful                           because it seems to me, from a reading of the two or three
the chairman and the committee will agree to this amendment.                          lines there, that there is a contradiction. It provides that one
It will strengthen the provision; it will make it absolutely legal,                   of the aliens who may be deported is-
and I feel justice requires that we should not enact legislation,                      An alien who is convicted of any offense (committed after the enact-
as I have stated, which is retroactive.                                               ment of this act and at any time after entry).




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   If this provision were enacted into law to-day, the alien could 5,000 a day. They are not here illegally, because they come
 not be convicted, under the first language, unless the offense under the law and because there is no restriction against them.
 was committed after to-day; but the next language provides There is no quota.
that he shall not be convicted unless his offense is "committed       Mr. BLANTON. What about the head tax? They do not pay
 after the enactment of this act and at any time after entry." the head tax required by law.
Suppose he came in a year ago?                                        Mr. SCHAFER. Will the gentleman yield?
   Mr. TILSON. The gentleman will notice that the language            Mr. BLANTON. I yield to the gentleman from Wisconsin.
is inclusive. Two distinct things must take place. The offense        Mr. SCHAFER. These Mexicans also come into Wisconsin
must be committed after the enactment of this     act and  it must in droves, and take the places of Amlrrican citizens in the fac-
be committed after entry.                                          tories and on the farm. Often we se e the spectale of w;r vet-
   Mr. COOPER of Wisconsin. Then say so, and leave out the erans walking the streets unable to obtain elmploym,ent because
words " at any time," because his entry may have been a year of the unfair cc,mpetitio of cheap Mexican labor.
ago, and "any time after entry " means any time within that           Mr. BLANTON. Why does not the energetic. enterprising
ye:r.                                                              300-p,ound Member from Wisconsin put some of his energy into
   Mr. TILSON. It provides " at any time after entry" and action along tlat line and stop it?
something else-" after the enactment of this act."                    Mr. SCHAFER. If the gentleman will read the hearings lie
   Mr. COOPER of Wisconsin. It is a direct contradiction in will see thalt I appeared before the Immigration Committee in
language to say " after enactment of this act and at any time behalf of the Box bill. which would put the nationals of Mexico
after entry."                                                      under the quota restrictions.
   The CHAIRMAN. The gentleman from Wisconsin asks                    Mr. LAGUARDIA. Even the p):lylient of the head tax would
unanimous consent to return to subparagraph (6) of section 1, not disturb this influx for the reason that tle sugar-beet grow-
on page 3. Is there objection?                                     ers and the railroads would pay the head tax in order to get the
   Mr. JOHNSON of Washington. I shall have to object, Mr. Mexicans in. You have got to stop it.
Chairman.                                                             Mr. BLANTON. Why does not the committee stop it?
   The CHAIRMAN. Objection is heard.                                  Mr. LAGUARDIA. Because the influence of the sugar-beet
   Mr. SABATH. Mr. Chairman, I did not have the time to growers and the railroads is too strong.
prepare the amendment I desired, so I move to strike out the          Mr. JOHNSON of Washington. Does the gentlemian know
last word, and I fully recognize it matters not how carefully why it has not been stopped?
the amendment might be prepared, it will not receive much             Mr. BLANTON. Yes.
consideration to-day. Still, I want to bring it to your attention     Mr. JOHNSON of Washingiton. In my opinio,. the employ-
for just a few moments.                                            ment of a quota on both borders and contiguous territory in
   Section 6 provides:                                             South America and in Central America is inevitable, but you
   Proceedings for the deportation of an alien made deportable by this    have not the laws in accord witl it that will permit it without
net may be begun at nny time after the entry of such alien, without       several preliminary amendmnlents.
regird to any of the periods prescribed in the immigration act of 1917.     Mr. BLANTON. If the gentleman from Washington will go
                                                                          down to the international bridge at Brownsville, or if he will go
   The present law provides when these deportations can be had.           to the one at Laredo, or at El Paso, or any of those international
Tils proposed law says, regardless of the time that the alien             bridges-
may have resided in the United States, he should be deported.               Mr. JOHNSON of Washington.         I have been to several of
Now, there may be men who have resided here for 12, 15, 18, or             them.
20 years. He may be a married man, and may have three, four,                 Mr. BLANTON. And stand there, he will see the hordes that
or five children born in the United States, and he may be guilty          come across the bridges with no intention of ever going back,
of making a little home brew at home, yet some neighbor who                coming across to get jobs of Americans, and if lie would ride up
does not like his looks reports him, and he is convicted, and              and down the Rio Grande River for miles and see them coming
then is convicted, perhaps, a second time, for taking a drink             in in hordes, the gentleman would take some action to stop it.
with a friend. Under this provision of the hill it matters not             I am sorry that he is not going to be able to take much ad,li,o
whether that be ascertained 3, 5, or 10 years hence, or whether            along that line, but somebody else in his place ought to do it,
it has occurred 10 years ago, le can be apprehended and de-                and it ought to be stopped, and if we do not do it we are going
ported. I just want you to know what you are voting on to-day.             to have Americans starving to death in the Hoover adminis-
   Mr. BLANTON. Mr. Chairman, I rise in opposition to the pro              tration.
forma amendment. There is one good thing the bill does, and                  Mr. LAGUARDIA. And a bringing down of a standard of
that is that some Mexicans who have come into the United                   wages.
States unlawfully within the last five years may be deported                 Mr. BOX. Mr. Chairman, I move to strike out the last word.
if the department can get enough money to apprehend them.                    Mr. JOHNSON of Washington. W\ill the gentleman yield
But how about those who came in six, seven, or eight years ago?           to lmefor a moment?
There were thousands that came across the border unlawfully.                 Mr. BOX. Yes.
You can go up and down the Mexican border in Texas for 10                    Mr. JOHNSON of Washington. Mr. Chairman, I move that
and 15 miles and you will not see a house, and sometimes you              all debate upon this section and all amendments thereto close
will not see an immigration agent for 40 miles. They can wade             in five minutes.
across the river in lots of places. They come into Texas by                  The motion was agreed to.
hordes all of the time. If you take the Texas & Pacific Rail-                Mr. BOX. Mr. Chairman and gentlemen of the committee, you
road, that runs from Texarkana to El Paso, 900 miles, you                 have been discussing for a few minutes a matter with which I
will find that practically every section hand is a Mexican.               as one member of the committee have been wrestling for some
Take the hotels close to the border, and practically all the              years. I have not been inclined to inject that question into his
employees who work in the hotels are Mexicans. Take many                  debate because it is not the question at issue, but the situa-
of the stores, and the employees are Mexicans because they can            tion pointed out by gentlemen during this debate exists. It is a
get them for a stipend by the month. They are taking away                 very serious condition. It seriously embarrasses the whole pur-
jobs from American citizens. I am surprised that this com-                pose of the immigration law. There are conditions created by the
mittee would permit that to exist any longer.                             incoming of people from Mexico and other American countries
   I know that my friend Judge Box has been making a just                 which it was and is the purpose of the immigration laws to pre-
fight against this situation for years. He gets a little hand-            vent. The law is poorly enforced, mainly because the appro-
out now and then from the committee, but it does not help him             priations made for the border patrol are not adequate. There
much. Why could not the committee have put a provision in                 are great sections that under present provisions can not he ade-
here, and why could not the Appropriations Committee give the             quately guarded. There are many interested in the importation
department enough to apprehend the thousands of these Mexi-               of these poor peons. They are often imported and left in pitiful
cans who are in Texas now unlawfully and put them back                    condition. They do take the places of American workmen, who
across the Rio Grande and keep them there? Then you would                 are already put to it to find jobs; in fact, there are hundreds
not have the report coming in here from Austin, Tex., and many            of thousands, possibly millions, of Americans out of employ-
olher places that many Americans are going to be without jobs             ment now. They are raising a serious race question. During
and many Mexicans are to be without jobs until another cotton             this month a riot occurred at a point in Texas where a crowd
crop comes in.                                                            of white men who had been superseded by Mexicans, and who,
   Mr. SABATH. Will the gentleman yield?                                  after having notified the Mexicans to leave, fired into the camps
   Mr. BLANTON. I yield.                                                  of the Mexicans. This Congress ought to have statesmanship
   Mr. SABATH. Mexicans can come over here by the thou-                   enough in it to look over the past and see what grave problems
sands-they do not come illegally, they come because there is              have been injected into our national life by the importation for
no quota against them; they could come in by the-thousands or             labor purposes of great numbers of people essentially different




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fr imnus in character, lii so. al position, and otherwise. We are                     etrnment, or who advocate the assassination of public officials, or who
 ibrnt'('(lilig atllill(hr '  one ((f thos(e gireat race questions. We are            advocate or teach the unlawful destruction of property; person.s who are
degraldilln labor. We are           defeal ing all of the essential purposes of       members of or affiliated with any organization entertainng and teaching
tll    iiii(i"graliiin laws. These facls explain why I have worked                    disbelief in or opposition to organized government, or who advocate or
s( haird ill coinlillee ia'll before this Iloulle and everywhere                      tiach the duty, necessity, or propriety of the unlawful assaulting or
        I1 get Ihis stubject :talequiately (dealt with. Seeing this big
      *el,,                                                                           killing of any olficer or officers, either of specific individuals or of
<iuel-ti(n, while I have the honor to remtain one of you iand on                      oliiccrs generally, of the Government of the United States or of any
 liii c(inlmittee, I shall contiulll to press it on y.i for attention.                other organized government, because of his or thci: official character,
V'e i:iveilit'          opposition of thei clas.-es imenttioned.                      or who advocate or teach the unlawful destruction of property, prosli-
     l'Pri'tically every big beet-sugar maiituf:licturer in the country               tues, or persons coming into the United States for the purpose of prosti-
o|p,,'-         il, and every (Cliss A railroad except one in the I'nitedt            tution or for any other immoral purpose; persons who directly or indi-
Stlt,-        il;iii atrc'd h(lfore youIr cm'intllitlee arid oppollsetl the passage   rectly procure or attempt to procure or import prostitutes or persons for
otf this bill Ibecause thely want Iheir cheap subservient labor.                      the purpose of prostitution or for any other immoral purpose; persons
M;any otiher sel i Il atid powerful influences have arrtyed Ithem-                    whli are supported by or receive in whole or in part the proceeds of
solvei' .:;iainst tIh restriction of this immiigration.  As against                   prostitution ; persons hereinafter called contract laborers, who have been'
suIch influtences. a few ileni, thinking only of the public welfare,                  induclted, assisted, encouraged, or solicited to migrate to this country Ly
ar( noit strong        enoutlgh   to get aitioln evin when they have justice          offers or promuiscs of employment, whether such offers or promises a;.
aiin      pat riot ic ionsiderations of every kind on their side.                     true or false, or in consequence of agreements, oral, written, or printed,
        .Mr. \V. T. FIT'I'Z(;FtALD. Mr. C'hairman, will the gentleman                 express or implied, to perform labor in this country of any kind, skilled
                                                                                      or unskilled ; persons who have come in consequence of advertisemen!ts
        1Mr. I1(OX.   Yes.                                                            for laborers printed, published, or distributed in a foreign country;
        .Mr. \V. T'. ITIZ(A;ILAI). Anotlier feature I suggest               to the    persons likely to become a public charge (this clause excluding aliins
gi,tilille; is fromni imoral staiidloint. They are poisoning the                      on the ground likely to become a public charge has been shifted from
Antri ican (citiz il. Theiy are   io a 'iass that comie across the                    its position in section 2 of the immigration act of 1907 to its present
liin whiel are very ltunesirable fronl that standpoint alone.                         position in section 3 of this act in order to indicate the intentioniif
     Mr. It     )X.  'The glent nianll fron Ohio is correct. I had the                Congress that aliens shall be excluded upon said ground for economic as
privilege oI' making a state 'enlt covering several hours before                      well as other reasons and with a view to overcoming the decision of the
  liie 'milliiittee•. And\ I t'ried to place befori'e the colllnittee some            Supreme Court in Gegiow v. Uhl, 239 U. S. 3 (S. Rept. 352, 64th
o Iei' f'iits linat hliave coime to miy knowledge. They are badly                     Cong., 1st sess.)); persons who have been deported under any of the
iiilfeield will tuberculosis and othiler diseases; there are manly                    provisions of this act, and who may again seek admission within one
p:!ii,pes al o)ng tiein;
                       ll      there are many criminals; they work for                year from the d(ate of such deportation, unless prior to their reemt;brka-
lower wamges; they are oblje(tio table as inlnligrants when tried                     tion at a foreign port or their attempt to be admitted from foreign con-
by the lests applied to othler aliens. Of course I atin not talking                   tiguous territory the Secretary of Labor shall have consented to their
:iibout I-( I,etter cila ss of ieiop)le of our neigthboringO      countries,          reapplying for admission; persons whose tickets or passage is paid fur
l)it I am ittlking ItliSit tlie poor unfortunate beings who are                       with the money of another, or who are assisted by others to come, un-
lpverly tIricken it d dlrifl'tin ahiout tlie      lcountry hunting for work           less it is affirmatively and satisfactorily shown that such persons do not
atl liy price lIile oflten they are induced to come here by, our                      belong to one of the foregoing excluded classes; persons whose ticket
 wliw pIieple, \lwo employ then for a while and then leave them                       or passage is paid for by any corporation, association, society, munici-
to (Iril't frln  one place to another, the victimns of all kinds of                   pality, or foreign government, either directly or indirectly, stowwaays,
stitferiiig nd mlist re;ittnent. We will correct this evil solme time,                except that any such stowaway, if otherwise admissible, may 'be ad-
pet'rhaps after it is too late. ithough I hope we will deal with it                   mitted in the discretion of the Secretary of Labor.        (See rule 3, sub-
in    (inet, to remnedy tlie situation before it becomes much worse                   division 0.)
tliin il inow is.
                                                                                      In addition to the aliens who are by law now excluded from
   ''lThe C1 IAIRMAN. The time of the gentleman from Texas
lhias texpirted. All tlinme ltas expired, and the Clerk will read.
                                                                                   admission into the United States, the following persons shall
   Tlie ('Clerk read as follows:                                                   also be excluded from admission thereto, to wit:
                                                                                      All aliens over 16 years of age, physically capable of reading, who
   i,:1'. 7. If ily aliein Is liaill' to dleportation upon any grounld  ispecified
                                                                                   can not read thie English language, or some other language or dialect,
in ;i(ny iiir;igr:iaph of this nat. he shaill lie deported whether or not lie is
                                                                                      including Hebrew or Yiddish (see rule :3, subdivision N) : Provided, That
liilh,  toi dl'portation upon il ground specified in any other paragraph of
                                                                                      atny admissible alien, or any alien heretofore or hereafter legally ad-
 'iis act or in any oiliher law. and any alien who is liable to deportation
                                                                                      initted, or tny citizen of the United States, may bring in or send for
  tIii| a1giroi1nd spleciied in any law o)ther tlhn this act shall le deported
                                                                                      his fattlher or grandfather over 55 years of ago, his wife, his mother,
wh.lthelr or not he is li:ilble to deportation upon a ground specificd in
                                                                                      his grandmother, or his unmarried or widowed ctaughter, if otherwise ad-
this     act.
                                                                                      missible, whether such relative can read or not; and such relative shall
   Mr. FRlEE. Mr. ('hairnmn, I move to strike out the last                            be permitted to enter.
word.      lMr. llhairman and members of tile committee, a great
deatt hals b,een said in tlie last few inouieits about the situation                    In addition the Mexican is required to pay a head tax of $8.
on tlie Mexican lbrder. Since we have adopted the quota plan                          I believe we could keep out most Mexicans to which objection
oli inimigratioin we have watched the borders on the Pacific                          has been made to-day if we simply enforced the laws above
(iiast antil lontle Atlantic cltost very thoroughly, and it is. indeed,               mentioned. [Applause.]
ditlicuilt for lihe aliens to get through those borders, but we                        Mr. EDWARDS. Will the gentleman yield?
Ihale not looked after thle borders 1t the north or south. It is not                    Mr. FREE.       I will.
tle fiiull of tlie Depairtmenit of Labor. I think we have as fine                        Mr. EDWARDS. Would the passage of the Box Act accom-
a lot of nmen aloniig those borders as we could possibly get, but                     plish what thle gentleman has in mind?
we hav'e nt enought, nor do we provide enough money to enable                            Mr. FREE. No sir. Unless we provide the money to enforce
tlie ldepartentit to protect those borders. The question of Mexi-                     it. The reason I took my feet to-day is this. We have a feeling
c'an immiigration has been mentioned here to-day. I would like                        here that by passing a law you will stop immigration. Unless
to see hle laws we have at the present time enforced. Mexican                         you back it up with the money for enforcement and the pro-
inluigr'ants are stubject to the following provisions to-day:                         tection of your borders it will not mean a thing. We are not
  That tli following classes of allens slall be excluded from admission
                                                                                      enforcing the laws we have to-day on the northern and southern
                                                                                      borders of our country.
into the United States: All idiots, imbeciles. feeble-minded persons, epi-
leptics, insane persolns; persons who have had one or more attacks of                   Mr. EDWARDS. Why not? We have the money.
insanity at any time previously: persons of constitutional psychopathic                 iAr. FREE. The committee has been criticised because we
Inferiority;      persons    with   chronic   alcoholism;   paupers;   professional   have not done anything in reference to this situation. We have
bicgars; vagrants; personls allicted with tuberculosis in any form or                 been appealing to this House for eight years to my personal
with a loathsome or dangerous contagious disease; persons not compre-                 knowledge for money to protect the borders. We had an in-
hended within any of the foregoing excluded classes who are found to                  crease of a million dollars in the last Congress, but why pass
  Iband are certilied by the examining surgeon as being mentally or                   another law when we do not enforce those we already have on
physically defective, such physi-'al defect being of a nature which may               our statute books?
nffec't the ability of such alien to earn a living; persons who have been               Mr. EDWARDS. How much will it take?
convicted of or admit having committed a felony or other crime or                       Mr. FREE.       Several million dollars in addition to what we
misdemleanor involving iloiral turpitude; polygamists, or persons who                 have at the present time.
practice polygamy or believe in or advocate the practice of polygamy;                   Mr. EDWARDS.              Why not put it   up to the Appropriations
anarchists, or ipersons who believe in or advocate the overthrow by                   Committee?
force or violence of the (overnment of the United States, or of all                     Mr. NEWTON.            Will the gentleman yield?
forms of law, or who disbelieve in or are opposed to organized gov-                     Mr. FREE.       I will.




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  Mr. NEWTON. What the gentleman has said about the                           Mr. BLACK of New York.          Mr. Chairman, I move to strike
borders is also true of getting rid of undesirables-we ought to out the last word.
have more money to deport them.                                   The CHAIRMAN.                     The gentleman from New York is rteog-
  Mr. FREE. Absolutely. We have investigated, and there are nized.
over 200,000 people in this country who should be deported.                   Mr. BLACK of New York. Mr. Chairman, I want to make a
We only deport a few and from the places where they can be                  very friendly siggi•stion to the men from the border States,
easily found.                                                               which I hoipe will be taken in good part. For about six years
   Mr. HUDSON. Will the gentleman yield?                                    you have been passing legislation to regulate conditions in New
   Mr. FREE. I will.                                                        York City, telling us how to raise a family. what to( eai and
   Mr. HUDSON. Does the gentleman not recognize that if we                  what to drink, and when to eat with a knife and when1 oeat
can have a coordination of the enforcement departments that                 with a fo,rk. In the meantime you have been neglecting your
have to do with enforcement laws we might have sufficient                   own doorsteps. I say, keep you hi:nds off N,ew York Ifr a
money to enforce those laws, but as long as we have a system                while an(d see that you enact a little good. wholesome int i     ln:
thlt puts four different groups of enforcement officers on the              legislation for the bwnefit of your own constituents. [Applanue.
borders, each one to do a litle particular thing while allowing               The CHAIRMAN. The Clerk will read.
the violation of any of the other laws, we will have the very                 The Clerk resumed and completed the reading of thie hill.
conditions suggested.                                                         The CHAIRMAN. The question now is on ngreeing to tlihe
   Mr. FREE. That would help a great deal. I want to say                    substitute to the Senate bill as amended.
concerning the men along the border, that they have been                      The committee substitute for the Senate bill was agreed to.
cooperating to a remarkable degree, and they are a fine lot of                The CHAIRMAN. Under the rule, the cotmniittee anuto;mati-
men, and they are doing the job as best they can; but we need               cally rises and reports the bill to the -louse.
more of them and more authority to cooperate.                                 Accordingly the committee rose; and Mr. TtI.sON. as Speaker
   Mr. HUDSON. I am not complaining about the inefficiency                  pro teoiipore. having assumed tihe chair, Mr. BACON, Chairman
of these gentlemen. I am simply complaining of the fact that                of the Committee of the Whole HI-ouse on thel state of tle Union,
from the deviousness of the law their activities are made in-               having under consideration the bill (8. 5094) making it a felony
efficient. The law makes them inefficient. A man in one de-                 with penalty for certain aliens to enter the United States of
partment of the service has not a right to arrest a man for                 Anmeria under certain conditions in violation of law. reported
doing something ihat does not come within his jurisdiction.                 that that committee had directed him to report the same back
The whole thing is wrong in theory and in practice.                         to the House with an aimondinent, willt the recommendation tlat
   Mr. FREE. I agree with the gentleman.                                    the amendment le agreed to and that the bill as amended do
   Mr. SABATI.       Mr. Chairman, it is believed from what we              pass
hear that we receive a tremendous immigration from Mexico.                     The SPEAKER pro tempore. Under the rule, the previous
I have been asked by a number of Members how it is that our                 question is ordered, and the question is on agreeing to 1he
present restriction of immigration admits only 165,000, and, not-           amendment.
withstanding that, over 300,000 arrived last year? There is no                 The amendment was agreed to.
restriction, no quota, on Mexico, Canada, Central and South                    Mr. JOHNSON of Washington. Mr. Speaker, I ask that the
America, Cuba, and the West Indies, and for that reason they                title be amended.
can come in in as large numbers as they desire. But they should                The SPEAKER pro tempore. That can be done after the
be, and they are, subject to the literacy test and to the provi-            passage of the bill. The question is on the third reading of the
sions of the law of 1917. I agree that if the law is rigidly                Senate bill.
enforced on the Mexican border hundreds of thousands could                     The Senate bill was ordered to le read a third time, and was
not have qualified or have been admitted.                                   read the third time.
   But do not lose sight of this fact: What applies to Mexico in               Mr. LAGUARDIA. Mr. Speaker, I offer a motion to recommit.
a great measure applies also to Canada. Why, last year alone                   The SPEAKER pro tempore. Is the gentleman opposed to
we received from Canada-though our total immigration from                   the bill?
entire Europe was but 165,000-81,506 of which a record is made.                Mr. LAGUARDIA. I am.
 So it is not only immigration from Mexico, but also from Canada,              The SPEAKER pro tempore. The gentleman fron? New York
because what the gentleman from Massachusetts said a moment                 offers a motion to recommit, which the Clerk will report.
ago is true; there are thousands of our own people unemployed                  The Clerk read as follows:
in Massachusetts, and why should we permit that tremendous-                    Mr. LAGUARDIA moves to recommit the bill to the Commlllne on Immi-
number to come in here without the quota from Canada and                    gration with instructions to report back the bill forthwith with the
Mexico?                                                                     following amendments:
   I introduced, three times, and advocated unsuccessfully, a bill             Page 3, line 20, after the word "offense," insert " Involving moral
placing Mexico, South and Central America, Canada, Cuba, and                turpitude."
the West Indies under quota as it is applicable to European im-                On page 4, ;ine 3, after the word "offense," insert " involving moral
migration. We need a few more men on our border line. I                     turpitude."
know the chairman of the Committee on Immigration and Natu-                     Mr. JOHNSON of Washington.             Mr. Speaker, I move the
ralization has tried to secure larger appropriations, and he did.           previous question on the motion to recommit.
I have advocated the proposition of the gentleman from Michi-                   The previous question was ordered.
gan [Mr. HUDSON], who spoke a little while ago on the centrali-                The SPEAKER pro tempore. The question is on agreeing to
zation of our forces and activities along the border line. I do not
                                                                            the motion of the gentleman from New York to recommit the
know why we should have a revenue patrol, and an immigration                bill with instructions.
patrol, and a prohibition patrol on the border, one not cooperat-              The question was taken, and the motion to reconnnit was
ing with the other. They can be merged into one, and then we                rejected.
would have efficient control, and that would control not only                  The SPEAKER pro tempore. The question is on the passage
immigration but also prohibition and revenue violations and                 of the bill.
other violations that are going on. I hope, therefore, that the                The question was taken, and the bill was passed.
chairman will be strong enough to convince the Treasury Depart-                 On motion of Mr. JOHNSON of Washington, a motion to recon-
ment and the Department of Labor and other officials, who have              sider the vote by which the bill was passed was laid on the
the power, to bring about unification that it be done.                      table.
   Mr. JOHNSON of Washington. Mr. Chairman, I move that                       The SPEAKER pro tempore. Without objection, the title
all debate on this section be now closed.                                   will be amended.
   The CHAIRMAN. The gentleman from Washington moves                          There was no objection.
that all debate on this section be now closed. The question is                Mr. SABATH. Mr. Speaker, I ask unanimous consent to
on agreeing to that motion.                                                 extend and revise the remarks I have made from time to tim(e.
   The motion was agreed to.                                                  The SPEAKER pro tempore. The Chair is informed that all
   The CHAIRMAN. The Clerk will read.                                       Members have that right for six days.
   The Clerk read as follows:
                                                                                          DRY VALLEY ROAD--CONFERENCE         REPORT
   SEc. 8. Upon the final conviction of any alien of any offense in any
court of record of the United States or of any State or Territory it           Mr. WAINWRIGHT.           Mr. Speaker, I present a conference
shall be the duty of the clerk of the court to notify the Secretary of      report on the bill (S. 3881) to provide for the paving of the
Labor, giving the name of the alien convicted, .the nature of the offense   Government road, known as the Dry Valley Road, commencing
of which convicted, the sentence imposed, and, if imprisoned, the place     where said road leaves the La Fayette Road, in the city of Ross-
of imprisonment, and, if known, the place of birth of such alien, his       ville, Ga., and extending to Chickamaugua and Chattanooga
nationality, and the time when and place where he entered the United        National Military Park, constituting an approach road to said
States.                                                                     park, for printing under the rule.




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                           Exhibit H


       Senate Report No. 1456
    Making it a Felony with Penalty
     for Certain Aliens to Enter the
        United States under Certain
     Conditions in Violation of Law
                        Jan. 17 1929




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Case
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                         Calendar No.1484
          70tu Conoukss I                      SENATE                          j-    RifPOHT
                  Session'^ j"       ■                     •                  ( No. 1456




          MAKING IT A FELONY WITH PENALTY FOR CERTAIN ALIENS.TO
            ENTER THE ONITBD S,TATES OP AMERICA UNDER CERTAIN
            CONDITIONS IN VIOLATION OF LAW


                                                        1—
                Janoary 17 (calendai'day, Janoahy 18), 1929.—Ordered to be printed



          Mr. Blbasb, from the Committee on Immigration,Submitted the
                                         ./    following
                                            REPOfeT
                                         [To accompany S. 60941
           \
                                                                                      .




           .The Committee on Irnmigratipn, to whiph was referred the bill
          (S. 5094) fnaldng it a felony witK penalty for certain aliens to enter
          the United States of Ainerica under certain conditions in yiolation of
          law, having considered the same, rej^ort favorably thereon with the
          recommendation that it do pass with the following amendment:
         • Page 2, line 10, after the word hereunder insert the words ,the
          clerk shall notify the mai-shal who has the prisoner in custody and hef^
             A memorandum from the Labor Department is made a part of this
          report and reads as follows:
            Except ai> provided In the act relating to'the excluBfon and expulsion from the
          United. Static of tlioi^o who are membei^~of the anarohistlcrana eimUaf claraw
          approved October UK 1910, as amended, there Is no provislon of law under which
          a penalty, other ihatj repeated deportation, can be Imppsed on aliens; who have
          been expelled from the United States and who teenier the cbiihtry unlawfully.
          It frequently happehs that aliens of the erlminal and other clasaes who are deporiw
          under the genciai Imnilgratjoh law reentbr the country unlawfully. As a matter
          of fact, in >soine instances sUch aliens have beeti deported foUr or five timee, only
          to return a's soon as possible to IKe United States In an unlawful manner. .
               The proposed legislation attached hereto simply provldW that any.alien who
          has been grrestcd and deported iiiidcr the provisions of the geheral.mimifp^tion
          law of 1917» or the so-(»alled quota limit act of 1924, and who shall thereafter gain
          admlaslori to the United States exqopt through lawful channels shall be deemed
          guilty of a,felony and upon conviction thereof shall be punished by a fine not to
          exceed $L000, or by InqSrlsonihent for a term of not more thah two yt^rs, to-be
          followed oy♦deportation and under the usual procedure. The act rel^Ve to
          anarchists and other radicals above referred to iimlts punishment toimprisonment
          for a term of not more than hve years, but as the cases arising under the two laws
          mentioned vary greatly      to their seriousness, It is thought there ought to be
          discretion as to whether a line or imprisonment should be Imposed,, and for the
          same reasqn a niaximuin penalty only Is suggested
            It is believed that such a statute would be of material aid In enforoing our
          immigration laws.




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          2'      PENALTY FOR ALIENS TO ENTER IN VIOLATION OF LAW

            A Jotter from the Secretary of Labor is also triade a part, of this
          report and roads as follows:
                                                             DErARTMBNT OP LABOH,
                                                              Office of the SKCHETAay,
                                                                 WaMngidtit January  i9B9.
          Hon. Hiram \V. Johnbon,                       -
               United HiiiieH Serxatei Wanhiixgion^ J?* C*                                .   .     •
             My Deau.Senator: In resiwnsc to your letter of December 26, 1028, re-
          queHtluK t iki vteivBof this department respeciihsi: S. 6004^ a bill by Senator Blease,
          **maklpg it a felony with penalty for certaiti aliens to enter the United Statca of
          America under corta4n condlf lons Iq violation of law,'* I have to state that in our
          opinion the enactment of the law proposed would be of material aHBisiance In the
          administration of existing linmlgratiou lawB. • .
            It is academic that no prohibitlye law can eUccessfuHy be enforced Without a
          deterrent fMynalty. The fact ilmt imHsiblo deportation is not a suflicicnt deterrent
          to (liscourage tho^^ who seek to guiri entry through otiier than regular channels
          is lieinonstrated by ilie fref|ucncy with whlth this department Is compelled to
          resort, to deportation proceedings for the              alien' On several succeeding oc
          casions.   Unfortunatciy» however, no statistics ns to the number of instances In
          wiiieh rieportatioiiB hnvt» been repeated have been kept. Many of the alfetis
          who are.rccjuired to Igj deported enter as seamen, and it goes without saying that
          dcjiortalldn as passengers almard regular pasfiengor steamers is no penalty In
          this class of eases. In any event, an alien deported at Government exi>enso under
          the present pmccdure Is .not subject to any more difficulties or emba'rraasmentv.
          than Ix'.fore the first successful atlenipt to enter the country unlawfully.
            Aside from the sexually Immoral and members of the anarchistic and.similar
          caws iiierh is nothing in the Immigration laws which penalisjes aliens for fecnierT
          Ing the United States unlawfully after they have been deported at cdndlserablo
         ex}>on8e to the Government. The enactment of a law imposing a penalty Is
          recommended. .
                 Sincerely yours,
                                                              —               Jambs J. Davis*

                                                    o




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                       Exhibit I

        SR 5094 Jan 23 1929




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  2092                                                 CONGRESSIONAL RECORD-SENATE                                                                            JANUARY 23
      Mr. IIEEI)         of Pennsylvania.             Mr. President, may I ask the                      shall be necessary for his or her apprehension and being taken into
 calniidar iulnlibers of the bills?                                                                     custody under warrant of the Secretary of Labor as heretofore provided.
      Mr.       I-;LAASE.       They are ('aledar                      Nos. 1-S:I and           1484.     The amendment was agreed to.
 There is a ulnIlnimolus report froii the Comlnittee on Immigra-                                           The bill was reported to the Senate as amended, and the
 tiI, and thlie hills are indorsed by the Secretary of Labor and                                        ameldmennt was conu•rrled in.
 1lhe  Iiiigration (Comnissionier. There are going to be some                                              The bill was ordered to be engrossed for a third reading,
 matnlers :ilong Ihis line taken up in the House on Friday. I                                           read the third time, and passed.
 had a talk with hliairmnan JosIINSON last night and he asked me
                                                                                                                    TIMII.ERLA.NDS   IN   YOSEMITE   NATIONAL PARK
 to get the mnici~sure's over to the louse before then if I possibly
 coul.                                                                                                    Mr. WALSH of Montana. Mr. President, there is pending
    Mr. ItElEII of Pennsylvania. Will the Senator be willing to                                         before the Congress, now in the hands of the conference com-
 withhold his request for half an hour to enable us to read                                             mittee of the two Houses, a bill which empowers the Secretary
 I he bills?                                                                                            of the Interior to condemn any and all lands held in private
    Mr. BILEASE. That will be agreeable to me. The Senator                                              ownership in national parks. It has been represented that
 will itnd the reports with the bills.                                                                  there are certain timberlands in the Yosemite National Park
    Mr. IHEIIASI,E subsequently said: Mr. I'resident, the Senator                                       which are likely to be logged out during the ensuing year.
 from P'ennsllylvania IMr. Ri-DJ does not now object to the con-                                        That is offered as the reason why urgency in that matter is
 sideration land passage of the two bills which I asked to have                                         necessary.
 consildered a few lmoentsii     ago. I now ask unanimous consent                                         I am this morning in receipt of the following telegram:
 for the ci,.i<idtira: ion of Senate bill .5093.                                                                                          Los ANGELES,   CALIF., January   22, 1939.
    The pI';ESII)1 N(t OFFICERl       (Mr. JoIrNsoN in the chair).                                      Hon. THOMAs J. WALSH,
 Is there objection. to the present conmsideralion of the bill re-                                          Unitcd States Senate, Washington, D. 0.:
 ferred to by thlie Senator from South Caroliina?                                                         Ileferring to a dispatch from Washington in the Los Angeles Times
    There I: inig no objection, thie Snialte, as in Committee of the                                    of to-day, stating that the lumber company owning lands in Yosemite
 Whole, pr'oceeaded to consider hle bill (S. 5093) to authorize the                                     Park plans to begin operations within the park on April 1, next, I beg
 issllllcei of cerliliclatcs of admission to aliens, and for other                                      to advise you on behalf of Arthur II. Fleming and myself, who control
 purposes, which was read as follows:                                                                   the company referred to, Yosemite Lumber Co., that that company
   lie iit enrtCd, r1e., That an allen who has been lawfully admitted
                                                                                                        does not plan or intend to operate within the park at any time this
 to the Uiiitd States for pernutnent residence and who has continued
                                                                                                        year, and will not do so. We have so advised Senator SnORTRTIDGf.
to residh; Iherein .lsnce  Ilch admission, shall upon his application to                                                                                       ROBERT C. GILLIS.
lhi       ('Coiiliissioinr (ilieerail    of Ihnmigration,        in    a manner     to be by regu-        I ask that the telegram be referred to the committee of con-
lation plIrsribd, with the applroval of tie Secretary of Labor, be                                      ference on the bill to which I have referred, the Interior De-
filurlisli'l withi a celrtificate mnlde fromi the official record of such                               partment appropriation bill.
adiliisslini.  Such certilicate shall be signled by the              Gen-     Colnmissioner               The VICE PRESIDENT. Without objection, it will be so
eral of Ininigration           and      shall   containi   the        following   infornation    con-   referred.
ciriling sullll alien   : Full nmie umillr which aldlnittel; country of                                                 FIRST DEFICIENCY APPPROPRIATIONS
  hirtlh; dalte of birthi; nationality; color of eyes; port at which ad-
 mitted; iiiname of steaniiship, if aniy, and date of admission. Such
                                                                                                          The Senate, as in Committee of the Whole, resumed the con-
                                                                                                        sideration of the bill (H. R. 15848) making appropriations to
 errlificate sh:All also eonitain the full name by which the alien is then
                                                                                                        supply urgent deficiencies in certain appropriations for the fiscal
 knowni, his sig,natnur, and his ilddress. A photographli of thie alien shall
                                                                                                        year ending June 30, 1929, and prior fiscal years, to provide
 lhe securely attaiched to the certillcate, which shall Iear an impression
                                                                                                        urgent supplemental appropriations for the fiscal year ending
of the seail of the lDeparltment of Labor.
                                                                                                        June 30, 1929, and for other purposes.
    SEc. 2. Sulich eeirtilicate shall lie prima face evidence of the lawful
                                                                                                          The PRESIDING OFFICER (Mr. JOHNSON in the chair).
amliissiiio   of silch alien. A fee of $3 shall be paid by such alien to
                                                                                                        The question is on the motion of the Senator from Tennessee
tIhe Coimmissio'nr      hlGiteral of Immigration for each suct h certificate.
                                                                                                        [Mr. McKELLAIt] to suspend paragraph 3 of Rule XVI for the
The Inlone.vs ;o receiveil by the CommI•ssoner General of Inmmigration
                                                                                                        purpose of proposing the amendment relating to tax refunds,
sli,ill hie paidl ovelr to the disblursing clerk of the Department of Labor,
                                                                                                        whicth has heretofore been read.
who slihall      lnThicipon deposit tllheil ill the Treasury of the United States,
                                                                                                          Mr. McKELLAR. Mr. President, on yesterday, when the
rendiiring        an accoulnt  therefor quarterly to the General Accounting
                                                                                                        Senate took a recess, we were discussing the question of tax
oillhe', and the said disburrsing clerk shall be held responsible under                                 refunds. I want to call the attention of Senators this morning
his      tiboidfor sucl foe,s.
                                                                                                        to this situation: During the last eight years the Treasury
    sEc. :. Tlil,i act shall take elTect July 1, 1029.
                                                                                                        Department, under its back-tax system, has collected $3,900,-
  The bill was reported to the Senate without amendment, or-                                            000,000, in round figures. The department has engaged in that
dered to lie elngrossed for a third reading, read the third time,                                       work an army of back-tax attorneys and agents. How much
and lp:tsseld.                                                                                          that army of tax attorneys and agents cost the Government I
     Mr. BLEASE. I ask unanim•ous consent for the present                                               do not know, but I think that during the time I have stated it
consideration of Senate bill No. 5094.                                                                  may be safely estimated that the cost to the Government for
    There bling10   no objection, the Senate, as in Committee of                                        that service has been not less than half a billion dollars. Fre-
 Slite Whiole. pro'ceeded to consider the bill (S. 5004) making it                                      quently heretofore, when this subject has been brought up, the
a fel,ony willh penalty for certain aliens to enter the United                                          Internal Revenue Bureau has replied that it is true the service
Stlltes of Almerica under certain conditions in violation of law,                                       las cost a great deal of money, but that the refunds amounted
which had been reliortedi by the Committee on Immigration                                               to only about one-fourth, or 25 per cent, of the money actually
wit Ih an alnonll nment, in section 2, page 2, line 9, after the word
                                                                                                        collected.
" hereundellr," tli insert the words      thle clerk slnhall notify the                                    Now, I wish to call the attention of the Senate to the fact
mnarshal who has the prisoner in custody and he," so as to                                              that in connection with the collection of Federal back taxes no
                                                                                                        citizen knows when he is going to finish paying such back taxes.
make the bill read:
                                                                                                        If he sells a piece of property he has to figure in making the
   Be it cnatchd, etc., That any allien who has been arrested and de-                                   contract the probable amount of back Federal taxes that may
ported in pursluance of the provisions of the immigration act of Feb-                                   be assessed against the transaction. If he transfers stock lie
ruary 5, 1917, or the immigration act of 1924. and who thereafter shall                                 has got to make similar careful calculations. This puts the
enter the United States in violation of law shall be deemed guilty of a                                 average taxpayer in an embarrassing and oftentimes in a haz-
felony, and upon conviction thereof shall                        be punished by a fine not              ardous situation. He is constantly under the menace of a re
to exceed $1,000 or by imprisonnent for a                        term of not more than two              or back assessment. It is unfair and unjust to the plain, every-
years; and upon paynlent of the said fine                    or at the expiration of the                day, average taxpayer and business man. Frequently that sit-
term of said sentence shall be taken into                     custody upon the warrant                  uation interferes with the free sale of stocks or other personal
of the Secretary of Labor and deported in                    the manner provided in the                 property, and also of real estate, because the taxes are at times
immnigration act of February 5. 1917.                                                                   quite excessive. In other words, under our present system of
   SEC. 2. That upon the conviction of any person or persons under the                                  the collection of back Federal taxes no man knows when his is
provisions of the above section, the clerk of the said court shall                                      going to get through paying the Federal reassessments.
prollptly notify the Secretary of Labor thereof, and of the terms, place,                                 A Federal agent goes to Richmond, for instance, and decides
and date of the expiration of the said sentence; and upon the payment                                   who, in his judgment, should pay additional back taxes. No
of any tine iilmosed inl litu of imprisonment hereunder, the clerk shall                                one ever knows when lie has finished paying. So the question
notify the        nlalrslal   who       has the     prisoner in          custody    and he      shall   of back Federal taxes has come to be one of the serious ques-
dletain      thli prisoner for a period not to exceed five days if so much                              tions in business in this country.       If it were necessary, if good




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                     Exhibit J

  House Report No. 2397
Deportation of Aliens Feb. 6
           1929




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        70TH CONGRESS HOUSE OF REPRESENTATIVES                           REPORT
           2d Se&sin f                                                 No. 2397




                           DEPORTATION OF ALIENS

        FEBRUARY 6, 1929.-Committed to the Committee of the Whole House on the
                       state of the Union and ordered to be printed


        Mr. JOHNSON of Washington, from the Committee on Immigration
                  and Naturalization, submitted the following
                                    REPORT
                               [To accompany H. R. 168501

           The Committee on Immigration and Naturalization, to whom was
        referred the bill (H. R. 16850) to provide for- the deportation of cer-
        tain aliens, and for the punishment of the unlawful entry of certain
        aliens, having had the same under consideration, reports it back to
        the House without amendment and recommends that the bill do pass.
           The immigration acts of 1917 and 1924, which now appear to rep-
        resent the settled policy of this Government, have made it possible;
        to a great extent at least, to limit the entry into this country of unde-
        sirable and dangerous aliens. This bill will materially assist the
        immigration authorities in further preventing the entry of such
        aliens, and provides methods whereby those already unlawfully in
        the United States and those who may hereafter unlawfully enter or
        seek to enter the country may be deported.
           There should be no objection to the deportation of aliens who con-
        stitute a menace to or an unjust burden upon our Government.
           The principal reason for deporting undesirable aliens is- to pro-
        mote the maintenance of law and order in our country and to afford
        protection and opportunities for development to all the people regid-
        ing in our country, aliens and citizens alike. No class of people
        suffers more from the actions of undesirable and law-breaking aliens
        than does that great body of worthy and deserving aliens residing in
        our midst who, in good faith are contributing to the welfare of the
        country, and are in large numbers attempting to become citizens of
        the United States. Unworthy conduct and agrant disregard of the
        laws of our country on the part of a very small percentage of the
        aliens residing in the United States unfortunately, but certainly tend
        to create a prejudice in the public mind against all aliens. here-
        fore the deportation of that small percentage of undesirable aliens




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        2                         DEPORTATION OP ALIEN1S

        will redound to the benefit of the worthy and deserving aliens in
        the country to an equal, if not greater, degreee than to thiat of our
        own citizens.
           The hearings in the Sixty-ninthl Congress oin the subject matter
        contained in the 1ill were exhaustive. Much important. testimIony
        was developed. Thhe necessity for revision and strengthening of the
        deportation clause of the immilizigration act of 1917 was fully shown.
           Printed copies of these hearings tire available for the use of the
        memnber's.
                               IN ADDITION TO OTHER LAWS
           The provisions of the bill are in addition to other acts and pro-
        visions of law relating to deportation. The following laws hax'e not
        been repealed:
            (1) Sections 18, 19, and 20-of the immigration act of 1917.
           (2) The act entitled "An act to exclude and expel from the Ulnited
        States aliens who are mweminbers of the anarchistic and similar (lasses,)"J
        apl)roved October 16, 1918, as amended by an act to amend sliuh act,
        al)l)roved June 5, 1920.
           (3) The inIligration act of 1924, section 14 of which. provi(les; for
        the deportation, without time linit, of aliens excluded by that act,
        or reftaining in the United States longer than permitte(l ly law or
        regulations.
           (4) TFhe act entitled "Ali act to deport certain unclesiral)le aliens
        and to deny readmission to those reportedd," approved May 10, 1920
        (relating to war-timle offenses, etc.).
           (5) Section 2 of the act entitled "Atn act to prohibit the iinporta-
        tioli and the use of opium for other than medici'ial purposess"
        approved February 9, 1909, as amended.
           (6) The act-of December 26, 1920, entitled "Cil act to provide for
        the treatment in hospitals of diseased alien seamen."
           (7) Laws relating to the imniigi'ation, exclusion, and deportation
        of Chinese persons or persons of Chiniese descent.
                                      SCOPE OF BILL
            Section 1 of the bill alds seven classes of aliens who m-av 1)e (le-
        ported, but only if in each case the Secretary of Labor after hoeaning
        finde1s, that such aliens are undesirable residents of the United States.
        This section of the, bill is explained in retaill as follows:
            VIOLATION OF NARCOTIC LAWS AND WHITE SLAVE TRAFFIC ACT
           (1) An alien who hereafter violates or conspires to violate the whito slave
        traffic act (U. S. a. Title 18, Sees. 397-404), or any law amnendatory of, sup-
        plemelntaUy to, or in substittition for, such act.
           (2) An alien who hereafter violates or conspires to violate any, statute of the
        United States taxing, prohibiting, or regulating the inanufactrc, production,
        compounding, possession, use, sale, exchange, dispensing, giving awayt, trails-
        portation, importation, or exportati-on of opium, coca leaves, or any sult, (le-
        rivative, or preparation of opium or coca leaves.
           These two classes of aliens are place(1 in the saine category as alien
        prostitutes, so far as deportation is concerned, are placedl by the
        existing law.




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                                   DEPORTATION OF ALIENS                                   3
           Where, it can be established in any manner, by imi migration officials
        or otherwise, that an alien has violated or conspired' to violate these
        particular laws he may be immediately taken juto custody and
        deported without awaiting his conviction for such offense, just as
        under existing law the immigration authorities may summarily arrest
        and deport aliens found practicing prostitution or connected with
        the business of prostitution. An alien may still be deported under
        the provisions of section 2 of the act of February 9, 1909, as amended,
        relating to the importation of narcotics, although this paragraph
        furnishes a supplementary basis for deportation and permits deporta-
        tion for a violation of that act, irrespective of a conviction of a
        violation. The primary purpose of the paragraph, however, is to
        catch the large number of alien violators of the so-called Harrison
        Antinarcotic Act of December 17, 1914, as amended, While the
        Harrison Act is a taxing act, it nevertheless prohibits and regulates
        the narcotic drug traffic as an incidental and necessary means of
        enforcing the taxes imposed.
           At the present time no alien violators of the antinarcotic laws are
        being deported except those who have been convicted Under section
        2 of 'the act of February 9, 1909, as amended by the act of May 20,
        1922, which requires knowledge or fraudulent intent. In many
        cases violators of the Harrison Act are given nominal or short sen-
        tences, and in the case of such violators who are given sentences of
        one year or more, the Solicitor of- the Labor Department has held
        that such offenses do not involve moral turpitude. The question
        has not been settled by the courts for the reason that, in view of the
        solicitor's holding, the department has not attempted to deport in
        such cases.
                CONCEALING OR HARBORING ALIEN LIABLE TO DEPORTATION
           (3) An alien who hereafter willfully conceals or harbors, attempts to conceal
        or harbor, or aids, assists, or abets any other person to conceal or harbor, any
        alien liable to deportation.
          The desirability of providing for the deportation of this class of
        aliens needs no comment.
           (4) An alien who hereafter willfully aids or assists in any way any alien unlaw-
        fully to enter the United States.
           This provision is in addition to the penalties provided by section
        8 of the immigration act of 1917. Aliens in this country who seek to
        aid6 others to enter in violation of our laws should not be permitted
        to remain in the United States.
                           SURREPTITIOUS OR UNLAWFUL ENTRY
           (5) An alien who hereafter enters the United States at any time or place
        other than as designated by immigration officials, or eludes examination or
        inspection b)y immigration officials, or obtains entry to the United States bv a
        willfully false or misleading representation or the willful concealment of a material
        fact.
          This class of aliens is partly taken care o-f under the existing law
        which provides for the deportation of the following class:
          At any time within three years after entry any alien who shall have entered
        the United States by water at any time or place other than as designated by
        immigration officials, or by land at any place other than one designated as a port.




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        4                           DEPORTATION OF ALIENS
        of entry for aliens by the Colmimissioner General of Immigration, or at any time
        not designated by immiigration officials, or who enters without inspection.
           No good reatsonl is seen for p)eil)etuatinig the distinction niaci in
        existing law between entering by water olr by land. The suggested
        amendment is broad enough to cover entry in any manner. linmi-
        grntion officials, of course, will designate times and places only as
        authorized by their superior officers. It is deemed desirable to state
        afl4ratli,;fvely ,the additional grounds set forth inl this paragraph which
        Call 110W be covered only by resortinig to the plirase 'who enters
        without inISp)ectioll.'
                                      CONVICTION OF CRIME
          (6) An alieln 'ho is convicted of any offense (comlmllitted after thle enact-
       nment of this aet and ait anv tnille after entry) for which lIe is sentencedi to im-
       prisonieint for at termi of onie yearl or mnore, and who is thereafter convicted of
                     ill other offense (comlmnitted after the enactment of this act and
       the sa1lle or ay
       at any time after entry) for which lhe is sentenced to imprisonment for at term
       of one year or inore.
            The existing law provides:
          Alny alienl who i8 h ereafter senttelleed to imiprisonment for a term of o-)ne year or
       More b)(ecaulse of conviction in this counlltrv of a crime involving moral trli-pitude
       Conlinitted within five years after the  ltentry of time alieni to thle UIlite(d States, or
       who is hereafter sentenced more thatn once to such a terni1 of iniprisonllnlent be-
       Cause of conviction in this country of anty crime involving immoral turpitude, com-
       initted at alny tinle after entry-
            Except that deportation sllhall not bc made or directed ini such
        case-
       if thle court, or jtm(lge thereof, sente6ncillg such6 alien for such crine shall, at the
       time; of imposing ju(lgnment*.or passing sentence or Withiln :30 days thereafter, due
       notice huZring first l)eeln given to representatives of the State, makes a recoin-
       Inell(lation to the Secretary of Labor that such alien shall imot be (lel)orted.
           These )rovisions of laW-0-I0 not repealed by the bill. Therefore,
       in the future as heretofore an alien sentenced for a year or more,
       becaull-se colivicted of a crime involving moral turpitude comlmlitted
       within five years after entry will be (deI)ortal)le, s11bject to the qualifi-
       cation that deportattion will not be mnadle if tie judge Sentencing the
       alien Makes the recomminelndation to the Secretarzy of Labor that he
       shalll not be deported. The second clause of the portion of the exist
       ing law first quotedd above provides for deportation of atn alien sen-
       tenced more than once to a terin of one year, or more for conviction
       of a crime involving moral turpitude regardless of the length of time
       after entry. This cltause, although not repealed by the bill, will i
       the Course of timer be superseded by the provisions of subsection (6)
       of Section I of thle bill which provides for deportation 11p)oll conviction
       twice, with sentience for a terml of on1e year or Imiore, but it will be
       noticed that this portion of the bill requires that both offenses must
       be committed after the enactment of the act. The existing law will,
       however, remain ill force not only to cover cases of the liability to
       deportation existing tt the timee of the enlalctmllent of the nIeW act, but
       also to take care of the case where after the enactment of this act an
       alien is sentenced to one year or more for a crime involving moral
       turpitude, where the first Cconviction took place before the enactment
       of this act.




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                                 DEPORTATION OF ALIENS                                  5
                                    HABITUAL CRIMINALS
          (7) An alien who is convicted of any offense committedl after the enactment
       of this act and within 10 years after entry) for which he Is sentenced to imprison-
       ment for a term which? when added to the terms to which sentenced under two
       or more previous convictions of the same or any other offense (committed after
       the enactment of this act), amounts to two years or more.
         This paragraph is to take care of habitual criminals and makes an
       alien deportable who has already been twice sentenced to imprison-
       ment and is again sentenced so that the three sentences combined
       amount to two years or mote, but all the offenses must be committed
       after the enactment of this act and within 10 years after the entry
       of the alien.
                                  APPEALS AND PARDONS

          Section 2 of the bill gives the alien convicted of crime two safe-
       guards not affirmatively specified in existing-law, although, as a matter
       of practice, it is quite likely that, both are being afforded without
       specific provision. They are that no conviction can be used as a
       ground of deportation unless, first, it is a conviction in a court of
       record, and, second, that the judgment on such conviction has become
       final. This provision is applicable to every conviction alluded to in
       subsections (6) and (7) above quoted and explained. Where an
       alien has appealed, or while he has the right to appeal, from the
       judgment on a conviction rendering him liable to deportation, he
       may not be deported. These safeguards are deemed desirable, espe.,
       cially since the court or judge is not given the right to recommend that
       the alien be not deported, in the cases covered by such paragrayphs.
          This section also provides that in the case of a sentence for an
       indeterminate term in which the minimum term under the sentence
       is less than one year, the term actually served shall be considered
       the term for which sentenced where deportation is based 'upon the
       length of the term of imprisonment.
          An alien who has been unconditionally pardoned after conviction
       of -an offense specified in subsections (6) and (7) of section 1 shall not
       be deported on account of that offense. Thus a pardon would not
       relieve from deportation an alien who has violated or conspired to
       violate the white slave traffic act or the Federal antinarcotic. laws,
       nor would it save persons engaged in or connected with prostitution,
       nor others who are deported under some provision of law other than
       the subsections enumerated. This provision of the bill continues the
       principle embodied in a provision of the existing law which exempts
       from deportation an alien who has been pardoned after conviction
       of a crime involving moral turpitude. It should be noted that there
       is no relief from deportation if the pardon is conditioned upon con-
       tinued good behavior. Such a pardon amounts only to a commuta-
       tion of sentence or a parole, and section 5 provides that in such cases
       the deportation may be effected upon the release from confinement.
                           READMISSION OF DEPORTED ALIENS

         Under section 3 of the immigration act of 1917 one of the classes
       excluded from admission consists of persons who have been 'deported
       under any of the provisions of that act and who may again seek
       admission wit--in one year unless they have obtained permission




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        6                         DEPORTATION OF ALIENS

       from the Secretary of Labor to reapply for admission. A serious
       situation has arisen, particularly on our land borders, whereby
       people deported to contiguous countries turn around and come back
       again without further penalty than exclusion or another deporta-
       tion. No- matter how serious the offense for which deported, an
       alien can under existing law, except in a few limited cases (as pros-
       titlutes, anarchists and war-time offenders), if otherwise admis-
       sible, reenter the united States after one year from the date of his
       deportation and can apply to the Secretary for readmission at any
       time within that period. Subsoction (d) of section 3 of the bill
       retains so much of the provision of the present law referred to as
       applied to aliens who have been excluded on arrival and sent back.
       They, as heretofore, are prohibited from coming back within one
       year unless they have obtained the consent of the Secretary of Labor,
       Subsection (A) of section .3, however, provides that if any alien has
       been arrested and deported he shall be excluded from admission to the
       United States, and imposes fine or inmprisonmiient or both upon him
       'if he enters or attempts to enter the United States. At the termina-
       tion of the imprisonment he will be deported under section 19 of the
       1917 act as belonging to an excluded class at the time of entry. It
       will be noted that liability to deportation also exists even though no
       indictment for the criminal offense is brought, or even if the alien is
       acquitted of the criminal offense after trial.
           In compliancOe with paragraph 2a of Riule XIII of the Rules of the
       House the following shows the amendment miade by subsection (d)
       of section 3 of tho bill to section 3 of the immigration act of 1917.
       The matter printed in black brackets represents the old matter to be
       eliminated from such section,l anld the matter printed in italics
       represents the new matter to be inserted in such section.
          SEC. 3. That the following classes of aliens shall be excluded from admission in
       the United States: * * * persons who have been [deported tinder any of
       the provisions of this act, and] exclid(ledfrom admission and deported in pursuanvce
       of law, and who may again seek admission within one ycar from the date of such
       deportation, unless prior to their reembarkation at a [foreign port] place outside
       the United States or their attempt to he admitted from foreign contiguous territory
       the Secretary of Labor [shall have] has consented to their reapplying for
       a(lmission.
          Owing to the inadequacy of the appropriations now made for en-
       forcement of deportation provisions under existing law, the Depart-
       ment of Labor has, in many cases, after a warrant of deportation has
       been issued, refrained from executing the-warrant and deporting the
       alien, at the expense of the appropriation, to the country to which he
       might be deported, 'upon the condition that the alien voluntarily, at
       his own expense, leave the United States. Some doubt exists whether
       an alien so departing has been "deported." Subsection (b) of sec-
       tion 3 of the bill therefore removes any possible doubt on this ques-
       tion by providing that in such cases the alien shall be considered to
       have been deported in pursuance of law.
          Under the present law an alien seaman upon arrival in the United
       States, even though he belongs to one of the excluded classes (except in
       cases of certain dangerous mental and physical diseases and disorders
       and except in the case of aliens who are not bona fide seamen), is
       ntovertheless not, excludable as in the case of any other class of aliens
       but is permitted to land temporarily for the purpose of reshipping
       foreign. If such a seaman is arrested and deported in pursuance of




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                                DEPORTATION OF ALIENS7                              7
        law, he may turn hartfifd and immediately'retut'i to,: the UIn"ited
        States and ipon arrival must again be MeIt ted to land temporarily
        for the purpose of reshippifig-foreign. Thus ie is affoi~ded ah oppor-
        tuinity of quitting his calling and again remaainingin theUnited
        States l)eyond' the time fixed by the law and regulations. To prevent
        this result: it is provided in Subsetion (c)'o section 3 of the bill
        that an alien subject to exclusion from admission on thelground that
        he has once been deported shall not, although employed as seaman,    6
        i e entitled to' any of the landing'privilkges allowed by law to seamen.
           The existing law (sec; 18 of the ifmmigtation act of 10917)provides a
        pefialty for any person in charge, etc., of a tVssel "knowing1y to
        bring tolthe UnitedStates at any time within one year from the date
        of deportation any alienrejectedd or arrested and deported under any
        provision of this act [of 1917] unless prior to reembarkation the
        Secretary of Labor has coxn'snted that such alien shall reapply for
        admission." Subsection (e) of section 3 of the bill provides a penalty
        for the person in charge, etc., of a vessel "knowingly to bring to the
        United States any alien excluded or arrested Sand deported under any
        provision of law until such time ,a' `6ucfh alien miay be lawfully' entitled
        to reapply for admission to the United: States`." There appears
        to be no reason why the person in charge, etc., of a vessel should
        not, be penalized for knowingly bSringing an alien who has- been
        deported so. Iug' as it is unlawful for him to renter the United
        States. This means that in the case of an alien arrested and de-
        ported it is unlawful for him to return at all, and in the case of an
        alien excluded and deported it' is unlawMH for him to return within
        one year from the date of such deportation unless the Secretary
        of Labor-has, prior to the expiration 'of the year, consented to his
        reapplying for admission'.
           In compliance with paragraph 2a of Rule XIII of the Rulesi of the
        House the following shows the: amendment' above desci'ibed made by
        subsection (e) of section 3 of the bill in section 18 of the immigration
        act'of'-917. The matter in the left-hand clutimn is the present law
        and the matter in the right-hand column shows- the proposed amend-
        ment:
                    PRESENT LAW                         PROPOSED AMENDMENT
        or knowingly to bring to the United or knowingly to bring: lto the United'
        States at any time within one. yearfrom States any alien excluded or arrested
        the date, of deportation any alien, and,Ideported under-apy provision of
        rejected or arrested and deported under law until' such time as such alien may
        any provision of this act, unless prior 'be lawfully entitled to reapply for
        to reembarkation the Secretary of 'admission'to the United States
        Labor has consented that such alien
        shall reapply for admission, as required
        by section 3 hereof
                            PENALTY FOR UNLAWFUL ENTRY

           Section 4 of the bill attempts to cure one of the defects of the
        present law by imposing a, criminal penalty upon any 4alin: who
        enters the United States nt,   any time or place. other:than as desig-
        nated by unmigration officials or eludes examinationn or inspection
        or obtains entry by a willfully false or misleading representation, or a
        willful concealment of a nsaordal fact. ,Under. the preserLt law all
        that can be done to such-an alien is to deport himn. It is believed that




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        8                      DEPORTATION OF ALIENS

        if the class of aliens who are endeavoring to enter the United States
        surreptitiously become aware that when detected they will be fined
        and imprisoned, as well as deported, the number who attempt to
        smuggle themselves or have themselves smuggled into the United
        States will he materially lessened, It should be noted that the
        punishmnent of fine or imprisonment is not in substitution for deporta-
        tion, After the sentence has been served the alien will be deported,
        under subsection (5) of section 1 of the bill. It will be noted that
        liability to deportation also exists even though no indictment for the
        criminal offense is brought, or even if the alien is acquitted of the
        criminal offense after trial.
                         DEPORTATION AFTER IMPRISONMENT

           Section 5 provides that an alien sentenced to imprisonment shall
        not be deported under any provision of law until after the termina-
        tion of the imprisonment, which is similar in principle to the provision
        in section 19 of the existing law. Particular attention is directed to
        the fact that an alien violating the provisions of section 3 or 4 of the
        bill is not to be deported until after the termnination. of the imprison-
        ment to which he may be sentence(I under sulch section.
           In the case of prisoners released on parole under convictions by
        State courts, it was the practice of the department until recently
        to take the prisoner into custody ininle(liately on his parole if deport-
        able for any reason. Objections were made by one of the States
        to this practice, on the ground that it was an infringement on the
        right of the State to retain custody of the prisoner during the period
        he is out on parole. The Solicitor of the Department of Labor re-
        cently advised the Secretary of Labor that the statute did not author-
        ize the practice of the department, and accordingly it has been dis-
        continued so thatunder the present law the alien is not deported
        until the end of the term for which sentenced or until he is uncontl-
        ditionally released from confinement. Your committee is convinced
        that the law should be made clear that the alien is deportable immle-
        diately upon his release from confinement. If he belongs to a deport-
        able class he should be deported even though it may not be against
        the public policy of the State, under whose laws lie has been con-
        victed, that he should be allowed to go at large on parole. The
        authority of Congress in relation to the deportation of aliens is
        supreme and the law or practice of a State can not and should not
        allow an alien to remain in this country for a moment longer than
        permitted by act of the National Legislature, which alone is charged
        with the duty and responsibility of ridding the country of undesir-
        able aliens. Accordingly, section 5 of the bill provides that the
        alien may be deported immediately upon his release on parole.
                             TIME LIMIT ON DEPORTATION

          It will be noted that section 6 of the bill provides that there shall
        be no time limit within which deportation proceedings on the grounds
        provided in this bill shall be begun, with the exception that d eporta-
        tion based on conviction of crime as specified in subsection (6) or (7)
        of section 1 shall not be begun after the expiration of three years




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        after the termination of imprisonment. In all other cases proceed-
        ings may be begun at any time after the entry of the alien even
        though he may also be deportable under some provision of existing
        law which places a time limit on the beginning of proceedings. For
        example, an alien deportable under subsection (5) of section 1 of the
        bill for surreptitious entry may be deported at any time thereafter
        although he may also be deportable under provisions of existing law
        which have a time limit of three years after entry.
             ALIEN BELONGING TO MORE -THAN ONE DEPORTABLE CLASS
           Section 7 of the bill is put in out of an abundance of caution to
        make it clear that it is the intention of Congress that an alien who is
        liable to deportation under any paragraph of the bill shall be deported
        whether or not he is liable to deportation under any other paragraph
        of the bill or in any other law, and, conversely, that the groqundsfor
        deportation set forth in the bill are in addition to and not in substitu-
        tion for the grounds already existing under other laws. For instance6
        if an alien violates the narcotic drugs import and export act, he is to
        be deported (under paragraph (2) of section 1), ovehn though he has
        not been convicted of the violation and consequently is not deport-
        able under section 2 of such act, or even though he is convicted and
        sentenced to less than a year's imprisonment or merely fined. Again
        if an alien is deportable under paragraph (5) of section 1 of the bili
        (surreptitious entry) he can not escape deportation merely because
        he does not come within the somewhat similar language of the pres-
        ent law. It is also intended by the bill, for example, that an alien
        liable to deportation as a procurer under the provisions of existing
        law shall not escape deportation even though he has not violated the
        white slave traffic act and hence would not be deportable under
        subsection (1) of section 1 of the bill.
                                DEFINITION OF TERMS
          Section 9 of the bill provides that terms defined in the immigration
       act of 1924 shall have the same meaning when used in this bill. These
       definitions are:
          (1) The term "United States," found in section 28 (a) of the 1924
       act, as follows: "The term 'United States,' when used in a geo-
       graphical sense, means the States, the Territories of Alaska and
       Hawaii, the District of Columbia. Porto Rico, and the Virgin Islands."
          (2) The term "alien," found in section 28 (b) of the 1924 act' as
       follows: "The term 'alien' includes any individual not a -natIve-
       born or naturalized citizen of the United States, buit thisdefinition
       shall not be held to include Indians of the United States not taxed
       nor citizens of the islands under the jurisdiction of the United States."
          (3) The term "immigration act of 1917;" found in section 23 (f)
       of the 1924 act, as follows: "The term 'inumigration act of :1917'
       means the act of February 5, 1917, entitled 'An act to regulate the
       immgration of aliens to, and the residence of aliens in, the United
       States."'
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        10                                 DEPORTATION OF ALIENS

                                  FINALITY OF SECRETARY'S DECISION

            Th # bill does not disturb the provision of the existing law sectionn 19
        of 1917 ade), that the, decision of the Secretary of Labor in vv'ery Case
        of deportation shall b)e final. This provision has been (onsi(lered b)r
        thlle 8upreise, Clourt,ts meaning that, the decision of the Secretmi-ry is
        final only if the alien hanes in fact, had (dlue p)Mocess of law, l)it the court
        has ref used to overturnt the (lecisionl of the. Secret ary unless it fpl)l1irs,
        (1) that, his action has eetn arl)itmrary, or (2) thlisat tlhele is; no   e1 vi-
        dlence on which. to support, the finding, or (3) that the ailieni 111s not,
        had proper notice annd opportunity to l)e heard, 01. (4) that, the Sevri'-
        tary has misconstrued the law. In l() case (loes the court have
        the right to review the evidence for the )iurlpose of determining
        whether or not the weight of evid(ele(c sup))orts thle fin(lidings of the
        Secrettary, If there is evi(lence in sul)port of his finding, the (colrt
        will sustalin it even though, were the matter before thecourt ovigi-
        nally, the court wvoulI l(have reaclled (Ionclusion Op))posite to that,
        whichll the Secretary has reached. The arrested(l 1)e'so ilhas lihe right
        to a judlicial (letelinilltioll of his etinii of (itizenshil), uiiless .such
        claim is plainly frivolous.
                                                      APPENDIX A
                                     T1.It. I68O, Seventleth ('ongress, steond,1 sesslonJ
        A lTlLI, TO proVi(de for the deportation of certain allens, atnd for the punilshmInett of (fie iinhi:ful entry
                                                       of certain aliens
           Be it eflcteld by t/he Scnatc mad HIo use of !?reimsetintitles oIf he Unlitci
                                                                                       citiess of
        A merical in Congress assembled, Tlhnat, t04following aliens shill, ip)ll  0      nrrailnt. of
        tile Secretary of Labor, he thken into custody anti (lde)ort(e In t1he nul11mor )ro-
        vided in sections 19 and 2() of thle immigration act of 1ll17 1l). S. C. Title 8,
        I§ 155, 156], if the Secretary of Labor, after hearing, finds that such aliens are
        undesirable resi(leuits of tilhe United
                                              .States:
           (1) An alien who herelifter violate.s or conispires to violate the white slave
        traffic acts I U. S. C. Title 18, §§ 397--404], or any law amen(latory of, suipplemell-
        tary to or in substitution for, such act,.
           (2) 0il alien who hereafter violates or consp)ires to violate, anv stituilte of tile
        lUiie(l States taxing, )rohil)iting, or regulating ti le, imaniuifactuire, prodtictlion,
        conldOUIn(ling, possesslioI, use, sale, exchange, (disp)enlsi ng, giving away, trans-
        portation, impl)ortation, or ex()ortation of opitim, coca leaves, or any salt, (eriva-
        tive, or pre )aration of 01)ilin or coca leaves.
           (3) Ain alien who hereafter willfully conceals or harbors, attempts s to conceal
        or harbor, or alds, as.'Aists, or abets any other person, to conceal or harbor, any
        alien liable to deportation.
           (4) An alien wvho hereafter w0llfuilly ails or assists in any way any alien un-
        lawfully to enter the United States.
           (5) Ali alien Who hereafter enters the United States at any timle or place other
        other thanIas designate(l by immigration officials, or elides exainniiation or
        inspection l)y immigration offtcials, or ol)tains entry to thle Ptlitled States by a
        willfully false or misleading representation or the willful con(evlmlnent of a ma-
        terial fact.'
           (6) An alien who Is convicted of any offense committedd after the enactinent
        of this act and tat any tuine after entry) for which lie is sentenice(d to iml)prisonlmlient
        for a ter:nl of one,- year or more, an(d who is thereafter convicted of the sane or
        any othi offense (committed after thle enan1llnent of this act and ati any time
        after ent' y) for which hie is sentenced to imprisonment for a termn of one year or
        more..
           (7) An alien who is convicted of any offense (committed after the enactin(rit
        of this act and wvithini tCl years after entry) for which lie is senterice d to inll)rison-
        ment for a terni -whiehl, -when added(l to the terns to which sentenceds id(ier two or
        more previous convictions of thle same or any other offense (committed after the
        enactment of this act); amounts to two years or more.




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                                   DEPORTATION OF ALLENS                                  11l
           SEC. 2, For the purposes of subsections (6? and (7) of section 1-
           (a) No conviction shall serve as a basis for deportation proceedings unless
        such conviction is in a court of record and the judgment on such conviction has
        become final;
           (b) In the case of a sentence for an ind~etrnlinato term in which the nilnimmun
         term tender the sentence is less than one year, the term actually scrvedd shall he
        considere(l the terin for which sentenced; and
           (c) An offense of which aln alien, after conviction, las been unco'nditionallv
        pardoned, shall not he Considered an offense.
           Sue. 3. (a) If any alien has been arrestedlnd d6det6orted in pu1rsitaice of law,
         he shall be excluded fromadmission to the Uinite(l States whether such1el)Orta-
        tion took place before or after the enacstmeiit of this act, and if lie enters or
        attempts to enter the United: States after the expiration of sixty davs mfterX the
        enactment of this act, he shall be guilty of a folony and upon conviction thereof
        shall unless a different penalty is otherwise expressly provided by law, be poln-
        ishe(i  by' imprisonment for not more than two years or by a flne of not more than
        $1,000, or by both such fine and Imprisolnmient.
           (b) For the purposes of this section, any alien ordeered deported (whether
        before or after the enactment of this act) who hlas left thle UJnited States shell he
        considered to have been reportedd In pjtirsuanee of law, irrespective of the source
        from which the expenses of his transportation were defrayed or of the place to
        which he departed.
           (c) An alien subject to exclusion from admission to the United States under
        this section who is employed upon a vessel arriving in the Unitted States shall
        not be entitled to anty of the landing priVlloges allowed by law to seamen.
           (d) So much of section 3 of the immigration act of 19177 [U. S. C. Title 8,
         § 186 (j)j as rends as follows: "persons who hIavo been deported under any of
        the plovisilois of this act, and who may again seek admission within one year
        from the date of such deportation, unless lprior to their reemi)arkation at a foreign
         port or their attempt to be admitted from foreign contiguous territory the
         Secretary of Labor shall have consented to their reaplyvinig for admission" is
        amended to read ts follows: "persons who have been excluded from admission
        and deported in pursuance of law, and iwho may again seek admission within
        one year from the date of such deportation, unless prior to their reembarkation
        at a place outside the United States or their attempt to be admitted from foreign
        contiguou4s territory the Secretary of Labor has consented to their reapplying
        for a mission."
           (e) So much of section 18 of the immigration act of 1917 [U. S. C. Title 8,
         § 154] as reads as follows "'or knowingly to' bring to the United States at any
        time within one year from the date of deportation any alien rejected or arrested
        and deported under any provision of thi6 act, unless prior to reembarkation the
        Secretary of Labor has consented that slich0 alien shall reapply for admission, as
        requiredt-by section 3 hereof" is amended to read' as follows: "or knowigly to
        bring to the United States any alien excluded or Arrested and deported- under
        any provision of law until such time, as such alien fmay be lawfully. entitled to
         reapply for admission :to the United States," The;'amendment made by this
        subsection shall take effect on the explrati6nV of sixty days after the enactment of
        this act, but th0 provision amend'ed shall remain in force for the collecton of any
        fne incurred before the effective date of s'ch amnendm rit.
           SEc. 4, Any alien wivho hberdfter epteri the Uinited States at any time or place
        other than as designated 'by.immigration officials or eludes examination or in-
        spection by immigration officials, or obtains entry to the United States bv a will-
        fully false or misleading represetitation or the willful concealment of a material
        fact shall be guilty of a misdemMiidbOrand, upon conviction, shall 'be punished
        by imprisonmentt tor not more than One     h year or by a fine of not more than
        $1,000,' or by both such fine' and imprisonment.
           SEC,. 6. An alien sentenced to inprikon ment shall' not he deported under any
        provision of Iaw uhtil after the ternilnation of the Imprisonment. Yor  F the purr
        poses of this section (but not for the purposes of section 6) the imprisonment
        shall be considered as terminated 'upon the release of the alien from confinement,
        whether or not he is subject to rearrest or further confinement In respect of the
        sane offense.
           SEC. 6. Proceedings for the deportation of- an alien made deportable by this
        act may be begun at any time after the entry of such alien, without regard, to any
        of the periods prescribed in the imnxigatioln act of 1917; but- no proceeding based
        on ubcton(6) or (7) of section 1 of this act shall be begun after the expiration
        of three Iyets after the ternilnation of the imprisohment.




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        12                         DEPORTATION OF ALIENS
            Six. 7. If any alien is liable to deportation upon any ground specified in any
        paragraph of this act, he shall be deported whether or not he is liable to deporta-
        tion upon a ground specified in any other paragraph of this act or in any other
        law, and any Mlietn whois liable to deportation upon a ground specified in any law
        other than this act shall be deported whether or not he is liable to deportation
        upon a groun(d specified in thls act.
            SEC. 8. Upon the fitial conviction of any alien of any offense in any court of
        record of tihe United States or of any State or Territory it shall be the dutty of
        the clerk of tthp court to notify the Hecretary of Labor, giving the name of the
        alion convicted the nature of the offense of which convicted, the sentence
        imposed1, anrd, iifimprisoned, the place of imprisonment, and, if knowvn, the place
        of b)irth of such alien, his nationality, and the time when and )lacc where he
        entered the United States,
            SEC. 9. Terms defined in thoe Immigration act of 1924 shall, when used in this
        act., have the meaning assigned to such terms in that act,
            SEc. 10. This act may be cited as the "Undesirable aliens act of 1929."

                                            APPENDIX B
        DEPORTATION SECTIONS (BECS, 18, 10, AND 20) OF THE IMMIGRATION ACT OF
                                     FEBRUARY 6, 1917
            SE:(C. 18. That all alielns broughtt to this country in violation of law shiall be
         Immediately sent hack, it accolmmodations of the same class in which they
         arrive, to tile country wvhenco theY respectively caie, oln the vessels brillging
         thenm, unless in the opinion of the Secretary of lahor immnedliate deportation Is
         not practicable or prop)er, Trhe cost of their maintenance while on land, as we'll
         as the expense of the return of such aliens, shall be borne hv the owner or owners
        of tle vessels on which they respectively came. That it shall be unlawful for
        any master purser, person in charge, agent, owner, or consignee of any subhl
         vessel to refuse to receive back on boar( thereof, or on board of any other vessel
         owned or operated by the same ilntcrest8 such aliens; or to fail t(o detain them
        thereon; or to refuse or fail to return them in the manor aforesaid to thefor-
        eign port from which they cale; or to fail to paY the cost of their laittenance
        while on land; or to make any charge for the return of any such aliel, or to take
        any security for the payment of such charge; or to take any considerations to be
        returned in case the alien is landed; or knowingly to bring to the Uited Stat(es
        at anly time within one year from the (late of d(ll)ortatioln any alieM rejected or
        arrested and deported under ally provisionrs of thlisS act, uncle s prior to reem-
        barkation the Secretary of Labor has consented that such alienI shall reapply for
        admission, as required by section 3 hereof; and if it shall appear to thle satis-
        factioln of the Secretary of Labor that such master, l)Urser, person in charge,
        agent, owner, or consignee has violated any of the foregoing J:)rovisioIis, or any
        of thle l)rovisions of section 16::hereof, such master, purser, person in charge,
        agent, owner, or consignde shall pay to thle collector of customs of the district
        in which the port of arrival is located, or in wrhihel any vessel of the line Imay be
        found, the sum of $300 for each and every violation of any provision of said
        sections; and no vessel shall have clearance fromn any port of the United States
        while any such fine is unpaid, nor shall such fine be remitted or refunded: Pro-
        vided, Tlihat clearance may be granted prior to the determnination of-suich quea-
        tion upon the deposit with the collector of customs of a sum suIfficient to cover
        such fine. If the vessel by which' any alien ordered deported caine has left the
        IJxdted States, and it is impracticable for any reason to deport the.alien within
        a reasonab)lo time by another vessel owned by tthe same interests the cost of de-
        portation may be paid by the Government and recovered 1)by civil suit from any
        agent, o(vmer, or consigniee of the vessel: Provided further, That the Commis-
        sioner General of Immigration, with the approval of the Secretary of Labor, may
        suspend, upon conditions to be prescribedyby       the Commissioner General of Im-
        migration, the deportation of any aliens found to have come inl violation of any
        provision of this act if, in his judgment, the testimony of such alien is necessary
        on behalf of the United States Government in the prosecution of offenders
        against any provision of this act or other laws of the United States; and the cost
        of maintenance of any person so detained resulting from such suspension of
        deportation, and a witness fee ill the sum of $1 per day for each day such pkrgon
        li oo detained, may be paid from the appropriation for the enforcement of this




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                                   13!FORTATION 0 ALIENS                                   13
        act, or such alien may be released under bond, in the penalty of not less than
        $500, with security approved by the Secretary of Labor, conditioned that such
        alien shall be produced when required as a witness and for, deportation,
           No alien certified, as provided in section 16 of this act, to' be sufferingg, from
        tuberculosis in any form, or from a loathsome or dangerous contagiousodise
        other than one of quarantinable nature, shall be permitted to land for medical
        treatment thereof in any hospital in the United States, unless the Secretary
        of Labor is satisfied that, to refuse treatment would be inhumane or cause
        unusual hardship or suffering, in which case thealien shall be treated in the
        hospital under the supervision of the immigration officials at the expense of the
        vessel transporting him: Provided further,. That upon the certificate of an ex-
        amining medical officer to the effect that the health'6or safety of an insane alien
        would be unduly imperiled by immediate deportation, suchalien may, at the
        expense of the appropriation for the enforcement of this -act, be held for treat-
        ment until such time as such alien may, In "the opinion of such "medical officer,
        be safely deported: Provided further, That upon the :certificate of an examining
        medical officer to the effect that a rejected alien is helpless from sickness, mental
        or physical disability, or infancy, If such alien is accompanied by another alien
        whose protection or guardianship is required by such rejected alien, such accom-
        panying alien may also be excluded, and the master, agent, owner, or consignee
        of the vessel in which such alien and accompanying alien are brought shall be
        required to return said alien and accompanying alien in the same manner as
        vessels are required to return other rejected aliens.
           SEC. 19. That at any time within five years after entry any alien who at the
        time of entry was a member of one or more of the classes excluded by law; any
        alien who shall have entered or who shall be found in the United'States in violate
        tion of this act or in violation of any other law of the United States; any, alien
        who at any time after entry shall be found advocating or teaching the unlawful
        destruction of property or advocating or teaching anarchy or the overthrow
        by force or violence of the Government of the United States or of all forns of
        law or the assassination of public officials; any alien who within five years after
        entry becomes a public charge from causes not affirmatively shown to have
        arisen subsequent to landing; except as hereinafter provided, any alien who is
        hereafter sentenced to imprisonment for a term of'one year or more because of
        conviction in this country of a crime involving moral turpitude committed
        within five years after the entry of the alien to the United States, or who is
        hereafter sentenced more than once to such a term of imprisonment because of
        conviction in this country of any crime involving moral turpitude committed at
        any time after entry; any alien who shall be found an Inmate of or connected
        with the management of a house of prostitution or practicing prostitution after
        such alien shall have entered the United States, or who shall receive, share in,
        or derive benefit from any part of the earnings of any prostitute; any alien who
        manages or is employed by, in, or in connection with any house of prostitution
        or music or dance, hall or other place of amusement or resort habitually fre.
        quented by prostitutes or where prostitutes gather, or who in any way assists
        any prostitute or protects or promises to protect from arrest any prostitute
        any alien who shall import or.attempt to import any person for the purpose of
        prostitution or for any other immoral purpose; any alien who, after being ex-
        cluded and deported or arrested and deported as a prostitute or as a procurer,
        or shaving been connected with the busWess of prostitution or importation
        for prostitution or other immoral purposes in any of the ways hereinbefore
        specified shall return to and enter the United, States; any alien convicted aid
        imprisoned for a violation of any of the provisions of section four hereof; Any
        alien who was convicted or who admits the commission prior tot entry of a felony
        or other crime or misdemeanor Involving moral turpitudesat anv time within
        three years after entry, any alien who shall have entered the United Stated by
        water at any time or place other than as designated by.'immigration officials,
        or by land at any place other than one designated as a port of entry for aliens by
        ,the Commissioner General of Immigration or at any.time not, designated by
        immigration officials or who enters without inspection, shall,.- upon thewvarranit
        of the Secretary of Labor, be taken into custody and deported: Provided, That
        the marriage to an American citizen of a female of the sexually Immoral classes
        the exclusion or deportation of which is prescribed by this' act shall not invest such
        female with United States citizenship if the marriage of such alien female shall be
        solemnized after her arrest or after the commission of acts which make her liable
        to deportation under this act: Provided further, That the provision of this section




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        14                           DEPORTATION OF ALIENS

        respecting the deportationn of aliceis convicted of a erime involving moral turpi-
        tudo shall not apply to one who has been pardondficd, nor shall suehll deportation
        be mnade or (lirectedl if tile Court, or judge tlcreof, seoitentcinig suich ailicn for such
        crime, shiall, at the time of iml)osinig judgimient or p)assin sentence or with.
        30 (dnays thereafter, diue notice hav-ing first 'beenl gi'en to rep)resentatives of
        tile State, make a recommendation to the Secretary of Labor that such alien
        shall not be deported ili pursuanlce of this act; nor shall any alien convicted as
        aforesaid lie deported uintil after thle ternlilnationl of his ihprisonniefit: Provided
        further, That thle provisions of this section, with thle exceptiolns herelibefore noted,
        shall be app)licable to tlhe classes0 of alietns therein menliiotned irresl)eAItlo of tthe
        time of their entry into tilhe iteld States: Provided firl/lier, That the )rovisions
        of thie section1sh'all also apply to thte cases of aliens who come to thle ll andillifll of
        th¢ United States from the isl*sitar possessions thereof: Pr(vied furt)er, That
        any person who shall be arrested under the provisions of this section on tihe
        ground that he has entered or boeti found in the United States ill violatioll of ally
        other law thereof which limposd otl such p)crsoni Wte burden of proving his ri git to
        enter or roiain, and who shall fail to establish tlho existence of the right claiwed,
        shall be deported to tie l)lace specified in suich other law. Ii oeOry case where
        any person Is or(lered delplortced from the IUnited States under the jprovisionsl of
        this act or of ainy law or treaty the (leeision of the Secretary of Labor shall 1)0
           Sac. 20. That the deportation of alieons provided for in this act shall, at the
        o0)tioni of the Secretary' of Larbor, 1)e to the coullitry whetnce they catmle or to
        the foreign port at which such alilns embarked for the United States; or, if
        silch embarkationl was for foreign contiguous territory, to the foreign port at
        which they embarkmed for such territory; or, :if suoh aliens entered forelgni con-
        tiguouis territory from the IUnited States nd later entered tile UnitedI States
        or If such aliens aroe held by tle country from which they entered tile Unitea
        States not to be subjects or Citizens of suich country, and slich couitry refuses
        to permit thoir reenltry, or Imnposcs any conllition upllon permitting reelntry, then
        to the country of NhYch such aliens are subjects or citizens, or to tlie country
        in which they resided ')rior to entering the country froin.which they entered
        the United States. If (leportation proceIedings are Instituted at anIy tinle within
        five Years after thle entry of tho allen, such deportation, Iticludinig (oe-hIalf of
        the entire   cost of removal to thie port of deportation, shall be tat tile expense of
        the contractor, procurer, or other person by whom the alien was unillawfilfly
        induced to enter the United States, or if that can not be done, then thle cost of
        removal to thfe port of (leportatioln shall be at the expollse of the appropriation
        for the enforcement of this- act, anid the deportation from such p)ort shall ;be
        at thoe eCXp)onl of tile owner or owners of such vessels or transportation linoe by
        which sucih aliens resp)ectively came, or, if that is not practialleaj, at thie expense
        of tilhe api)rpriation for the enforcement of this act. If (leI )ortation )roceedlilgs
        are institutela  later than flve yars after the entry of thoe al n, or if the det)orta-
        tion is made by reason of caulses arising subsequent to entry, the cost tIiereof
        shall be l)aybleo from the appropriation for the enforcement of this act. A
        fallire or refusal on the part of thle masters, agents owners, or eonsigniees of
        vessels to comply with the order of the 'Secretary o/ Labor to take onl board,
        guard safIely, annd transport to the (lesitimatton sl)pcitied any alien ordered to be
        deported tinder the provisions of this act shall 1)e )ulishedi by the limnl)osition
        of the penalties p)rescribed ill section 18 of this act: provided , That when in
        the opinion of thle Secretary of-Labor the mental or l)hysical conilition16 of sulch
        alien is such as to require personal care- and attenlance, thle said Secretary shall
        when necessary employ a sluitablo porsoll for that purpose, who shall accompany
        sulch alien to his or her final destination, and the expeinso incidlent to schll service
        shall be defrayed In the same manner as the expense of deporting the accom-
        pantied alien is defrayed. Pending the final disposal of the case of any alion
        so taken Into cuistodey he may be released lunder a bond in the penalty of inot less
        than $00() with security approved by the Secretary of Labor, conditione(i that
        such alien shall be produced when required for a hearing or hearings in regard to
        the charge upon which lie has been taken into custody, alnd for deportation
        If he shal be found to be unlawfully within the United States.
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                       Exhibit L

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                               Professor Kelly Lytle Hernández
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                              Los Angeles, California 90095-1473
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EDUCATION
Ph.D., Department of History, University of California at Los Angeles, 1998 - 2002

B.A., Department of Ethnic Studies, University of California at San Diego, 1992 - 1996


ACADEMIC POSITIONS

Director, Ralph J. Bunche Center for African American Studies at UCLA, July 1, 2019 to present

Tom Lifka Endowed Chair in History (UCLA), July 1, 2019 to present

Interim Director, Ralph J. Bunche Center for African American Studies at UCLA, July 1, 2017 to
June 30, 2019

Professor, departments of History, African American Studies, and Urban Planning, July 1, 2017
to present

Associate Professor, Department of History, University of California at Los Angeles, 2010 - 2017

Director, UCLA Public History Initiative, 2012 - 2014

Associate Director, National Center for History in the Schools, 2010 - 2012

Associate Director, Chicano Studies Research Center, University of California at Los Angeles,
2008 - 2010

Assistant Professor, Department of History, University of California at Los Angeles, 2004 - 2010

University of California President’s Postdoctoral Fellow, Department of Ethnic Studies,
University of California, San Diego, 2002 - 2004

Research Fellow, Center for U.S.-Mexican Studies at the University of California, San Diego,
2001 - 2002

Research Fellow, Center for Comparative Immigration Studies at the University of California,
San Diego, 2001 - 2002

Visiting Scholar, Immigration and Naturalization Service Historical Library, Washington, D.C.,
2000

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MAJOR RESEARCH PROJECTS
Bad Mexicans (forthcoming from Norton Books)

Million Dollar Hoods (milliondollarhoods.org)

City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles, 1771 –
1965 (University of North Carolina Press, April 2017).

MIGRA! A History of the U.S. Border Patrol (Berkeley: University of California Press, 2010).



AWARDS and PRIZES
Commendation from the Los Angeles County Board of Supervisors for work on incarceration and
immigration (November 19, 2020)

2019 John D. and Catherine T. MacArthur Fellow

2019 Catalyst Award. Awarded CADRE for Million Dollar Hoods

2018 Local Hero Award (KCET). Awarded for Million Dollar Hoods as well as historical
scholarship on the rise of mass incarceration in Los Angeles.

2018 John Hope Franklin Prize for most outstanding book in American Studies. Awarded by the
American Studies Association for City of Inmates: Conquest, Rebellion and the Rise of Human
Caging in Los Angeles, 1781-1965 (University of North Carolina Press, 2017).

2018 Athearn Book Award for the best book on the history of the twentieth-century American
West. Awarded by the Western History Association for City of Inmates: Conquest, Rebellion and
the Rise of Human Caging in Los Angeles, 1781-1965 (University of North Carolina Press, 2017).

2018 American Book Award for excellence in American literature. Awarded by the Before
Columbus Foundation for City of Inmates: Conquest, Rebellion and the Rise of Human Caging in
Los Angeles, 1781-1965 (University of North Carolina Press, 2017).

2018 FREEDOM NOW! AWARD. Awarded for Million Dollar Hoods by the Los Angeles
Community Action Network.

2018 John A. Rawley Prize for best book in U.S. race relations. Awarded by the Organization of
American Historians for City of Inmates: Conquest, Rebellion and the Rise of Human Caging in
Los Angeles, 1781-1965 (University of North Carolina Press, 2017)

2015 Louis Knott Koontz Award for best article published in Pacific Historical Review,
American Historical Association – Pacific Coast Branch. Awarded by the Board of Editors of the
Pacific Historical Review to “Hobos in Heaven: Race, Incarceration, and the Rise of Los
Angeles, 1880 -1910.”

2010 Clements Book Award, Clements Center for Southwest Studies, Southern Methodist
University. Awarded for MIGRA! A History of the U.S. Border Patrol.

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Honorable Mention, 2010 Lora Romero First Book Prize, American Studies Association

Honorable Mention, 2010 John Hope Franklin Book Prize, American Studies Association

2007 Oscar O. Winther Prize for the best article published in the Western Historical Quarterly
(2006). Awarded by the Board of Editors of the Western Historical Quarterly to “The Crimes
and Consequences of Illegal Immigration: A Cross-Border Examination of Operation Wetback,
1943-1954,” Western Historical Quarterly (Winter 2006), 421-444.

2007 Bolton-Kinnaird Prize in Borderlands History. Awarded by the Western History Association
to “The Crimes and Consequences of Illegal Immigration: A Cross-Border Examination of
Operation Wetback, 1943-1954,” Western Historical Quarterly (Winter 2006), 421-444.

Norris F. Hundley Dissertation Prize (UCLA), 2002.

SELECTED ESSAYS and ARTICLES
Kelly Lytle Hernández, “The Rise of Mass Incarceration in Los Angeles,” in Care First, Jails
Last: Health and Racial Justice Strategies for Safer Communities (Los Angeles County
Alternatives to Incarceration Work Group Final Report, February 2020)

Kelly Lytle Hernández, guest editor for “Carceral West,” a Special Volume of Pacific Historical
Review (January 2019)

Kelly Lytle Hernández, “Reforming Deportees: Imprisonment and Immigration Control during
the 1930s,” Beyond the Borders of the Law: Critical Legal Histories of the North American West,
eds., Katrina Jagodinsky and Pablo Mitchell (University of Kansas Press, 2018), 263-280.

Kelly Lytle Hernández, Khalil Gibran Muhammad, and Heather Ann Thompson, co-editors and
co-authors of “Constructing the Carceral State,” in “Constructing the Carceral State,” a Special
Volume of the Journal of American History (June 2015).

“Hobos in Heaven: Race, Incarceration, and the Rise of Los Angeles, 1880 -1910,” Pacific
Historical Review v. 83, n. 3 (August 2014), 410-447.

“The Deportees: Mexican Immigration and the Rise of U.S. Immigration Control during the
1920s,” in Rafael G. Alarcón Acosta and Fernando Saúl Alanís Enciso, ed. Historia de la
Migración Mexicana a Estados Unidos. Visiones Comparadas (Siglo XIX, 2013).

“Amnesty or Abolition? Felons, Illegal Immigrants and America’s Unfinished Abolition
Movement,” Boom: A Journal of California (Winter 2012), 54-68.

“Borderlands and the Future History of the American West,” Western Historical Quarterly v 42, n
3 (Autumn 2011), 325-330.

Interchange participant, “Latino History: An Interchange on Present Realities and Future
Prospects,” v 97, n 2 Journal of American History (September 2010), 424-463.

“Mexican/Central American Migration to the United States,” OAH Magazine of History v 23
(October 2009), 25-30.


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Kelly Lytle Hernández and Pablo Yankelevich, eds. “Dossier 1: The Archive,” Aztlán: A Journal
of Chicano Studies (Spring 2009).

Kelly Lytle Hernández and Pablo Yankelevich, “An Introduction to el Archivo Histórico del
Instituto Nacional de Migración,” Aztlán: A Journal of Chicano Studies (Spring 2009).

“Persecuted Like Criminals: The Politics of Labor Emigration and Mexican Migration Controls
during the 1920s and 1930s,” Aztlán: A Journal of Chicano Studies (Spring 2009).

“The Crimes and Consequences of Illegal Immigration: A Cross-Border Examination of
Operation Wetback, 1943-1954,” Western Historical Quarterly v 37, n 4 (Winter 2006), 421-444.

“Ni blancos ni negros: mexicanos y el papel de la patrulla fronteriza estadounidense en la
definición de una nueva categoría racial, 1924-1940,” Cuicuilco v 11, n 31 (Mayo-Agosto 2004),
85-104.

Mexican Immigration to the United States, 1900 – 1999: A Sourcebook for Teachers, published
by the National Center for History in the Schools (Fall 2002).


POLICY REPORTS and ARTICLES
Co-author, “Immigration Enforcement at the Orange County Jail,” (Million Dollar Hoods), June
11, 2019

Co-author, “Bookings into the Los Angeles County Jail (2010-2016): A Million Dollar Hoods
White Paper prepared for the Los Angeles County Alternatives to Incarceration Work Group,”
(Million Dollar Hoods), June 11, 2019

Co-Author, “The Los Angeles Police Department’s Metropolitan Division,” (Million Dollar
Hoods, April 2, 2019.

Co-author, “Women in the Los Angeles County Jail: An Analysis of LASD Booking Data (2010-
2016),” (Million Dollar Hoods), January 8, 2019

Co-author, “Policing Our Students,” (Million Dollar Hoods), October 30, 2018.

Co-author, “The Price of Freedom: Bail in the City of L.A.,” (Million Dollar Hoods), May 14,
2018.

Co-author, “Policing the Unemployed in Los Angeles,” (Million Dollar Hoods), May 2, 2018.

Co-author, “Race, Cannabis, and Recent Disparities in Cannabis Enforcement by the LAPD,”
(Million Dollar Hoods), February 28, 2018.

Co-author, “Access to Freedom: Caged L.A.,” Items: Insights from the Social Sciences (Social
Science Research Council), February 20, 2018

Co-author, “Policing the Houseless 2.0,” (Million Dollar Hoods), December 5, 2017

Co-author, “The Price for Freedom: Bail in the City of Los Angeles,” (Million Dollar Hoods),
December 5, 2017

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Co-author, “Policing the Houseless,” (Million Dollar Hoods), October 10, 2017

“How Crossing the U.S.-Mexico Border Became a Crime,” The Conversation, April 30, 2017.

“Largest Deportation Campaign in U.S. History is No Match for Trump’s Plan,” The
Conversation, March 8, 2017.

“America’s Mass Deportation System is Rooted in Racism,” The Conversation, February 26,
2017



SELECTED BOARDS and PROFESSIONAL SERVICE
National Book Award, 2019 Literature for Justice Committee, April 2019 to present

Society of American Historians, elected member, 2019 - present

Los Angeles Civic Memory Working Group, 2019 - present

Appointed by Supervisor Hilda Solis to the Los Angeles County Alternatives to Incarceration
Workgroup, co-chair of the Data and Research Committee, March 2019 to March 2020.

Chair, American Talent Initiative Faculty Committee (UCLA)

Committee Member, Time to Degree Taskforce (UCLA)

Foundation Board Member, ACLU of Southern California, March 2018 – present

UC Systemwide Faculty Advisory Committee, UCLA representative, UC President’s
Postdoctoral Fellowship Program, 2017 to present

Editorial Board Member, The Journal of American History, March 2017 – present

Program co-chair with Andrew Graybill (Southern Methodist University) and Katherine Benton-
Cohen (Georgetown University), Western History Association 2017 Annual Meeting, current

Editorial Board, David J. Weber Series in New Borderlands History, University of North Carolina
Press, 2012 – present

American Quarterly, Managing Board, 2010 – 2014

Western Historical Quarterly, Editorial Board, 2011 – 2014

LABOR: Studies in Working-Class History of the Americas, Contributing Editor, current

Distinguished Speaker, Western History Association, 2012-2016

Distinguished Lecturer, Organization of American Historians, 2011 - present

Organization of American Historians, member and 2013 Program Committee member

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SELECTED MEDIA INTERVIEWS

Interview for Factually! With Adam Conover, episode title, “The Racist Roots of America’s
Immigration Laws.” Originally aired on February 18, 2020.

Interview for United States of Anxiety (WNYC), episode title, “Fragility in Liberty.” Originally
aired February 20, 2020.

“LAUSD Plans to Expand List of Offenses Eligible for Diversion to Reduce Racially Disparate
School Arrests,” WitnessLA, October 7, 2019

“San Diego Native Wins MacArthur “Genius” Grant,” Midday Edition, KPBS San Diego, October
3, 2019

“Los Angeles Working to Expand Diversion Programs to Further Reduce Student Arrests and
Increase Services,” LAUSD Press Release, October 1, 2019.

Live television interview about MacArthur grant, Univision, September 30, 2019.

Live radio interview about MacArthur grant on Press Play with Madeleine Brand, KCRW,
September 26, 2019

“Rebel Historian Who Reframes History Receives MacArthur Genius Grant,” All Things
Considered,” National Public Radio, September 25, 2019.

“MacArthur Genius Grant Winners of 2019: The Full List,” New York Times, September 25, 2019

“Who’s behind the law making undocumented immigrants criminals? An ‘unrepentant white
supremacist,” Washington Post, June 27, 2019.

Live radio interview on Worldview with Steve Bynum on WBEZ (Chicago), June 27, 2019.

“Million Dollar Hoods: Why L.A. Cages More People than Any Other City,” Justice Not Jails, July
4, 2018.

“Councilmember Harris-Dawson Joins Community Groups to Urge State and Local Officials to
End Cash Bail: New study from UCLA’s Million Dollar Hoods Project highlights the
disproportionate Price for Freedom,” Los Angeles Sentinel, May 17, 2018.

Mother’s Day Bailout press conference (Skid Row, Los Angeles), May 10, 2018

“We Live as Second-Class Citizens: What It’s Like to Face Border Patrol Agents Every Day,” The
Guardian, May 3, 2018.

“Many Latinos Answer Call of the Border Patrol in Age of Trump,” Los Angeles Times, April 23,
2018.

Mexican Americans and the History of U.S. Anti-Cannabis Laws, Mitu (first posted February 2018)


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“The American Detention Machine,” The Atlantic, February 23, 2018

“The Double Punishment for Black Undocumented Immigrants,” The Atlantic, December 30,
2017 (interviewee)

On-camera interview, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los
Angeles, C-SPAN Book TV (2017)

“Life on a Million Dollar Block,” six-week “Off the Block” series for KCRW (NPR affiliate) based
on Million Dollar Hoods mapping project. September/October 2016.

Interviews with the following outlets in response to Donald Trump’s deportation and border
enforcement strategy: Los Angeles Times, New York Times, Washington Post, The Intercept, and
FactCheck.org.

“A Two-Minute History of Operation Wetback” . CNN. First aired January 2016.

Podcast, “The Carceral State,” Journal of American History. Conducted June 2015.

On-air interview, “States, Feds Battle over Border Control,” The World hosted by Marco Werman
for Public Radio International. Interview conducted in July 2010.

On-camera interview for History Channel production entitled, “El Camino Real” on the history of
the Spanish mission system in California. Interview conducted on August 11, 2005

Consultant and on-camera interview for History Channel production entitled, “The Border Patrol.”
Interview conducted spring 2001.


SELECTED TALKS, PRESENTATIONS, AND LECTURES
Guest Speaker, American Civil Liberties Union of Southern California, October 4, 2019

City of Inmates book talk, The Bail Project (Los Angeles), June 25, 2019

Nation of Settlers, Build Power! Launch Party (Hollywood), May 16, 2019

Million Dollar Hoods, Institute for Research on Labor and Employment (UC Berkeley), May 14,
2019

Keynote, Nation of Settlers, Teaching History Conference (UCLA), May 3, 2019

Keynote, City of Inmates book talk, Los Angeles County Alternatives to Incarceration
Workgroup Retreat, April 26, 2019

Keynote, Million Dollar Hoods, Oberlin College, April 24, 2019

Keynote, Immigrant Detention Conference, University of Maryland, March 28, 2019

Keynote, Immigration Conference, California State University, Sacramento, March 7, 2019


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Panelist, The Future of Incarceration, The State of Black California Conference (Sacramento,
CA), February 27, 2019

City of Inmates book talk, Marquette University, February 21, 2019

City of Inmates book talk, University of Wisconsin - Madison, February 22, 2019

Keynote, Mass Deportation/Incarceration, LatinoJustice, November 16, 2018

Panelist, “Sorry to Bother You” Screening at UCLA, November 6, 2018

Panelist, Men’s Empowerment Conference hosted by KJLH and Senator Bradford at California
State University, Dominguez Hills, September 8, 2018.

Keynote, New Left Coast Forum hosted by L.A. Progressive at Los Angeles Trade Tech, August
24, 2018.

Panelist, People Power Conference sponsored by the Community Coalition (South Central Los
Angeles), June 9, 2018.

Presentation, “The Facts and Fictions of Latinos and the U.S. Criminal Justice System,”
LatinoJustice convening at UCLA, May 29, 2018

City of Inmates book talk, California Historical Society (San Francisco, CA), May 23, 2018.

City of Inmates book talk for Los Angeles Department of Public Health, May 31, 2018.

Guest Presentation, Women and Incarceration in LA, for A New Way of Life Fundraiser (Los
Angeles), May 19, 2018.

Press conference on money bail. Sponsored by Community Coalition (South Central Los
Angeles), May 15, 2018.

Comments, Dream Mentor Program organized by the Miller Center at the University of Virginia
(Charlottesville, CA), May 10, 2018.

Keynote, Caughey Foundation Lecture at the Autry Museum (Los Angeles, CA), April 29, 2018

Keynote, Public Records and the Movement to End Mass Incarceration, California Public
Records and Open Meetings Conference (Los Angeles, CA), April 27, 2018

Book talk, City of Inmates, University of North Texas (Denton, TX), April 26, 2018.

Book talk, City of Inmates, Pan-African Studies Department at California State University, Los
Angeles (Los Angeles, CA), April 23, 2018.

Book talk, City of Inmates, Main Museum (Los Angeles, CA), April 19, 2018.

Book talk, City of Inmates, Cerritos Community College (Los Angeles, CA), April 19, 2018.



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Panelist, Crimmigration, Organization of American Historians Annual Meeting (Sacramento, CA)
April 12, 2018

Keynote, Death by Police conference at University of Illinois at Urbana-Champagne, April 11,
2018

Public Talk, Labor and the Crisis of Mass Incarceration, United Food and Commercial Workers
Local 770 (Los Angeles, CA), March 15, 2018

Book talk, City of Inmates, University of California, Berkeley, March 14, 2018.

Book talk, City of Inmates, California State University, Channel Islands, February 28, 2018.

Moderator for a public conversation with Patrisse Khan-Cullors and Asha Bandele, When They
Call You a Terrorist: A Black Lives Matter Memoir (2018) at The California Endowment (Los
Angeles, CA), February 14, 2018

Book talk, City of Inmates, Immigration History Research Center, University of Minnesota,
January 25, 2018.

Moderator for a public Conversation with Heather Anne Thompson, Blood in the Water: The
1971 Attica Uprising and its Legacy at the Los Angeles Public Library, January 18, 2018.

Panelist, District 2 Town Hall, hosted by JusticeLA and White People for Black Lives,
(Hollywood, CA), January 11, 2018.

Book Talk, City of Inmates, University of Southern California (Los Angeles, CA), January 10,
2018.

Panelist, #SocialJustice with Common and Kareem Abdul-Jabbar (Los Angeles, CA), January 6,
2018

Project Talk, Million Dollar Hoods, UCLA Medical School, December 15, 2017

Book Talk, Watts Labor Community Action Center, December 14, 2017.

Expert Witness, Civil Society Meeting on Criminalization of Poverty and Homelessness with
United Nations Special Rapporteur on Extreme Poverty and Human Rights
Professor Philip Alston, (Los Angeles, CA), December 4-5, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
California State University, San Bernardino, (San Bernardino, CA), November 28, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles
ACLU-Southern California (Los Angeles, CA), November 19, 2017.

Presenter, UCLA Luskin Center for History and Policy, November 15, 2017.

Keynote Speaker, Eqbal Ahmed Symposium, Hampshire College (Amherst, MA), November 9,
2017.


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Panelist, Historians and Activism, Western History Association (San Diego, CA), November 3,
2017.

Closing Speaker, Race and Capitalism Conference, UCLA, October 20, 2017.

Presenter, UCLA Criminal Justice Faculty Workgroup, October 18, 2017.

Panelist, Beyond the Bars Conference, University of California, Los Angeles, October 14, 2017.

Presenter, The Racial and Sexual Politics of Migrancy and Border Control, University of
Michigan Centennial Event, October 13, 2017

Keynote Address/Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human
Caging in Los Angeles, Latino Studies University of Michigan (Ann Arbor, MI), October 12,
2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Warren Center at Harvard University (Cambridge, MA), September 19, 2017.

LAPD Recruit Training Session. Los Angeles, CA, August 14, 2017.

Million Dollar Hoods, Building Healthy Communities – Long Beach, California, August 9, 2017

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Book Soup (Hollywood, CA), August 6, 2017.

Plenary Panel, Labor and Working Class History Association 2017 Meeting (Seattle, WA), June
22, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Skylight Books (Los Angeles, CA), May 18, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
University of California, San Diego, May 18, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Claremont College of Theology (Claremont, CA), May 2, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Eso Won Book Store (Los Angeles, CA), April 26, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Occidental College (Pasadena, CA), April 25, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
California State Univeristy, Dominguez Hills, April, 20, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Tarleton College (Texas), April 18, 2017.



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Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Southern Methodist University (Dallas, Texas), April 17, 2017.

Keynote, Western History Association Lecture at University of Oklahoma. April 13, 2017.

Keynote, National Humanities Center, March 30, 2017.

Presenter, Laying Down the Law Symposium at University of Nebraska at Lincoln, November
16-17, 2017.

Million Dollar Hoods, South Central (Los Angeles) Re-Entry Coalition, September 11, 2016.

Million Dollar Hoods, California Endowment, September 18, 2016.

Plenary Session/Podcast, “Behind the Scholar’s Studio: Inside the World of Latino Studies,”
American Historical Association – Pacific Coast Branch. August 6, 2016.

Public Lecture, “Caged Birds: Immigration Control and the Rise of Mexican Imprisonment in the
United States,” Franklin and Marshall College. Lancaster, Pennsylvania. March 21, 2016.

Presenter, Immigration since 1965 Conference hosted at University of Texas, Austin. March 4-5,
2016.

Public talk, “Caged Birds: Conquest and the Rise of Mexican Imprisonment in the United States,”
Puget Sound University. February 29, 2016.

Discussant, UCLA Emerging Immigration Scholars Conference. February 26, 2016.

Keynote Address, “Caged Birds: Conquest and the Rise of Mexican Imprisonment in the United
States,” Caged/Uncaged Graduate Student Conference. University of California, Los Angeles.
January 29, 2016.

Keynote Address, “Caged Birds: Conquest and the Rise of Mexican Imprisonment in the United
States,” Borderlands Conference, University of Texas at El Paso. November 6, 2015.

Lecture, “The Colonial Origins of the Carceral State,” From the Color Line to the Carceral State:
Policing, Prisons, and Surveillance in the 20th and 21st Centuries conference, Stony Brook
University and Fairfield University. October 27-28, 2015.

Panelist, “Legal Borderlands,” Annual Meeting of the Western History Association. October 24,
2015.

Panelist, “Reforming Deportees: Race, Incarceration, and the Settler State during the New Deal
Era,” Annual Meeting of the Western History Association. October 22, 2015.

Public Talk, “The History of Race and Policing in Los Angeles,” LAPD Trust Talks organized by
the Downtown Clergy Council, Skid Row. October 3, 2015.

“Caged Birds: Conquest and the Rise of Mexican Imprisonment,” plenary panel, Annual Meeting
of the Organization of American Historians. St. Louis, Missouri. April 18, 2015.


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“Caged Birds: Conquest and the Rise of Mexican Imprisonment,” Immigration Conference,
Columbia University. April 4, 2015.

“Caged Birds: Conquest and the Rise of Mexican Imprisonment,” Department of History, Yale
University. March 31, 2015.

Panelist, “Is there an LA School of Western History?” Western History Association Annual
Meeting. Newport Beach, California. October 17, 2014.

Presenter, “Borderlands,” NEH-Newberry Workshop. Chicago, Illinois. June 23, 2014

Lecture, “Caged Birds: Conquest and the Rise of Mexican Incarceration,” University of
California, Davis Law School. September 11, 2014.
Public Lecture, “Caged Birds: Conquest and the Rise of Mexican Imprisonment,” University of
California, Santa Barbara. May 20, 2014.

Public Talk, “Caged Birds,” Linfield College. McMinnesville, Oregon. May 6-7, 2014.

OAH Distinguished Lecture at University of Missouri. April 24, 2014.

Panelist, Mass Incarceration/Mass Deportation,” UCLA Labor Center. April 19, 2014.

Discussant, UCLA-COLEF Migration Conference. November 22, 2013.

Keynote Discussant for Douglas Blackmon’s Talk, “Slavery by Another Name,” Historians
Against Slavery Conference. Cincinnati, Ohio. September 19, 2013.

Workshop for K-12 History teachers on California History. UCLA History-Geography Project.
June 13, 2013.

TAH-OAH Public Talk, “A History of U.S. Immigration Control.” Rockford, Illinois. January 26,
2013

TAH workshop, “California Under Three Flags,” UCLA History-Geography Project. January 22,
2013.

OAH Distinguished Lecturer Public Talk, “Hoboes in Heaven: Race, Manifest Destiny, and the
Rise of Los Angeles,” Purdue University. March 7, 2013.

Public Talk, “The Invention of Immigrant Detention,” University of California, Berkeley, Boalt
Law School. March 20, 2014.

Book Talk, MIGRA! A History of the U.S. Border Patrol, at the Center for the Study of the
Pacific Northwest, University of Washington, Seattle. May 17, 2012.

Keynote Address, “Amnesty or Abolition? Felons, Illegals, and America’s Unfinished Abolition
Movement,” Immigration Policy and Reality Symposium, San Jose State University, April 13,
2012.




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Working Paper, “Rebellion from the Jail: A History of Community, Incarceration, and Revolution
in Los Angeles, 1900 – 1910,” Sunbelt Prisons Conference, Southern Methodist University,
March 24, 2012.

Book Talk, MIGRA! A History of the U.S. Border Patrol at the Center for Comparative
Immigration Studies at the University of California, San Diego. February 21, 2012.
Public Lecture, “Hobos in Heaven: Tramps, Chain Gangs, and the Rise of Los Angeles,”
University of Indiana. February 26, 2012.

Public Talk, “Amnesty or Abolition: Felons, Illegals, and America’s Unfinished Abolition
Movement,” Boxcar Books, Bloomington, Indiana. February 26, 2012.

Conference Paper, “Rebellion from the Jails: A History of Incarceration and Community in Los
Angeles, 1907-1910,” Sunbelt Prisons workshop, University of Colorado, Boulder. September 15-
16, 2011

Keynote Address, Latino/a Scholars Luncheon, 2011 American Historical Association-Pacific
Coast Branch Meeting. Seattle, Washington. August 11, 2011.

K-12 Teacher Training, “History of Immigration Control,” Denver, Colorado School District.
July 11, 2012. Los Angeles, California.

Panel Participant, “Prison State: Incarceration in California,” UCLA Department of History, Why
History Matters series. Autry Museum. May 11, 2011.

Panel moderator, conference for the UC Center for New Racial Studies. UCLA. April 22, 2011.

Presenter, “MIGRA! A History of the U.S. Border Patrol,” Critical Race Studies Symposium –
Race and Sovereignty. UCLA Law School. April 2, 2011.

Book Talk, “MIGRA! A History of the U.S. Border Patrol,” Arizona State University. March 25,
2011.

Keynote Address, “Beyond Borders: Migration and the Next California,” Symposium to celebrate
the launching of Boom: A Journal of California (University of California Press). Davis,
California. March 10, 2011.

Presenter, “Hoboes in Heaven: Tramps, Convict Labor and the Rise of Los Angeles, 1880-1910,”
Autry Western History Workshop. November 30, 2010

Panelist, “Hoboes in Heaven: Tramps, Convict Labor and the Rise of Los Angeles, 1880-1910,”
Latin American Studies Association. Toronto. October 8, 2010.

Book talk, “MIGRA! A History of the U.S. Border Patrol,” UCLA Law School. October 4, 2010.

Panel moderator, Forty Years of Ethnic Studies at UCLA. May 13, 2010

Panelist, “Crossing Borders, Creating Borders: Nations, Migrants, and Constructions of Law,”
2009 Annual Meeting of the Association of American Law Schools. San Diego, California.
January 9, 2009.


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Keynote lecture series, Los caminos de la exclusión: migración y racismo en la historia de los
Estados Unidos de América. Sponsored by Sociedad y Estado en el México Moderno del
Posgrado de Historia y Etnohistoria de la Escuela Nacional de Antropología e Historia y el
Proyecto de Investigación “Nación y Extranjería en México.” Mexico City. December 7-11,
2009.

K-12 Teacher Training, “U.S.-Mexico Relations: Immigration Policy,” UCLA History-
Geography Project’s Teaching American History Summer Institute. Glendale, California. July
17, 2008.

Panel Participant, “Immigration Control in the Carceral Era,” invited presentation at University of
Texas at Austin. 22nd Annual Hemann Sweatt Civil Rights Symposium. March 26, 2008.

K-12 Teacher Training, “Gold Rush to Gold Rush: African American Migration to California,
1848 to 1944,” presentation for the National Center for History in the Schools. University of
California, Los Angeles. August 17, 2007.

K-12 Teacher Training, “The Long Civil Rights Movement: New Strategies in Teaching the Civil
Rights Movement,” presentation for the UCLA History-Geography Project’s Teaching American
History Summer Institute. Glendale, California. July 28, 2007.

Training Workshop, “Where Do We Go From Here?: New Strategies in Teaching Late
Twentieth Century American History,” 2007 OAH Community College Workshop at El Camino
Community College. Torrance, California. June 23, 2007.

K-12 Teacher Training, “A History of the Problem of Illegal Immigration at the U.S.-Mexico
Border,” presentation for the Latin American Immigrants and Mobile Communities in the United
States Conference for Teachers, sponsored by the UCLA Latin American Center. April 20, 2007.

K-12 Teacher Training, “The Making of MexAmerica: Race, Migration, and Incorporation in the
19th and 20th Centuries,” presentation for the National Center for History in the Schools at the
University of California, Los Angeles. January 19, 2007.

Chair, “Smuggling in the Southwest Borderlands: State Regulation and Resistance,” panel at the
2007 Annual Conference of the Western History Association. Oklahoma City, Oklahoma.
October 3-6, 2007

“The Crimes and Consequences of Illegal Immigration: A Cross-Border Examination of
Operation Wetback, 1943-1954,” presented at the Annual Conference of the Organization of
American Historians held from April 19-22, 2006 in Washington, DC.

“Negotiating the Barrier: Migration Control and Social Order between the U.S. and Mexico
during the Bracero Era, 1942 – 1964,” presented at the Latin American Studies Association 2004
Conference held from October 7-9, 2004 in Las Vegas, Nevada.

“Constructing the Criminal Alien: A Historical Framework for Analyzing Border Vigilantes at the
Turn of the 21st Century” presented at the Center for Comparative Immigration Studies at the
University of California, San Diego. La Jolla, California. October 7, 2003.




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“Distant Origins: The U.S. Border Patrol and the Mexican Roots of Race in the United States, 1924-
1965” presented at the XI Reunion de Historiadores Mexicanos, Estadounidenses y Canadienses.
Monterrey, Mexico. October 1-4, 2003.




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                      Exhibit M

       Gonzalez O'Brien CV




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                                  Benjamin Gonzalez O’Brien
                                     Associate Professor of Political Science
                                          San Diego State University
                                               5500 Campanile Dr.
                                              San Diego, CA 92182
                                             Phone: (619)594-3072
                                       Email: bgonzalezobrien@sdsu.edu


  Education
  Ph.D., Political Science                                  2014, University of Washington


  M.A., Political Science                                   2009, University of Washington


  M.A., Political Science                                   2007, University of Victoria


  B.S., Political Science & Psychology                      2001, University of Oregon




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Benjamin Gonzalez O’Brien                                                                      Curriculum Vitae

Teaching Positions
August 2018-present                                                    Associate Professor
San Diego State University                                             Political Science


2014-2018                                                              Professor (Tenured) 1
Highline College                                                       Political Science


2013-2014                                                              Lecturer
University of Washington-Tacoma                                        Political Science


2007-2013                                                              Teaching Assistant
University of Washington                                               Political Science




Publications
Refereed Books
1) Collingwood, Loren and Benjamin Gonzalez O’Brien. 2019. Sanctuary Cities: The Politics of Refuge Oxford,
England: Oxford University Press, in press.



2) Gonzalez O’Brien, Benjamin. 2018. Handcuffs and Chain Link: Undocumented Immigration and the Politics
of Criminality. Charlottesville, VA: University of Virginia Press.




  1
      Highline does not have academic ranks for tenured faculty.


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Benjamin Gonzalez O’Brien                                                                   Curriculum Vitae

Refereed Journal Articles
1) McGuire, William, Benjamin Gonzalez O’Brien, Katherine Baird, Benjamin Corbett, and Loren Collingwood.
”Does Distance Matter? Evaluating the Impact of Drop Boxes on Voter Turnout.” Social Science Quarterly,
forthcoming.

2) Gonzalez O’Brien, Benjamin. “Reacting to Refuge: Presidential Responses to Sanctuary Policies under the
Reagan, Bush, and Trump Administration.” in Trump: Anti-immigrant Rhetoric, Actions, and Policies 2017-2019,
CISAN, UNAM, forthcoming.

3) Gonzalez O’Brien, Benjamin, Elizabeth Hurst, Justin Reedy, and Loren Collingwood.“Framing Refuge: Me-
dia, Framing, and Sanctuary Cities.” Mass Communication and Society, Vol 22(6): 756-778.
https://doi.org/10.1080/15205436.2019.1685106

4) Gonzalez O’Brien, Benjamin. “Sanctuary Cities”. In Oxford Bibliographies in Latino Studies. Ed. Ilan
Stavans. New York: Oxford University Press, 26 Feb. 2020.
https://www.oxfordbibliographies.com/view/document/obo-9780199913701/obo-9780199913701-0141.xml

5) Collingwood, Loren and Benjamin Gonzalez O’Brien. “Covert Cross-Racial Mobilization, Black Activism,
and Political Participation Pre-Voting Rights Act.” Florida Historical Quarterly, vol. 97(4): 435-463.



6) Gonzalez O’Brien, Benjamin, Matthew Barreto, and Gabriel Sanchez. 2019. “They’re All Out to Get Me! As-
sessing Inter-Group Competition Among Multiple Populations.” Politics, Groups, and Identities, published online
01 Jul. 2019, awaiting assignment to print edition.
https://doi.org/10.1080/21565503.2019.1629305



7) Collingwood, Loren, Benjamin Gonzalez O’Brien, and Joe Tafoya. 2019. “Partisan Learning or Racial Learn-
ing: Opinion Change on Sanctuary City Policy Preferences in California and Texas.” Journal of Race, Ethnicity,
and Politics, vol. 5(1): 92-129.
https://doi.org/10.1017/rep.2019.25



8) Collingwood, Loren and Benjamin Gonzalez O’Brien. 2019. “Public Opposition to Sanctuary Cities in Texas:
Criminal Threat or Latino Threat?” Social Science Quarterly, vol. 100(4): 1182-1196.
https://doi.org/10.1111/ssqu.12632



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Benjamin Gonzalez O’Brien                                                                   Curriculum Vitae

9) Collingwood, Loren, Stephen El-Khatib and Benjamin Gonzalez O’Brien. 2018. “Sustained Organizational
Influence: The American Legislative Exchange Council and the Diffusion of Anti-Sanctuary Policy.” Policy Stud-
ies Journal, 44(3): 735-773.
https://doi.org/10.1111/psj.12284



10) Collingwood, Loren, Benjamin Gonzalez O’Brien, and Sarah Dreier. 2018. “Evaluating Ballot Initiative
Support for Legalized Marijuana: The Case of Washington.” International Journal of Drug Policy, Vol. 56 (June):
6-20.
https://doi.org/10.1016/j.drugpo.2018.02.010



11) Collingwood, Loren, William McGuire, Benjamin Gonzalez O’Brien, Katie Baird and Sarah Hampson. 2018.
“Do Drop Boxes Improve Voter Turnout? Evidence from King County, Washington.” Election Law Journal, Vol.
17(1): 58-72.
https://doi.org/10.1089/elj.2017.0450



12) Gonzalez O’Brien, Benjamin, Loren Collingwood, and Stephen Omar El-Khatib. 2017. “The Politics of
Refuge: Sanctuary Cities, Crime, and Undocumented Immigration” Urban Affairs Review, Vol. 55(1): 3-40.
https://doi.org/10.1177/1078087417704974

13) Barreto, Matt, Betsy Cooper, Benjamin Gonzalez O’Brien, Chris Towler, and Christopher Parker. 2012. “The
Tea Party in the Age of Obama: Mainstream Conservatism or Out-Group Anxiety?” Political Power and Social
Theory. 22:1(Jan): 105-137.
https://doi.org/10.1108/S0198-8719(2011)0000022011



Non-Refereed Book Chapters
1) Barreto, Matt, Gabriel Sanchez and Benjamin Gonzalez O’Brien. 2013. “Rainbow Coalition in the Golden
State? Exposing Myths, Uncovering New Realities in Latino Attitudes Towards Blacks.” In Laura Pulido and Josh
Kun (eds.) Black and Brown Los Angeles: A Contemporary Reader: 1-36. Berkeley, CA: University of California
Press.



2) Barreto, Matt, Loren Collingwood, Benjamin Gonzalez O’Brien, and Chris Parker. 2011. “Tea Party Politics
in a Blue State: Dino Rossi and the 2010 Washington Senate Election.” In William Miller and Jeremy Walling

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Benjamin Gonzalez O’Brien                                                                      Curriculum Vitae

(eds.) Tea Party Effects on 2010 U.S. Senate Elections: Stuck in the Middle to Lose: Tea Party Effects on 2010 U.S.
Senate Elections: 255-272. Rowan and Littlefield Publishing Group.

Non-Refereed Publications
Gonzalez O’Brien, Benjamin. 2020. ”Washington is safer because of its sanctuary status.” The Seattle Times,
January 1st, 2020.

Gonzalez O’Brien, Benjamin. 2019. “No, Ken Blackwell, sanctuary city policies aren’t a threat to anyone”. The
Hill, October 24, 2019.
https://thehill.com/opinion/immigration/467294-no-ken-blackwell-sanctuary-city-policies-arent-threat-to-anyone

Gonzalez O’Brien, Benjamin. 2018. “The 1929 Law That Turned Undocumented Entry Into a Crime”. Zocalo
Public Square, November 27, 2018.
https://www.zocalopublicsquare.org/2018/11/27/1929-law-turned-undocumented-entry-crime/ideas/essay/

Gonzalez O’Brien, Benjamin. 2017. “The Trump team’s mythology on sanctuary city crime rates”. The Seattle
Times, July 23rd, 2017.
https://www.seattletimes.com/opinion/the-trump-teams-mythology-on-sanctuary-city-crime-rates/

Gonzalez O’Brien, Benjamin and Loren Collingwood. 2017. “How conservative media and Jeff Sessions got it
wrong on sanctuary cities”. The Hill, July 14th, 2017.
https://thehill.com/blogs/pundits-blog/immigration/342043-how-conservative-media-and-jeff-sessions-got-it-wrong-
on

Collingwood, Loren, Benjamin Gonzalez O’Brien and Stephen El-Khatib. 2017. “Jeff Sessions used our research
to claim sanctuary cities have more crime. He’s wrong.” Washington Post Monkey Cage, July 14, 2017.
https://www.washingtonpost.com/news/monkey-cage/wp/2017/07/14/jeff-sessions-used-our-research-to-claim-that-
sanctuary-cities-have-more-crime-hes-wrong/?utmt erm = .de1f 041b8cb3

Collingwood, Loren, Benjamin Gonzalez O’Brien, and Stephen El-Khatib. 2017. “Sanctuary Cities Do Not Ex-
perience an Increase in Crime”. Washington Post Monkey Cage, October 3, 2016.
https://www.washingtonpost.com/news/monkey-cage/wp/2016/10/03/sanctuary-cities-do-not-experience-an-increase-
in-crime/?utmt erm = .aecb2d3f 1bf 1




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Benjamin Gonzalez O’Brien                                                                    Curriculum Vitae

Participation in Professional Organizations
2019 Local Democracy Academy (June) Umea, Sweden. “Criminalizing Refuge: Sanctuary Cities and the Politics
of Immigration in the United States”

2019 CISAN/UNAM Trump: Anti-immigrant rhetoric, actions and policies 2017-2019 conference (February) Mex-
ico City, Mexico. “Reactions to Refuge: Presidential Responses to Sanctuary Policies under the Reagan, Bush, and
Trump Administrations”

2018 American Political Science Association Annual Meeting (September) Boston, MA. “Framing Refuge: Media
Coverage of Sanctuary Cities 1980-2017”

2018 Election Sciences, Reform, and Administration conference (July) Madison, WI. “Evaluating the Impact of
Drop Boxes on Voter Turnout”

2018 Western Political Science Association Annual Meeting (March) San Francisco, CA. “Framing Refuge: Parti-
sanship, Crime, and Media Coverage of Sanctuary Cities”

2017 Law and Society Association Annual Meeting (June) Mexico City, Mexico. “The Politics of Refuge: Sanctu-
ary Cities, Crime, and Undocumented Immigration”

2017 Western Political Science Association Annual Meeting (April) Vancouver, BC. “Voter Turnout in King County
Washington: Do Dropboxes Matter?”

2017 Western Political Science Association Annual Meeting (April) Vancouver, BC. “The Politics of Refuge: Sanc-
tuary Cities, Crime, and Undocumented Immigration”

2016 American Political Science Association Annual Meeting (September) San Francisco, CA. “Inter-Group Atti-
tudes Among Multiple Populations: Competition and Context”

2016 Western Political Science Association Annual Meeting (March) San Diego, CA. “Laughing Away Prejudice?
Evaluating the Role of Comedy in Reducing Anti-Muslim Attitudes”

2016 Western Political Science Association Annual Meeting (March) San Diego, CA. “Gimme Shelter: The Myth
and Reality of the American Sanctuary City”

2015 Western Political Science Association Annual Meeting (April) Las Vegas, NV. “IRCA, IIRIRA and the Cost
of Critical Policy Failures”


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Benjamin Gonzalez O’Brien                                                                  Curriculum Vitae

2014 Politics of Race, Immigration, and Ethnicity Consortium Meeting (November) Eugene, OR. “Path Depen-
dence and Immigration Policy in the 1920s”

2014 Western Political Science Association Annual Meeting (April) Seattle, WA. “Path Dependence and Immigra-
tion Policy in the 1920s”

2013 American Political Science Association Annual Meeting (September) Chicago, IL. “Towards Crimmigration:
Path Dependence and the Evolution of Immigration Policy.”

2013 Midwestern Political Science Association Annual Meeting (April) Chicago, IL. “Towards Crimmigration:
Path Dependence and the Evolution of Immigration Policy.”

2012 Law and Societies Association Annual Meeting (June) Oahu, Hawaii. “Towards Crimmigration: Path Depen-
dence and the Evolution of Immigration Policy.”

2012 Western Political Science Association Annual Meeting (March) Portland, OR. “The Undocumented Threat:
Beliefs, Policy Preferences, and the Politics of Immigration.”

2011 Pacific Northwest Political Science Association Annual Meeting (October) Seattle, WA. “An Examination of
Inter-Group Attitudes Among Multiple Populations: The Role of Neighborhood Context and Group-Based Threat.”

2011 American Political Science Association Annual Meeting (September) Seattle, WA. “An Examination of Inter-
Group Attitudes Among Multiple Populations: The Role of Neighborhood Context and Group-Based Threat.”

2011 Politics of Race, Immigration and Ethnicity Consortium Meeting (May) Davis, CA. “The Undocumented
Threat: Beliefs, Policy Preferences and the Politics of Immigration.”

2010 International Society of Political Psychology Annual Meeting (July) San Francisco, CA. “An Examination of
Inter-Group Attitudes Among Multiple Populations: The Role of Neighborhood Context and Group-Based Threat.”

2010 Western Political Science Association Annual Meeting (April) San Francisco, CA. “Declaring Sanctuary:
Politics, History and the Enforcement of Immigration Policy.”

2009 Pacific Northwest Political Science Association Annual Meeting (October) Victoria, BC. “Immigration En-
forcement’s Discontents: The Creation and Endurance of the American Sanctuary City.”

2009 Political Psychology and Immigration Conference (April) Austin, TX. “Correcting Misperceptions: Undocu-
mented Immigrants, Group Size and Political Attitudes.”

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Benjamin Gonzalez O’Brien                                                               Curriculum Vitae

2009 Western Political Science Association Annual Conference (March) Vancouver, BC. “Correcting Mispercep-
tions: Undocumented Immigrants, Group Size and Political Attitudes.”


Teaching
Thesis or Comprehensive Exam Supervision

Spring 2019-Spring 2020: Cynthia Neira, Masters
Committee Member:        American Foreign Policy and Latin American Politics comprehensive examination



Fall 2020-Spring 2020: Jereme Umali, Masters
Committee Member: Racial & Ethnic Politics comprehensive examination



Courses Taught, San Diego State University
Introduction to American and California Government, Political Science 102
Politics of Race and Ethnicity, Political Science 333
The Legislative Process, Political Science 338
Immigration and Border Politics, Political Science 430

Courses Taught, Highline College
Introduction to Political Science, Political Science 101
American Government, Political Science 202
Introduction to International Relations, Political Science 203
Comparative Government, Political Science 204
Racial and Ethnic Politics, Political Science 217

Courses Taught, University of Washington-Tacoma
Introduction to American Politics, Political Science 202
Mass Media and Politics, Political Science 300
Politics of Race and Ethnicity in the United States, Political Science 317
United States Congress, Political Science 353
Advanced Campaigns and Elections, Political Science 405



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Benjamin Gonzalez O’Brien                                                          Curriculum Vitae

Service
Service for the Department, San Diego State University

1) Fall 2019-present                               Adviser, Washington Center Internship Program
2) Fall 2019-present                               Adviser, Sacramento Internship Program
3) Fall 2019-present                               Member, Diversity Planning Committee
4) Fall 2019-present                               Member, Graduate Committee
5) Fall 2018-present                               Department Secretary
6) Fall 2018-Spring 2019                           Member, Scholarship Review Committee




Service for the College of Arts & Letters

1) Spring 2019                                     Member, Critical Thinking Grant Committee




Service, Highline College

1) Fall 2017-Spring 2018                           Division Senator, Faculty Senate
2) Fall 2015-Spring 2017                           Member, Graduation Review Committee
3) Fall 2015-Spring 2016                           Member, Faculty Advising Committee




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Benjamin Gonzalez O’Brien                                                      Curriculum Vitae

Service to the Profession

2019                                            Session Leader, Local Democracy Academy
2019                                            Co-organizer, ”Immigration Politics and Policy
                                                in the Age of Trump” conference at UCSD
2019                                            Reviewer, State and Local Government Review
2019                                            Reviewer, Social Inclusion
2018                                            Reviewer, Urban Affairs Review
2018                                            Panelist, 2018 Pearson-Chambers Symposium on the
                                                2018 election, Univ. of San Diego
2018                                            Reviewer, Urban Affairs Review
2018                                            Reviewer, Sociological Quarterly
2016                                            Reviewer, Politics, Groups, and Identities




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                      Exhibit N

          Docs of conviction




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                  IN THE SIXTH JUDICIAL DISTRICT COURT OE^He'sT^CEOF NEVADA,
           6
                                    IN AND FOR THE COUNTY OF HUMBOLDT.
           7
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           8

           9
                STATE OF NEVADA,
           10
                                    Plaintiff,
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                        vs.                                             AMENDED INFORMATION


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           13
                GUSTAV^CA^ILLO
C               DOB: ^^H'1976,.
           14
                                    Defendant./
           15
      i
    A. 3

           16
                        MICHAEL    MACDONALD,    District    Attorney       of    Humboldt   County,
           17
                Nevada, in the name and by the authority of the State,of Nevada,
           18
                informs the Court:
           19
                                                    COUNT I
           20

                              TRAFFICKING IN A CONTROLLED SUBSTANCE-LEVEL III,
           21
                                            A CATEGORY A FELONY
           22                         AS DEFINED BY NRS 453.3385(1)(c)

           23           That    the   Defendant    did   knowingly,   willfully,,
                        unlawfully    and   intentionally   sell,   manufacture,
           24           deliver or bring into this state or was knowingly or
                        intentionally in actual or constructive possession of
           25
                        any controlled substance which is listed in schedule
           26           I, except marijuana, or any mixture which contains any
                        such   controlled  substance,  and   that the   quantity
           27           involved is in excess of twenty-eight. (28) grams, in
                        the following manner, to^wit:     That on or about the
           28           13th day of. June, 2019, at or near the location of
                        3520- Georgia Circle, Winnemucca, County of Humboldt,

                                                                                    USAO 000004




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                          State of Nevada, the Defendant did possess a zip-lock
                 1
                          baggie located in a clothes basket in the bathroom,
                 2        containing 28 grams or more of methamphetamine, a
                          Schedule I Controlled Substance.
                 3
                         All of which is contrary to the form of the statute in such
                 4
                     cases made and provided and against the peace and dignity of the
                 5

                 6   State of Nevada.


                 7       That the        names of all witnesses            who   will testify for the

                 8   State    of   Nevada     in   said   action   that    are   known   to   the    District

                 9
                     Attorney      at   the   time    of    the    filing' of    this    Information       are
                10
                     listed   with      addresses    on    the   annexed   Exhibit "A" and          the   names
                11
                     of all other witnesses who will testify for the State of Nevada
c        vo     12
         5
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                     that become known to the District Attorney before time of trial
                13
    ON   4
                14   will be endorsed hereon by subsequent Exhibit.
S
                15   Furthermore, pursuant to NRS 239B.030., the undersigned hereby
R Ph I               affirms this document does not contain the social security
                16   number of any person.
O        8
o .1
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O               18
                                                                           R. GORDON
                19                                               Deputy District Attorney

                20

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                                               EXHIBIT "A"
               1
                                               INFOBMft.TION

              2                     Natntas and Addresses Known to the
                                    District Attorney at the time of
              3                          Filing of the Information

              4

               5
                   ANGEI^ARDENAS

               6   Winnemucca, NV

               7   MARIO MURILLQ

               8   Winnemucca, NV

               9
                   DAV^JALL^^^
              10
                   Winnemucca, NV
              11
                   JASON FRANKLIN
       vo     12
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                   Winnemucca, NV
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E <5^ 'S
              14   DAMON KUSKIE
Q §2
Sh m
              15   (innemucca,
Ed S
              16   CHRIS LININGER

              17
                   Winnemucca, NV
              18
                   CHEMIST
              19   Washoe County Crime Lab
                   911 Parr Blvd
              20   Reno, NV 89512

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                                       CERTIFICATE OF SERVICE
            1

            2        Pursuant to NRCP 5(b), I certify that I am an employee O'f

            3   the Humboldt County District Attorney's Office, and that on the

            4   ID    day of December, 2019, I delivered a true copy of the
            5
                AMENDED INFORMATION to:
            6
                          RENDAL MILLER
            7             Miller Law, Inc.
                        . 115 W. Fifth Street #2
            8             Winnemucca, NV 89445
            9
                  )U.S. Mail
           10     )Certified Mail
                  )Hand-delivered
           11    X)Placed in DCT Box
                  )Via Facsimile
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                   Case No.          CR19-7086

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                                                                                     DISIX
              4
                     IN THE SIXTH JUDICIAIi DISTRICT COURT OF THE STATE OF NEVADA,
              5

              6                             IN AND FOR THE COUNTY OF HUMBOLDT.


               7                                                          -oOo-


              8    THE STATE OF NEVADA,

               9
                                            Plaintiff,
              10   vs.



              11   GUSTAVO CARRILLO,

<J   vo       12                            Defendant.            /
H    5
hH   ^        13
                                                       GUILTY PLEA AGREEMENT
□ ON '
              14
p Sz                       I    hereby       agree      to    plead             guilty     to:      TRAFFICKING             IN   A
         of
              15
                   CONTROLLED SUBSTANCE-LEVEL III,                           Category A Felony,                 in violation
i 1
o    M
              16

              17
                   of NRS 453.3385(1) (c) .


i*            18         My         decision      to    plead             guilty      is     based       upon         the    plea

              19   agreement in this case which is as follows:

              20           Both      parties      agree      to       a    joint     recommendation             of    ten     (10)

              21
                   years       at    time    of    sentencing.                  In    addition,         at      the    time      of
              22
                   sentencing,            the State will agree to dismiss District Court case
              23
                   number       CR19-7125,        which      was           waived     up     to   the         Sixth    Judicial
              24
                   District Court on December 9,                          2019.
              25

              26
                           The      State    explicitly           reserves           the   right       to      present      facts

              27   and/or       argument       through        witnesses              and/or       victims        at    time      of

              28   sentencing.             Furthermore,       the State retains the right to comment


                                                                            1                            USAO 000008




                                                                                                                            222
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                   on Defendant's crimes, past conduct and/or present evidence in
               1

              2    any form.

              3         I    understand   that if the      State    of   Nevada    has   agreed   to

              4    recommend   or stipulate to a particular sentence or has agreed

              5
                   not to present argument regarding the sentence, or agreed not to
              6
                   oppose a particular sentence, such agreement is contingent upon
               7
                   my appearance in Court on the initial sentencing date (and any
              8
                   subsequent date if the sentencing is continued).                    I understand
              9

              10
                   that if I fail to appear for any future scheduled court date in

              11   regards to this case or I commit a new criminal offense prior to

•<q    vo     12   sentencing, the State of Nevada is released from any agreement
H     5
O
«     ^
      00      13   as to sentence and would regain the full right to argue for any
Ho ™
              14
Q                  lawful sentence.
              15
      Qg                I have entered into these negotiations and have signed this
       1
       O      16
O
u                  document of my own free will without threat or promise on the
H             17
s             18
                   part of anyone other than expressed herein.
o

              19                              CONSEQUENCES OF THE PLEA

              20        I    understand   that    by   pleading    guilty   I   admit    the   facts

              21   which support all the elements of the offenses to which I now
              22
                   plead.     Also, that the State must prove the following elements
              23
                   beyond a reasonable doubt:
              24
                        1.     That on or about the 13th day of June, 2019, in
              25
                               Humboldt County, Nevada;
              26

              27        2.     I did knowingly, willfully and unlawfully;

              28        3.     Possess    a   zip-lock   baggie    located in      a   clothes


                                                                                  USAO 000009




                                                                                               223
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                                    basket in the bathroom;
             1

             2          4.          Containing 28 grams or more of methamphetamine, a

             3                      Schedule I Controlled Substance.

             4          I understand that as a consequence of my plea of guilty I
             5
                 may    be     imprisoned          for   life       with    the     possibility          of   parole
             6
                 beginning when a minimum of ten (10) years has been served; or
             7
                 for      a    definite       term       of   twenty-five           (25)        years    with        the
             8
                 eligibility          for    parole      beginning         when    a    minimum     of    ten    (10)
             9

            10    years       has    been    served,      and    may       be     fined    of    not     more    than

o           11   $500,000.00.           I understand that the law requires me to pay an

<    so     12   administrative             assessment        fee    in     the        amount     of     $25.00,       a
O    ok
a    00
            13
                 forensic fee in the amount of $60.00, a DNA assessment fee in
            14
Qgz              the amount of $3.00, and a                     DNA fee in the            amount of $150.00.
^ ffl of    15
Ed a              Furthermore, I understand that pursuant to NRS 176A.100, if I
ga I
            16
O    i
O    .9           was on probation at the time I committed this offense, probation
            17

            18
                 is not mandatory for any Category E offense to which I plead
o

            19    guilty. I understand that, if appropriate, I will be ordered to

            20   make     restitution         to   the    victim     of     the    offenses       to    which    I    am

            21
                  pleading guilty and to the victim of any related offense which
            22
                 is being dismissed or not prosecuted pursuant to this agreement.
            23
                  I   will     also    be    ordered     to     reimburse         the   State     of    Nevada       for
            24
                  expenses related to my extradition, if any.
            25

            26
                          I understand that I am not eligible for probation for the

            27    offense      to     which    I    am   pleading      guilty.            I   understand        that,

            28    except as otherwise provided by statute, the question of whether


                                                                                                USAO 000010




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                 I   receive      probation      is     in    the    discretion     of    the    sentencing
             1

             2   judge.

             3          I   understand       that     there     is     a   collateral     consequence          of

             4   removal if I am not a citizen of the United States of America, I

             5
                 have   been      advised    that     conviction       of    the   offense      for    which    I

             6
                 have   been      charged       may   have     the   consequences         of    deportation,
             7
                 exclusion       from     admission     to the       United    States     of America,          or
             8
                 denial     of    naturalization         pursuant      to    the   laws    of    the    United
             9

            10   States of America.


o           11          I understand that the District Attorney's Office shall not

<    vo     12   be bound by any oral negotiations preceding the actual execution
H
O    On
     OO
            13
S ON 'S          of this Agreement until such time as this Agreement has been
            14
Q Sz             actually executed, that is, signed, by the District Attorney or
            15
    QI           one of his authorized deputies and I have entered my plea before
 ^i  o      16
o
u                the court.
H           17
3           18
                        Further, should I, subsequent to the entry of a                                plea of
O

            19   guilty,     as    provided       for    herein,       make    application        for      Civil

            20   Commitment       and/or treatment as               an Alcoholic, pursuant to the
            21
                 provisions of NRS 458.290 to NRS 458.350, or if I make a Motion
            22
                 to Suspend or Reduce my sentence pursuant to NRS 453.3363 to NRS
            23
                 453.3405, the District Attorney shall have the absolute right to
            24
                 withdraw from this Agreement and to proceed against me upon the
            25

            26
                 original        charge    or    charges       pending      against     me,     as    if     this

            27   Agreement        had   never     been       entered       into,   or   executed        by   the

            28   parties.


                                                                                          USAO 000011




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                                                                              ?
                       I represent to the State that I have                              prior felonies.
            1

            2   The state and county where my prior felonies occurred and type

            3   of felony is as follows:

            4          A.
            5
                       B.

            6
                       C.
            7
                       Any       misrepresentation       of   my    prior    criminal       record    will
            8
                allow the State to withdraw from this plea agreement.
            9

           10          I understand that if more than one sentence of imprisonment

           11   is     imposed       and    I      am    eligible    to     serve        the    sentences

    vo     12   concurrently, the sentencing judge has the discretion to order
H   5
g aoo
^          13
                the sentences served concurrently or consecutively.
00® ^      14
O g:z;                 I understand that information regarding charges not filed,
           15
                dismissed charges or charges to be dismissed pursuant to this
           16
O
U               agreement may be considered by the judge at sentencing.
H          17
s          18
                       I    have     not    been    promised   or     guaranteed         any    particular
o

           19   sentence by anyone.             I know that my sentence is to be determined

           20   by   the     court     within      the   limits     prescribed      by     statute.      I

           21
                understand that if my attorney or the State of Nevada or both
           22
                recommend any specific punishment to the court, the court is not
           23
                obligated to accept the recommendation.
           24
                       I    understand      that   the   Division    of    Parole   and     Probation    of
           25

           26
                the Department of Motor Vehicles and Public Safety may or will

           27   prepare      a    report    for    the   sentencing       judge   before       sentencing.

           28   This    report       will    include     matters     relevant       to    the    issue   of


                                                                                     USAO 000012




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                sentencing, including my criminal history.                     I understand that
            1

            2   this      report     may    contain    hearsay     information      regarding    my

            3   background and criminal history.                My attorney and I will each

            4   have the opportunity to comment on the information contained in
            5
                the report at the time of sentencing.
            6
                                                   1MAIVER OF RIGHTS
            7
                       By entering my plea of guilty, I                  understand that I have
            8
                waived the following rights and privileges;
            9

           10          1.          The      constitutional         privilege      against   self-

           11   incrimination,        including      the   right    to   refuse   to   testify   at

i
H
    vo

    5
           12   trial, in      which event the prosecution would not be allowed to
O   o^
    CT*
M   00
           13
                comment to the jury about my refusal to testify.
23® i      14
                       2.    The constitutional right to a speedy and public trial
^ m af     15
bd I            by   an     impartial      jury,    free   of   excessive    pretrial   publicity
§^'i       16
O    8
o   .g          prejudicial to the defense, at which trial I would be entitled
           17
'
§
o          18
                to the assistance of an attorney, either appointed or retained.

           19   At trial, the state would bear the burden of proving beyond a

           20   reasonable doubt each element of the offense charged.
           21
                       3.    The constitutional right to confront and cross-examine
           22
                any witnesses who would testify against me.
           23
                       4.      The    constitutional       right    to   subpoena    witnesses   to
           24
                testify on my behalf.
           25

           26
                       5.    The constitutional right to testify in my own defense.

           27          6.    The right to appeal the conviction, with the assistance

           28   of an attorney, either appointed or retained, unless the appeal


                                                                                  USAO 000013




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                 is based upon reasonable constitutional, jurisdictional or other
             1

             2   grounds      that       challenge         the    legality         of    the     proceedings         and

             3   except as otherwise provided in subsection 3 of NRS 174.035.                                          I

             4   understand that if I wish to appeal, I must notify my attorney,
             5
                 in writing, as soon as possible, because the notice of appeal
             6
                 must   be    filed         within      thirty        (30)    days      from     the   judgment       of
             7
                 conviction.
             8
                                                     VOLUNTARINESS OF PLEA
             9

            10          I have discussed the elements of all the original charges

            11   against me with my attorney and I understand the nature of these
1
<    \o     12   charges against me.
H    5
HH   00     13
                        I    understand           that     the    state       would       have    to    prove        each
Po
            14
Qg|              element of the charge against me at trial.
            15
2 1                     I have discussed with my attorney any possible defenses and
            16
o    i
w    .9          circumstances which might be in my favor.
            17

i"          18
                        All      of     the      foregoing       elements,         consequences,            rights    and

            19   waiver     of     rights        have     been    thoroughly         explained         to    me    by my

            20   attorney.

            21
                        I    believe          that   pleading         guilty       and    accepting         this     plea
            22
                 bargain      is      in    my     best    interest          and    that    a     trial      would     be
            23
                 contrary to my best interest.
            24
                        I am signing this agreement voluntarily, after consultation
            25

            26
                 with my attorney and I am not acting under duress or coercion or

            27   by   virtue       of      any    promises       of    leniency,         except    for those          set

            28   forth in this agreement.


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                       I am not now under the influence of intoxicating liquor, a
            1

            2   controlled    substance   or other drug     which   would in    any manner

            3   impair my ability to comprehend or understand this agreement or

            4   the proceedings surrounding my entry of this plea.
            5
                       My attorney   has answered all my questions        regarding this
            6
                guilty plea agreement and its consequences to my satisfaction
            7
                and I am satisfied with the services provided by my attorney.
            8

            9
                       DATED this [() day of                            , 2019.
           10

           11
                                                        DEFENDANT
    VO     12
H
                Furthermore, pursuant to NRS 239B.030, the undersigned hereby
           13
                affirms this document does not contain the social security
           14
                number of any person.
5
^ ® of     15          Agreed to on this               of                          2019.
Ed o
           16
O   S
u .1
           17
                DEPUTY DISTRICT ATTORNEY
§'
o          18

           19                             CERTIFICATE OP COUNSEL


           20          I, the undersigned, as the attorney for the defendant named
           21
                herein and as an officer of the court hereby certify that:
           22
                       1.   I have fully explained to the defendant the allegations
           23
                contained    in   the   charges   to   which   guilty   pleas   are   being
           24
                entered.
           25

           26
                       2.   I have advised the defendant of the penalties for each

           27   charge and the restitution that the defendant may be ordered to

           28   pay.




                                                                         USAO 000015




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                    3.   All pleas of guilty offered by the defendant pursuant
            1

           2    to this agreement are consistent with all the facts known to me

           3    and are made with my advice to the defendant and are in the best

           4    interest of the defendant.

           5
                     4. To the best of my knowledge and belief, the defendant:
           6
                          a.   Is competent and understands the charges and the
           7
                               consequences      of   pleading   guilty   as   provided   in
           8
                               this agreement.
           9

           10             b.   Executed this agreement and will enter all guilty

o          11                   pleas pursuant hereto voluntarily.
H

<    VO    12             c.   Was    not   under     the   influence     of   intoxicating
H    5
O    ON
^    00    13
E ON                           liquor, a controlled substance or other drug at
OQ ON >
           14
Q Sz                           the time of the execution of this agreement.
>1 CQ oT   15
      H
    Q§              DATED this       ID day of                            , 2019.
     1u    16
O
O
H          17
9          18
O
                                                    ATTORNEY FOR DEFENDANT
           19

           20

           21

           22

           23

           24

           25

           26

           27

           28



                                                                          USAO 000016




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                1    Case No. OR     19-7086
                                                                                   FlLEr
                 2
                     Dept. No. II
                                                                             !raMRI7 PH 1:59

                                                                                iV- ;ii RAE SPERO
                                                                               DiSI COURT CLERK



                5

                           IN THE SIXTH JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA,
                 6
                                            IN AND FOR THE COUNTY OF HUMBOLDT.
                 7
                                                                   -oOo-


                     THE STATE OF NEVADA,
      C? O
                                            Plaintiff,
POgs
                     vs.                                                   JUDGMENT OF CONVICTION


Q y oiKb ^           GUSTAVO CARRILLO LOPEZ,
                                     Defendant./

Sags                            WHEREAS,on the 17"" day of December, 2020, the Defendant entered his plea of
                13
I—I     I            guilty to the charge of TRAFFICKING IN A CONTROLLED SUBSTANCE - LEVEL IE, a
t/1     .
                14
                     Category A Felony, and the matter having been submitted before die Honorable Judge hfichael
                15
                     R. Montero.

                16
                                At the time Defendant entered the plea ofguilty, this Court informed the Defendant of
                17
                     the privilege against compulsory self-incrimination, the ri^t to a speedy trial, the ri^t to a trial

                18   by jury, the right to compulsory process to compel witnesses to testify on behalf of the

                19   Defendant and the right to confront the accusers. That after being so advised, the Defendant

                20   stated that these ri^ts were understood and still desired this Court to accept the plea ofguilty.

                21              The Court having accepted the Defendant's plea of guilty, set the date ofthe 25*'' day

                22
                     ofFebruary,2020, at the hour of 9:30 am., which was continued to the 10*'' day of March,2020

                     as the time for imposingjudgment and sentence.
                23



                24
                                                                                                USAO 000017




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              Furtheonore, at the time Defimdant entered the plea of guilty and at the time ofsentencing,
   1

        Defendant was rqjresented by attomey, RENDAL MILLER; also present in Court were TAMI
   2

        RAE SPERO,Humboldt County Court Clerk or her designated agent; MIKE ALLEN,Shaiffof
   3

        Humboldt Cormty or his designated agatit; DEBBIE OKUMA, representing the Division of
   4

        Parole and Probation; and MICHAEL MACDONALD, Humboldt County District Attomey or
   5
        his designated agent, representing the State ofNevada.
   6
                  The Defendant having appeared on 10*^ day of March, 2020, represented by counsel
   7
        and Defendant having been given the opportunity to exercise the right of allocution and having
   8
        shown no legal cause whyjudgment should not be pronounced at this time.
    9
                  The above-entitled Court having pronounced GUSTAVO CARRILLO LOPEZ guilty

   10   of TRAFFICKING IN A CONTROLLED SUBSTANCE- LEVEL III, a Category A Felony, in

   U    violation of NRS 453.3385 (1)(c), on the 10"' day of March, 2020, the Defendant was thereby

   12   ordered by the Court to serve a term of life in the Nevada Department of Corrections, with the

   13   eligibility ofparole beginning when a miiiimum often(10) years has been served and with credit

        for time served oftwo himdred fifly-ei^ts(258)days.

                      The Defendant is ordered to pay an administrative assessment fee in the amount

        of$25.00, a forensic fee in the amount of$60.00, a DNA assessment fee in the amount of$3.00,

        a public defender fee in the amount of$5,000.00 and a fine in the amount of$20,000.00, payable

        to the Humboldt County Clerk ofthe Court. Further, pursuant to NRS 176.0913, the Defendant

        is ordered submit a biological specimen under the direction of the Nevada Department of

        Corrections to determine the Defendant's genetic markers. Further, pursuant to NRS 176.0915,

        in addition to any otha: penalty, the Defendant must pay a $150.00 DNA fee, payable to the

        Humboldt County Clerk of the Court, and may not be deducted from any other fines or fees

        imposed by the Court.




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   1

                       Furthermore, bail, if any,is hereby exonerated.
   2

                       RENDAL MILLER, represented the Defendant dxiring all stages of the
   3

        proceedings;
   4

                       MICHAEL MACDONALD,Humboldt County District Attorney, rq)resented the
    C
   3

        State ofNevada at all stages ofthese proceedings.
   6
                       Therefore, the clerk of the above-entitled Court is hereby directed to enter this
   7
        Judgment of Conviction as a part ofthe record in the above-entitled matter.
   8
                     Furthermore, pursuant to NRS 239B.030, the undersigned hereby affirms this
        document does not contain the social security number ofany person.
   9

                       DATED this           day of March, 2020, in the City of Winnemucca, County of
   10

        Humboldt, State ofNevada.
   11


   12


   13                                                       MICHAEL R. MONTERO
                                                            DISTRICT COURT JUDGE

   14


   15


  16


  17


   18


  19


  20


  21


  22



  23


  24
                                                       ^                         USAO 000019


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                                    CERTIFICATE OF SERVICE
   1

                     Pursuant to NRCP 5(b), I certify that I am an employee of the Sixth Judicial
   2

        District Court, and that on the /7^y of March, 2020,1 delivered at Winnamucca, Nevada,
   3

        by the following means, a copy ofthe JUDGMENT OF CONVICTION to:
   4
                     MICHAEL MACDONALD
   5                Humboldt County District Attomey
                    501 S. Bridge Street
   6
                    Wiimemucca,Nevada 89445
                    (DCTbox)
   7
                     RENDAL MILLER
                     Miller Law,Inc.
   8
                     115 W.Fifth Street, Box 7
                     Winnemucca, Nevada 89445
   9                (DCT box)

   10


   11


   12                                                  ELISHAFORMBY
                                                       Administrative Specialist
   13


   14


   15


   16



   17


   18


   19


   20


   21


   22


   23


   24
                                                                            USAO 000020




                                                                                          234
